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Filed 09/27/24 Page1of 78

3510

PagelD #

20-cv-00041-DCLC-CRW Document 105-2

Case 2
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Filed 09/27/24 Page 2 of 78

3511

PagelD #

20-cv-00041-DCLC-CRW Document 105-2

Case 2
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SBA’s “8(a) Program”
Overview, History, and Current Issues

Updated July 29, 2022
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SBA’s “8(a) Program”: Overview, History, and Current Issues

Summary

The 8(a) Business Development Program—commonly known as the “8(a) Program”—provides
participating small businesses with training, technical assistance, and contracting opportunities in
the form of set-aside and sole-source awards. A set-aside award is a contract in which only certain
contractors may compete, whereas a sole-source award is a contract awarded, or proposed for
award, without competition. In FY2021, 8(a) firms were awarded $34.4 billion in federal
contracts, including $8.7 billion in 8(a) set-aside awards and $11.3 billion in 8(a) sole-source
awards. Other programs provide similar assistance to other types of small businesses (e.g.,
women-owned, HUBZone, and service-disabled veteran-owned).

8(a) Program eligibility is generally limited to small businesses “unconditionally owned and
controlled by one or more socially and economically disadvantaged individuals who are of good
character and citizens of and residing in the United States” that demonstrate “potential for
success.”

Members of certain racial and ethnic groups are presumed to be socially disadvantaged, although
individuals who do not belong to these groups may prove they are also socially disadvantaged.

To be economically disadvantaged, an individual must have a net worth of less than $750,000
(excluding ownership interest in the applicant’s business, equity in their primary personal
residence, and funds invested in an official retirement account), no more than $350,000 in
average adjusted gross income over the preceding three years, and no more than $6 million in
assets (excluding funds invested in an official retirement account).

In determining whether an applicant has good character, the SBA takes into account any criminal
conduct, violations of SBA regulations, or debarment or suspension from federal contracting. For
a firm to demonstrate potential for success, it generally must have been in business in its primary
industry classification for two years immediately prior to applying to the program. However,
small businesses owned by Alaska Native Corporations, Community Development Corporations,
Indian tribes, and Native Hawaiian Organizations are eligible to participate in the 8(a) Program
under somewhat different terms. Each of these terms is further defined by the Small Business Act,
Small Business Administration (SBA) regulations, and judicial and administrative decisions.

This report examines the 8(a) Program’s historical development, key requirements, administrative
structures and operations, and the SBA’s oversight of 8(a) firms. It also discusses two SBA
programs designed to support 8(a) firms, the 7()) Management and Technical Assistance Program
and the All Small Mentor-Protégé Program, and provides various program statistics. It concludes
with an analysis of the following current 8(a) Program issues:

e Reported deficiencies in the oversight of 8(a) Program participant’s continuing
eligibility.

e Disagreements concerning the financial thresholds used to determine economic
disadvantage.

e The adequacy of the program’s performance measures.

C&S" FIDE OOOLEDELC-CRW Document 105-2 Filed 09/27/24 Page 4 of 78
PagelD #: 3513
SBA’s “8(a) Program”: Overview, History, and Current Issues

Contents
Trtroduction .....cccccessesscesesscsscsscsscseecsssecesesenseesesseescceseeseeeneceaeseceassseesteseessesessecusenseesessnesnseensensessesneeees 1
Historical Development............cccecsecseseeseteesecsecsessneseeseessecesscsecsesseesssseassessesancaseneeasenenseasessenneseesees 3
Program OFigins ........ccccccssssecesecescsesseseseseeesscseseseesessseesesereseseseesesenssesssasecsssesesasscesueessaserrerenenenes 3
Federal Programs for Small Businesses..........ccececcssescsscsecssesesscseesecasessesesaseeeseessensenesaenes 3
Federal Programs for Racial and Ethnic Minorities............ccccsesesesseeeseterseneesenseneenenenenes 4
1978 Amendments to the Small Business Act and Subsequent Regulations ................0+ 5
Adding “Disadvantaged” Groups........ccccsesessesceseseessseesesssecsesscesssseseesesesneneessneesseeeseneeseeaeaeanies 8
Program Requirement .......... ce eeseceessesessssscssessessensessesseseesesseesssesessesseasesseesesanssesaeeaseseraceneneesseas 9
General Requirements ............cccessecsceseeeessecesceecssesesetsensesesesecseseesensssssesaseesessenesseseeseseeseeesesesees 10
Program Eligibility... cccsssseecesecsseeseeescsseeesesesesssseesssessensseneseseesesessecscseseseeeeeseeeeeseaees 10
Set-Asides and Sole-Source Awards Under Section 8(8).........:cssssscceserereessensresssesseseess 13
Other Requirement .0........ cece seseeessesseseeeeseseeseescsesecesesesesessasesseseseeesesseseesssecsensereneenseneaes 16
Requirements for Tribally, ANC-, NHO-, and CDC-Owned Firms .........ccceseseseseeeeeeeeeeeteees 18
Program Eligibility... ccc eeesesssssscssssesessesseseesesccssscsessesessceeecsesseseesenseeesesseneseeeeneneeeeaes 18
Set-Asides and Sole-Source Awards ..........ccscescesseceseeseeseseessscssssssecseessenessesensseenneneeaeeesans 21
Other Requirements ......... ee eesecesscsseesesscsscssecersseessecaseecssesenseseesesseseeeesnessrsnesensnesseeseneces 22
Organizational Structure... cesses esssscssesscseesccsesssesecseesesecaeessssesseseneesessessasasonseateeseeseeenerates 23
The Application Process... cts ssssssssesessecssscsscesessessecsssscaesseaeesessesensessesesasesessesaseneeseseseasenenens 24
Business Opportunity Specialists and Reporting Requirement ...........cccccsssseeseseeseseeeeeseenenenenes 27
7(j) Management and Technical Assistance Program..........cccccseseseseserseneseeseteeseeseseeecaceneeseenesees 30
All Small Mentor-Protégé Program..........ccccessessecsecesesceeseseesessesessasscsecsssecseesecaeesseaeeseseeseeeseeenenies 31
Program Statistics... ccccsccceceecssessscesesesessesesssssssssesecsessssaseesessessessesssensesenenecseeeensesenenasereeseneneetees 33
Current ISSUeS ........cceccccecccesceseesessseetecoreceecseccceseesceseeceneeseeaeeresneeeesnsaesessessscsersceaseasensecsseneeesecaseneenes 36
Oversight of 8(a) Program Participant’s Continuing Eligibility ......0....ccssscseseseseseteeetenees 36
Financial Thresholds for Economically Disadvantaged Status ..0........ cc cceseseseeseeeeerseneeeenes 38
Measuring Program SuUcCESS 0.0.0... ccccesessesssssseesssesessesesesesseesesseseeaseseseesessensessessenessneneeneeaey 39
Tables
Table 1. Groups Presumed to Be Socially Disadvantaged .........0...:csssessseseeeseneseeeeseseneneneeteetereees 6
Table 2. 7(j) Management and Technical Assistance Program Statistics, FY2010-FY2021 ......... 31
Table 3. 8(a) Program Statistics, Selected Years ..........cccceccssssesesseeseesseneseeseseeeesenseneseesensenetsenens 33
Table 4. Federal Contract Amount Awarded to 8(a) Firms, by Award Type, FY2010-

FY 2021 ooecccccccsccsssescscssesessesesessesesnesesecseccesesceseesseeecsesecseceeserenssaeasscsaseesssceesesessenesssassenesseaeenseees 35
Table A-1. Requirements for Different Types of 8(a) Firms .........ccccsscsesssesseereseeeeseseneneteteeneeeaees 43
Appendixes
Appendix. Comparison of the Requirements Pertaining to Different Types of 8(a) Firms........... 43

Case essorieoeowseDeLC-CRW Document 105-2 Filed 09/27/24 Page 5 of 78
PagelD #: 3514
SBA’s “8(a) Program”: Overview, History, and Current Issues

Contacts
Author [nformation..........ccccccccccccccccceecceeecececseesecesevstsessstesevetsessecesnssesasenersessescecesevsesesaaeananaenaneneeees 48

Case Sor eweo4seEreLC-CRW Document 105-2 Filed 09/27/24 Page 6 of 78
PagelD #: 3515
SBA’s “8(a) Program”: Overview, History, and Current Issues

Introduction

The 8(a) Business Development Program—commonly known as the “8(a) Program”— provides
participating small businesses with training and technical assistance designed to enhance their
ability to compete effectively in the private marketplace.' One of the program’s major benefits is
that 8(a) firms can receive federal contracting preferences in the form of set-aside and sole-source
awards. A set-aside award is a contract in which only certain contractors may compete, whereas a
sole-source award is a contract awarded, or proposed for award, without competition. As a
business development program, its overall goal is for 8(a) firms to graduate from the program and
continue to do well in a competitive business environment.

8(a) Program eligibility is generally limited to small businesses which are “unconditionally
owned and controlled by one or more socially and economically disadvantaged individuals who
are of good character and citizens of and residing in the United States” and demonstrate
“potential for success.”” However, small businesses owned by Alaska Native Corporations
(ANCs), Community Development Corporations (CDCs), Indian tribes, and Native Hawaiian
Organizations (NHOs) are also eligible to participate in the 8(a) Program under somewhat
different terms. In FY2021, the federal government awarded $34.4 billion to 8(a) firms:

e nearly $20 billion was awarded with an 8(a) preference ($8.7 billion through an
8(a) set-aside and $11.3 billion through an 8(a) sole-source award);

e $7.8 billion was awarded with another small business preference (e.g., set-asides
and sole-source awards for small businesses generally and for HUBZone firms,
women-owned small businesses, and service-disabled veteran-owned small
businesses); and

e $6.6 billion was awarded to an 8(a) firm in open competition with other firms or
through some other award mechanism.’

Other programs provide similar assistance to other types of small businesses (e.g., women-owned,
HUBZone, and service-disabled veteran-owned).

Congress has a perennial interest in small business programs, including the 8(a) Program. As
stated in the Small Business Act

It is the declared policy of the Congress that the Government should aid, counsel, assist,
and protect, insofar as is possible, the interests of small-business concerns in order to
preserve free competitive enterprise, to insure that a fair proportion of the total purchases
and contracts or subcontracts for property and services for the Government (including but
not limited to contracts or subcontracts for maintenance, repair, and construction) be placed
with small-business enterprises, to insure that a fair proportion of the total sales of

! The 8(a) Program takes its name from one of the sections of the Small Business Act that authorizes it. The program is
also governed by Section 7(j) of the act. The Clinton Administration changed the program’s name from the Minority
Small Business and Capital Ownership Development Program to the 8(a) Business Development program in 1988 “to
emphasize that individuals need not be members of minority groups and to stress the importance of assisting
participating firms in their overall business development.” See SBA, “Small Business Size Regulations: 8(a) Business
Development/Small Disadvantaged Business Status Determinations; Rules of Procedure Governing Cases Before the
Office of Hearings and Appeals,” 63 Federal Register 35727, June 30, 1998.

213 CFR. §124.101.

3 Data generated using U.S. General Services Administration (GSA), “Sam.Gov data bank,” July 26, 2021, at
https://sam.gov/reports/awards/adhoc.

CHAPS NOLENICLC-CRW Document 105-2 Filed 09/27/24 Page 7 of 78
PagelD #: 3516
SBA's “8(a) Program”: Overview, History, and Current Issues

Government property be made to such enterprises, and to maintain and strengthen the
overall economy of the Nation.*

The Small Business Act also indicates “that the opportunity for full participation in our free
enterprise system by socially and economically disadvantaged persons is essential if we are to
obtain social and economic equality for such persons and improve the functioning of our national
economy.”> To help achieve these goals, the 8(a) Program’s stated statutory purposes are to

(A) promote the business development of small business concerns owned and controlled
by socially and economically disadvantaged individuals so that such concerns can compete
on an equal basis in the American economy;

(B) promote the competitive viability of such concerns in the marketplace by providing
such available contract, financial, technical, and management assistance as may be
necessary; and

(C) clarify and expand the program for the procurement by the United States of articles,
supplies, services, materials, and construction work from small business concerns owned
by socially and economically disadvantaged individuals.°

Recent Congresses have had particular interest in the 8(a) Program largely because of its effects
on minority-owned small businesses and small businesses’ overall role in job creation.’

8(a) business development assistance has many forms, including business counseling and
mentoring, both in online and traditional face-to-face settings; access to capital and surety bond
guarantees; contract marketing guidance; and assistance with acquiring federal government
surplus property. In addition, the Small Business Administration (SBA) reviews and certifies
eligible clients; assigns SBA personnel (Business Opportunity Specialists, BOSs) to monitor and
measure each firm’s progress through annual reviews, business planning collaboration, and
systematic evaluations; helps to identify potential contract opportunities; and markets each firm’s
technical capabilities to federal agency procurement officials.

This report examines the 8(a) Program’s historical development, key requirements, administrative
structures and operations, and the SBA’s oversight of 8(a) firms. It also discusses two SBA
programs designed to support 8(a) firms, the 7(j) Management and Technical Assistance Program
and the All Small Mentor-Protégé Program, and provides various program statistics.*

It concludes with an analysis of the following current 8(a) Program issues:

e Reported deficiencies in the oversight of 8(a) Program participant’s continuing
eligibility.

e Disagreements concerning the financial thresholds used to determine economic
disadvantage, including the SBA’s decision to exclude equity in a primary
residence from the calculation of an individual’s net worth.’

e The adequacy of the performance measures used to evaluate the program’s
effectiveness in meeting its statutory goals.

4 PL, 85-536, Small Business Act of 1958, §2(a), 72 Stat. 384 (July 18, 1958) (codified at 15 U.S.C. §631(a)).
5 PL, 85-536, §2(f(1)(a), 72 Stat. 384 (July 18, 1958) (codified at 15 U.S.C. §631((1)(a)).
§ PL. 85-536, §2(f(2)(A-C), 72 Stat. 384 (July 18, 1958) (codified at 15 U.S.C. §631(f(2)(A-C)).

7 See CRS Report R41523, Small Business Administration and Job Creation, by Robert Jay Dilger and CRS Report
R40985, Small Business: Access to Capital and Job Creation, by Robert Jay Dilger.

8 For additional information and analysis of federal Mentor-Protégé programs, see CRS Report R41722, Small Business
Mentor-Protégé Programs, by Robert Jay Dilger.

9 SBA, OIG, Report on the Most Serious Management and Performance Challenges in Fiscal Year 2017, p. 12.

CAseessmaKeoaonsePreLC-CRW Document 105-2 Filed 09/27/24 Page 8 of 78
PagelD #: 3517
SBA’s “8(a) Program”: Overview, History, and Current Issues

Historical Development

Program Origins

The current 8(a) Program is the result of the merger of two distinct types of federal programs:
those seeking to assist small businesses in general and those seeking to assist racial and ethnic
minorities. The merger first occurred, as a matter of executive branch practice, in 1967 and was
given a statutory basis in 1978.

Federal Programs for Small Businesses

In 1942, Congress first authorized a federal agency to enter into prime contracts with other
agencies and subcontract with small businesses for the performance of these contracts. The
agency was the Smaller War Plants Corporation (SWPC), which was partly created for this
purpose, and Congress gave it these powers to ameliorate small businesses’ financial difficulties
while “mobiliz[ing] the productive facilities of small business in the interest of successful
prosecution of the war.”!° The SWPC’s subcontracting authority expired along with the SWPC at
the end of the World War II. However, in 1951, at the start of the Korean War, Congress created
the Small Defense Plants Administration (SDPA), which was generally given the same powers
that the SWPC had exercised.'! Two years later, in 1953, Congress transferred the SDPA’s
subcontracting authorities, among others, to the newly created SBA,” with the intent that the
SBA would exercise these powers in peacetime, as well as in wartime.'? When the Small Business
Act of 1958 transformed the SBA into a permanent agency, this subcontracting authority was
included in Section 8(a) of the act.'* At its inception, the SBA’s subcontracting authority was not
limited to small businesses owned and controlled by the socially and economically
disadvantaged. Under the original Section 8(a), the SBA could contract with any “small-business
concerns or others,” but it reportedly seldom, if ever, employed this subcontracting authority,
focusing instead upon its loan and other programs.'®

10P L. 77-603, Small Business Mobilization Act, §4(f), 56 Stat. 351 (June 11, 1942).

11 PL, 82-96, An Act To amend and extend the Defense Production Act of 1950 and the Housing and Rent Act of
1947, as amended, §110, 65 Stat. 131 (July 31, 1951).

2 PL, 83-163, Reconstruction Finance Corporation Liquidation Act, §207(c)-(d), 67 Stat. 230 (July 30, 1953).

13 See U.S. Congress, House Committee on Banking and Currency, Small Business Act of 1953, report to accompany
H.R. 5141, 83 Cong., 1 sess., May 28, 1953, H-_Rept. 83-494 (Washington: GPO, 1953), p. 2 (stating that the SBA
would “continue many of the functions of the [SDPA] in the present mobilization period and in addition would be
given powers and duties to encourage and assist small-business enterprises in peacetime as well as in any future war or
mobilization period”); and U.S. Congress, Senate Committee on Banking and Currency, Small Business Act, report to
accompany H.R. 7963, 85'" Cong., 2" sess., June 16, 1958, pp. 9, 10 (stating that the act would “put the procurement
assistance program on a peacetime basis”).

14 PL. 85-536, as amended, §8(a)(1)-(2), 72 Stat. 384 (July 18, 1958).
1S PL, 85-536, as amended, §8(a)(1)-(2), 72 Stat. 384 (July 18, 1958).

16 Thomas Jefferson Hasty, II, “Minority Business Enterprise Development and the Small Business Administration’s
8(a) Program: Past, Present, and (Is There a) Future?,” 145 Military Law Review pp. 1, 8 (Summer 1994). (“[BJecause
the SBA believed that the efforts to start and operate an 8(a) program would not be worthwhile in terms of developing
small business, the SBA’s power to contract with other government agencies essentially went unused. The program
actually lay dormant for about fifteen years until the racial atmosphere of the 1960s provided the impetus to wrestle the
SBA’s 8(a) authority from its dormant state.”)

Case soneeeeeBeLC-CRW Document 105-2 Filed 09/27/24 Page 9 of 78
PagelD #: 3518
SBA’s “8(a) Program”: Overview, History, and Current Issues

Federal Programs for Racial and Ethnic Minorities

Federal programs for racial and ethnic minorities began developing at approximately the same
time as those for small businesses, although there was initially no explicit overlap between them.
The earliest programs were created by executive orders, beginning with President Franklin
Roosevelt’s order on June 25, 1941, requiring that all federal agencies include a clause in
defense-related contracts prohibiting contractors from discriminating on the basis of “race, creed,
color, or national origin.”!” Subsequent Presidents followed Roosevelt’s example, issuing a
number of executive orders seeking to improve the employment opportunities for various racial
and ethnic groups.!* These executive branch initiatives took on new importance after the Kerner
Commission’s report on the causes of the 1966 urban riots concluded that African Americans
would need “special encouragement” to enter the economic mainstream.”

Presidents Lyndon Johnson and Richard Nixon laid foundations for the present 8(a) Program in
the hope of providing such “encouragement.” Johnson created the President’s Test Cities Program
(PTCP), which involved a small-scale use of the SBA’s authority under Section 8(a) to award
contracts to firms willing to locate in urban areas and hire unemployed individuals, largely
African Americans, or sponsor minority-owned businesses by providing capital or management
assistance.2” However, under the PTCP, small businesses did not have to be minority-owned to
receive subcontracts under Section 8(a).”) Nixon’s program was larger and focused more
specifically on minority-owned small businesses.” During the Nixon Administration, the SBA
promulgated its earliest regulations for the 8(a) Program. In 1970, the first of these regulations
articulated the SBA’s policy of using Section 8(a) to “assist small concerns owned by
disadvantaged persons to become self-sufficient, viable businesses capable of competing
effectively in the market place.”” A later regulation, promulgated in 1973, defined disadvantaged
persons as including, but not limited to, “black Americans, Spanish-Americans, oriental
Americans, Eskimos, and Aleuts.”** However, the SBA lacked explicit statutory authority for
focusing its 8(a) Program on minority-owned businesses until 1978,°° although courts generally

17 Executive Order No. 8802, “Reaffirming Policy of Full Participation in the Defense Program by All Persons,
Regardless of Race, Creed, Color, or National Origin, and Directing Certain Action in Furtherance of Said Policy,” 6
Federal Register 3109, June 25, 1941. Similar requirements were later imposed on nondefense contracts. See Executive
Order No. 9346, “Further Amending Executive Order No. 8802 by Establishing a New Committee on Fair Employment
Practice and Defining its Powers and Duties,” 8 Federal Register 7182, May 29, 1943.

18 See Executive Order No. 10308, “Improving the Means for Obtaining Compliance With the Nondiscrimination
Provisions of Federal Contracts,” 16 Federal Register 12303, December 3, 1951 (Truman); Executive Order No.

10557, “Approving the Revised Provision in Government Contracts Relating to Nondiscrimination in Employment,” 19
Federal Register 5655, September 3, 1954 (Eisenhower); Executive Order No. 10925, “Establishing the President’s
Committee on Equal Employment Opportunity,” 26 Federal Register 1977, March 6, 1961 (Kennedy); and Executive
Order No. 11458, “Prescribing Arrangements for Developing and Coordinating a National Program for Minority
Business Enterprise,” 34 Federal Register 4937, March 7, 1969 (Nixon).

19 The National Advisory Commission on Civil Disorders (known as the Kerner Commission after its chair, Governor
Otto Kerner Jr. of Illinois), Report of the National Advisory Commission on Civil Disorders (U.S. GPO, 1968), p. 21.

20 See Thomas Jefferson Hasty, III, “Minority Business Enterprise Development and the Small Business
Administration’s 8(a) Program: Past, Present, and (Is There a) Future?,” 145 Military Law Review, pp. 11, 12.

21 See Jonathan J. Bean, Big Government and Affirmative Action: The Scandalous History of the Small Business
Administration (Lexington, KY: University Press of Kentucky, 2001), p. 66.

22 See Executive Order No. 11625, “Prescribing Additional Arrangements for Developing and Coordinating a National
Program for Minority Business Enterprise,” 36 Federal Register 19967, October 13, 1971.

23:13 C.F.R. §124.8-1(b) (1970).
7413 CER. §124.8(c) (1973).
25 U.S. Congress, Senate Select Committee on Small Business, Amending the Small Business Act and the Small

Caeraowsrione Ror FELC-CRW Document 105-2 Filed 09/27/24 Page 10f 78
PagelD #: 3519
SBA’s “8&(a) Program”: Overview, History, and Current Issues

rejected challenges alleging that SBA’s implementation of the program was unauthorized because
it was “not specifically mentioned in statute.””°

1978 Amendments to the Small Business Act and Subsequent Regulations

In 1978, Congress amended the Small Business Act to give the SBA express statutory authority
for its 8(a) Program for minority-owned businesses.”’ Under the 1978 amendments, the SBA can
only subcontract under Section 8(a) with “socially and economically disadvantaged small
business concerns,””® or businesses that are least 51% owned by one or more socially and
economically disadvantaged individuals and whose management and daily operations are
controlled by such individual(s).

The 1978 amendments established a basic definition of socially disadvantaged individuals, which
included those who have been “subjected to racial or ethnic prejudice or cultural bias because of
their identity as a member of a group without regard to their individual qualities.”*° They also
included congressional findings that “Black Americans, Hispanic Americans, Native Americans,
and other minorities” are socially disadvantaged.*! Thus, if an individual was a member of one of

Business Investment Act of 1958, 95" Cong., 2™ sess., August 8, 1978, S.Rept. 95-1070 (Washington: GPO, 1978), p.
14 (“One of the underlying reasons for the failure of this effort is that the program has no legislative basis.”); and U.S.
Congress, House Committee on Small Business, Amending the Small Business Act and the Small Business Investment
Act of 1958, report to accompany H.R. 11318, 95™ Cong., 2" sess., March 13, 1978, H-Rept. 95-949 (Washington:
GPO, 1978), p. 4 (“Congress has never extended legislative control over the activities of the 8(a) program, save through
indirect appropriations, thereby permitting program operations.... [The] program is not as successful as it could be.”).

26 See Ray Billie Trash Hauling, Inc. v. Kleppe, 477 F.2d 696, 703-05 (5" Cir. 1973). In this case, the court particularly
noted that the SBA’s program was supported by congressional and presidential mandates issued after enactment of the
Small Business Act in 1958.

27 PL. 95-507, To amend the Small Business Act and the Small Business Investment Act of 1958, 92 Stat. 1757
(October 24, 1978).

28 PL. 95-507, To amend the Small Business Act and the Small Business Investment Act of 1958, §202.

29 PL. 95-507, To amend the Small Business Act and the Small Business Investment Act of 1958, §202 (codified at 15
U.S.C. §637(a)(4)(A)-(B)). Firms that are owned and controlled by Indian tribes, ANCs, or NHOs were later included
within the definition of a “socially and economically disadvantaged small business concern.”

30 PL. 95-507, To amend the Small Business Act and the Small Business Investment Act of 1958, §202 (codified at 15
U.S.C. §637(a)(5)).

31 PL, 95-507, To amend the Small Business Act and the Small Business Investment Act of 1958, §202 (codified, as
amended, at 15 U.S.C. §631(£)(1)(C)). The meaning of socially disadvantaged individuals was the subject of much
debate at that time. Some Members of Congress viewed the 8(a) Program as a program for African Americans and
would have defined social disadvantage accordingly. See Parren J. Mitchell, “Federal Affirmative Action for MBE’s:
An Historical Analysis,” 1 National Bar Association Magazine 46 (1983). (Mitchell was a Member of the U.S. House
of Representatives and leader of the Congressional Black Caucus at that time.). Others favored including both African
Americans and Native Americans arguing that only those who did not come to the United States seeking the “American
dream” should be deemed socially disadvantaged. See U.S. Congress, House Committee on Small Business, Minority
Enterprise and General Oversight, General Review of Major SBA Programs and Activities, 95 Cong., 2" sess., June
20, 1978, H721-41 (Washington: GPO, 1978), p. 21. Yet others suggested that groups that are not racial or ethnic
minorities, such as women, should be able to qualify as “socially disadvantaged,” or that individuals ought to be able to
prove they are personally socially disadvantaged even if they are not racial or ethnic minorities. See U.S. Congress,
House Committee on Small Business, Amending the Small Business Act and the Small Business Investment Act of 1938,
report to accompany H.R. 11318, 95" Cong., 2™4 sess., March 13, 1978, H.Rept. 95-949 (Washington: GPO, 1978), p.
9. The House-passed version of the bill defined socially disadvantaged individuals, in part, by establishing a rebuttable
presumption that African Americans and Hispanic Americans are socially disadvantaged, but the Senate-passed bill did
not reference any racial or ethnic groups in defining social disadvantage. See U.S. Congress, House Committee of
Conference, Amending the Small Business Act and the Small Business Investment Act of 1958, report to accompany
H.R. 11318, 95 Cong., 2"4 sess., October 4, 1978, Conf. Rept. 95-1714 (Washington: GPO, 1978), p. 20; and U.S.
Congress, Senate Select Committee on Small Business, Amending the Small Business Act and the Small Business

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PagelD #: 3520
SBA’s “8(a) Program”: Overview, History, and Current Issues

these groups, he or she was presumed to be socially disadvantaged. Otherwise, the amendments
were generally seen to grant the SBA discretion to recognize additional groups or individuals as
socially disadvantaged based upon criteria promulgated in regulations.*” Under these regulations,
which include a three-part test for determining whether minority groups not mentioned in the
amendment’s findings are disadvantaged,’ the SBA recognized the racial or ethnic groups listed
in Table 1 as socially disadvantaged for 8(a) purposes.** The regulations also established
standards of evidence to be met by individuals demonstrating personal disadvantage and
procedures for rebutting the presumption of social disadvantage accorded to members of
recognized minority groups.*°

Table 1. Groups Presumed to Be Socially Disadvantaged

Group Countries of Origin Included Within Group
Black Americans n/a
Hispanic Americans nla

Investment Act of 1958, 95" Cong., 2™ sess., August 8, 1978, S.Rept. 95-1070 (Washington: GPO, 1978), pp. 13-16.
The conference committee reconciling the House and Senate versions ultimately arrived at a definition of socially
disadvantaged individuals that included “those who have been subjected to racial or ethnic prejudice or cultural bias
because of their identity as a member of a group.” See P-L. 95-507, at §202. The conference committee also included
congressional findings that “Black Americans, Hispanic Americans, Native Americans, and other minorities” are
socially disadvantaged. See P.L. 95-507, at §201.

Congress subsequently added “Asian Pacific Americans” (P.L. 96-302, An original bill to provide authorizations for
the Small Business Administration, and for other purposes), “Indian tribes” (P.L. 99-272, the Consolidated Omnibus
Budget Reconciliation Act of 1985 (Title XVIH—Small Business Programs), and “Native Hawaiian Organizations”
(P.L. 100-656, the Business Opportunity Development Reform Act of 1988) to the groups whom it finds to be socially
disadvantaged. See 15 U.S.C. §631(f)(1)(C)). For additional information concerning the SBA’s administrative
decisions on groups seeking to be presumed socially disadvantaged, see George R. LaNoue, and John C. Sullivan,
“Presumptions for Preferences: The Small Business Administration’s Decisions on Groups Entitled to Affirmative
Action,” Journal of Policy History, vol. 6, no. 4 (1994), at https://www.cambridge.org/core/joumnals/journal-of-policy-
history/article/presumptions-for-preferences-the-small-business-administrations-decisions-on-groups-entitled-to-
affirmative-action/99 AFFC9D3FF 1C1F1D520D9D3600B1E32.

32 PL, 95-507, at §201 (stating that the groups Congress finds to be socially disadvantaged include, but are not limited
to, those specified here); P.L. 95-507, at §202 (authorizing the award of contracts to socially disadvantaged
individuals); and U.S. Congress, House Committee on Smal! Business, Amending the Small Business Act and the Small
Business Investment Act of 1958, report to accompany H.R. 11318, 95" Cong., 2™ sess., March 13, 1978, H.Rept. 95-
949 (Washington: GPO, 1978), p. 9 (expressing the view that §201 and §202 of the bill provide “sufficient discretion
... to allow SBA to designate any other additional minority group or persons it believes should be afforded the
presumption of social ... disadvantage’’).

33 See 13 CER. §124.103(d)(2)(i)-(iii)(1980).

3413 CF.R. §124.103(b). Different groups are sometimes recognized as socially disadvantaged for purposes of other
programs, such as those of the Department of Commerce’s Minority Business Development Agency (MBDA). See 15
C.E.R. §1400.1(b). The SBA has rejected petitions from certain groups, including Hasidic Jews, women, disabled
veterans, and Jranian-Americans. See George R. La Noue and John C. Sullivan, “Gross Presumptions: Determining
Group Eligibility for Federal Procurement Preferences,” 41 Santa Clara Law Review 103, 127-129 (2000). However,
Hasidic Jews are eligible to receive assistance from the MBDA, whereas women are deemed to be disadvantaged for
purposes of the Department of Transportation’s Disadvantaged Business Enterprise (DBE) program. See 49 U.S.C.
§47113(a)(2) (DBE program); and 15 C.F.R. §1400.1(c) (MBDA program).

35 13 CF.R. §124.103(c)(2) (standards of evidence for showing personal disadvantage); and 13 C.F.R. §124.103(b)(3)
(mechanisms for overcoming the presumption of social disadvantage).

CaseesoraReeorbpieLC-CRW Document 105-2 Filed 09/27/24 Page 12 6f 78
PagelD #: 3521
SBA's “8(a) Program”: Overview, History, and Current Issues

Group Countries of Origin Included Within Group

Native Americans n/a
(including American

Indians, Eskimos, Aleuts,

Native Hawaiians)

Asian Pacific Americans Burma, Thailand, Malaysia, Indonesia, Singapore, Brunei, Japan, China (including Hong
Kong), Taiwan, Laos, Cambodia, Vietnam, Korea, The Philippines, U.S. Trust Territory
of the Pacific Islands (Republic of Palau), Republic of the Marshall Islands, Federated
States of Micronesia, Commonwealth of the Northern Mariana Islands, Guam, Samoa,
Macao, Fiji, Tonga, Kiribati, Tuvalu, Nauru

Subcontinent Asian india, Pakistan, Bangladesh, Sri Lanka, Bhutan, the Maldives Islands, Nepal
Americans

Source: Congressional Research Service, based on 13 C.F.R. §124.103(b).

The 1978 amendments also defined economically disadvantaged individuals, for purposes of the
8(a) Program, as “those socially disadvantaged individuals whose ability to compete in the free
enterprise system has been impaired due to diminished capital and credit opportunities as
compared to others in the same business area who are not socially disadvantaged.”** Initially, the
SBA determined economic disadvantage by examining

e the applicant’s personal financial condition (including their personal net worth,
personal income for at least the past two years, and the total fair market value of
their assets);

e the applicant’s access to credit and capital;
e the business’s financial condition; and

e the business’s access to credit, capital, and markets.*’

Over the years, many small business owners and others recommended that the SBA create
objective monetary thresholds for determining how the applicant’s personal financial condition
affects economic disadvantage. In response, in 1989, the SBA announced in the Federal Register
that applicants needed personal net worth of less than $250,000 (excluding ownership in the 8(a)
firm and equity in his or her primary residence) at the time of entry into the program, and less
than $750,000 for continuing eligibility.** Objective monetary thresholds for personal income and
total assets were not added.

In 2011, the SBA announced in the Federal Register that it would no longer count funds invested
in an official retirement account that are unavailable to the applicant without a significant penalty
in determining the applicant’s net worth. Also, the SBA announced that the applicant’s average
adjusted gross income over the preceding three years generally cannot exceed $250,000 at the
time of application and $350,000 for continuing eligibility. In addition, the fair market value of
the applicant’s assets (excluding funds invested in an official retirement account that are

36 PL. 95-507, at §202.

37 SBA, “Minority Small Business and Capital Ownership Development Program: Final Rule,” 54 Federal Register
34719, August 21, 1989.

38 SBA, “Minority Small Business and Capital Ownership Development Program: Final Rule,” 54 Federal Register
34696, August 21, 1989 (codified, as amended, at 13 C.F.R. §124.104(c)). Some commentators have estimated that
80% to 90% of Americans are economically disadvantaged under the SBA’s net-worth requirements. See La Noue and
Sullivan, “Gross Presumptions: Determining Group Eligibility for Federal Procurement Preferences,” 41 Santa Clara
Law Review, p. 108.

Caer Ore ROMO FDELC-CRW Document 105-2 Filed 09/27/24 Page 13 of 78
PagelD #: 3522
SBA’s "8(a) Program”: Overview, History, and Current Issues

unavailable to the applicant without a significant penalty) cannot exceed $4 million at entry and
$6 million for continued eligibility.”

On May 11, 2020, the SBA announced in the Federal Register that, as of July 15, 2020, personal
net worth of less than $750,000, both at the time of entry into the 8(a) program and for continuing
eligibility, will constitute economic disadvantage.*” The SBA indicated that it was eliminating the
$250,000 personal net worth threshold at the time of entry into the 8(a) program to bring the 8(a)
program into conformity with the personal net worth threshold used for determining the status of
economically disadvantaged women-owned small businesses (EDWOSBs) in the SBA’s Women-
Owned Small Business (WOSB) federal contracting program.*! That program uses less than
$750,000 in personal net worth for determining economic disadvantage. The SBA noted that a
small business applying for EDWOSB and 8(a) program status simultaneously

could thus be found economically disadvantaged for EDWOSB purposes, but not
economically disadvantaged for the 8(a) BD [Business Development] program. This result
would introduce unnecessary confusion and uncertainty into the application and
certification process. To remedy this, this final rule makes economic disadvantage
consistent across programs.”

The SBA also announced that

e funds invested in an official retirement account will not be considered in
determining net worth (eliminating the requirement that the funds are subject to a
significant withdrawal penalty);

e the applicant’s average adjusted gross income over the three preceding years
cannot exceed $350,000 (eliminating the $250,000 personal income threshold at
the time of application); and

e the fair market value of the applicant’s assets (excluding funds invested in an
official retirement account) cannot exceed $6 million (eliminating the $4 million
asset threshold at entry).**

Adding “Disadvantaged” Groups

Although the 8(a) Program was originally established for the benefit of disadvantaged
individuals, in the 1980s, Congress expanded the program to include small businesses owned by
four disadvantaged groups.

The first owner-group to be included was Community Development Corporations (CDCs). A
CDC is

a nonprofit organization responsible to residents of the area it serves which is receiving
financial assistance under part A of this subchapter [42 U.S.C. §§9805 et seg.] and any

39 SBA, “Small Business Size Regulations; 8(a) Business Development/Small Disadvantaged Business Status
Determinations,” 76 Federal Register 8229-8231, February 11, 2011.

40 SBA, “Women-Owned Small Business and Economically Disadvantaged Women-Owned Small Business
Certification,” 85 Federal Register 27650-27665, May 11, 2020.

41 For additional information and analysis of the Women-Owned Small Business (WOSB) federal contracting program,
see CRS Report R46322, SBA Women-Owned Small Business Federal Contracting Program, by Robert Jay Dilger.

#2 SBA, “Women-Owned Small Business and Economically Disadvantaged Women-Owned Small Business
Certification,” 85 Federal Register 27650, May 11, 2020.

43 SBA, “Women-Owned Small Business and Economically Disadvantaged Women-Owned Small Business
Certification,” 85 Federal Register 27660, May 11, 2020.

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PagelD #: 3523
SBA’s “8(a) Program”: Overview, History, and Current Issues

organization more than 50 percent of which is owned by such an organization, or otherwise
controlled by such an organization, or designated by such an organization for the purpose
of this subchapter [42 U.S.C. §§9801 et seq.].

Congress created CDCs with the Community Economic Development Act of 1981 and instructed
the SBA to issue regulations ensuring that CDCs could participate in the 8(a) Program.

In 1986, two additional owner-groups, Indian tribes and Alaska Native Corporations (ANCs),
became eligible for the program when Congress passed legislation providing that firms owned by
Indian tribes, which include ANCs, were to be deemed socially disadvantaged for 8(a) Program
purposes.“ In 1992, ANCs were further deemed to be “economically disadvantaged.”*”

The final owner-group, Native Hawaiian Organizations (NHOs), was recognized in 1988. An
NHO is defined as

any community service organization serving Native Hawaiians in the State of Hawali
which (A) is a nonprofit corporation that has filed articles of incorporation with the director
(or the designee thereof) of the Hawaii Department of Commerce and Consumer Affairs,
or any successor agency, (B) is controlled by Native Hawaiians, and (C) whose business
activities will principally benefit such Native Hawaiians.”

Program Requirements

Detailed statutory and regulatory requirements govern 8(a) Program eligibility, set-aside and sole-
source awards, and related issues. These requirements are generally the same for all 8(a) firms,
although there are instances where there are “special rules” for group-owned 8(a) firms.*° An
Appendix to this report compares the requirements applicable to individual owners of 8(a) firms
to those applicable to groups owning 8(a) firms (i.e., ANCs, CDCs, NHOs, and Indian tribes).

4 42 U.S.C. §9802.

45 PL. 97-35, Omnibus Budget Reconciliation Act of 1981, Ch. 8, Subchapter A, 95 Stat. 489 (August 13, 1981)
(codified at 42 U.S.C. §§9801 et seq.); and P.L. 97-35, Omnibus Budget Reconciliation Act of 1981, at §626, 95 Stat.
496 (codified at 42 U.S.C. §9815(a)(2)). (“Not later than 90 days after August 13, 1981, the Administrator of the Small
Business Administration, after consultation with the Secretary, shall promulgate regulations to ensure the availability to
community development corporations of such programs as shall further the purposes of this subchapter, including
programs under §637(a) of title 15.”)

46 PL. 99-272, Consolidated Omnibus Budget Reconciliation Act of 1985, §18015, 100 Stat. 370 (April 7, 1986)
(codified at 15 U.S.C. §637(a)(13) and 15 U.S.C. §637(a)(4)).

47P L. 102-415, Alaska Land Status Technical Corrections Act of 1992, §10, 106 Stat. 2115 (October 14, 1992)
(codified at 43 U.S.C. §1626(e)).

48 PL. 100-656, Business Opportunity Development Reform Act of 1988, at §207, 102 Stat. 3861 (November 15, 1988)
(codified at 15 U.S.C. §637(a)(4)).

49 PL. 100-656, Business Opportunity Development Reform Act of 1988, at §207 (codified at 15 U.S.C. §637(a)(15)).
A Native Hawaiian is “any individual whose ancestors were natives, prior to 1778, of the area which now comprises
the State of Hawaii.” 13 C.F.R. §124.3.

50 13 CFR. §124.109(a) (“Special rules for ANCs. Small business concerns owned and controlled by ANCs are
eligible for participation in the 8(a) program and must meet the eligibility criteria set forth in §124.112 to the extent the
criteria are not inconsistent with this section.”) (emphasis in original).

Caseeexore\ReaoeEDELC-CRW Document 105-2 Filed 09/27/24 Page 15 df 78
PagelD #: 3524
SBA's “8(a) Program”: Overview, History, and Current Issues

General Requirements

Program Eligibility

As mentioned previously, 8(a) Program eligibility is limited to “small business[es] which [are]
unconditionally owned and controlled by one or more socially and economically disadvantaged
individuals who are of good character and citizens of and residing in the United States, and which
demonstrates potential for success.”°! Each of these terms is defined by the Small Business Act;
SBA regulations; and judicial and administrative decisions.” The eligibility requirements are the
same at the time of entry into the program and throughout the program unless otherwise noted.°°

Business

Except for small agricultural cooperatives, a business is a for-profit entity that has a place of
business located in the United States and operates primarily within the United States or makes a
significant contribution to the U.S. economy by paying taxes or using American products,
materials, or labor.** For 8(a) Program purposes, businesses are individual proprietorships,
partnerships, limited liability companies, corporations, joint ventures, associations, trusts, or
cooperatives.*°

Small

A business is small if it is independently owned and operated; is not dominant in its field of
operations; and meets any definitions or standards established by the SBA Administrator.*° These
standards focus primarily upon the size of the business as measured by the number of employees
or average annual receipts (gross income for sole proprietorships), but they also take into account
the size of other businesses within the same industry.*’ For example, businesses in the field of
scheduled passenger air transportation are small if they have 1,500 or fewer employees, whereas
those in the data processing field are small if they have average annual receipts of $32.5 million
or less.*8

5113 C.F.R. §124.101. The Office of Legal Counsel at the Department of Justice has opined that SBA regulations
limiting eligibility for the 8(a) Program to citizens do not deprive resident aliens of due process in violation of the Fifth
Amendment to the U.S. Constitution. See U.S. Department of Justice, Office of Legal Counsel, Constitutionality of 13
C.FR. §124.103 Establishing Citizenship Requirement for Participation in 8(a) Program, 20 Op. O.L.C. 85 (1996).

52 The SBA’s Office of Hearings and Appeals has, for example, developed a seven-part test for determining whether a
small business is unusually reliant on a contractor that is used in determining affiliation. See Valenzuela Eng’g, Inc. &
Curry Contracting Co., Inc., SBA-4151 (1996).

313 CFR. §124.112(a).

5413 C.F.R. §121.105(a)(1). “Business” is separately defined for small agricultural cooperatives. See 13 C.F.R.
§121.105(a)(2).

55 13 CFR. §121.105(b).

56 15 U.S.C. §632(a)(1)-(2)(A).

57 13 CF.R. §§121.101-121.109. The number of employees is the average number in each pay period for the preceding
12 calendar months. Receipts means total income (or in the case of a sole proprietorship, gross income) plus cost of
goods sold as these terms are defined and reported on Internal Revenue Service tax return forms. Where possible,
receipts are based on the average for the last three completed fiscal years. It includes all revenues, not just those from
the firm’s primary industry. See 13 C.F.R. §121.104.

3813 CFR. §121.201.

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PagelD #: 3525
SBA’s “8(a) Program”: Overview, History, and Current Issues

Affiliations among businesses, or relationships allowing one party control or the power of control
over another, generally count in size determinations, with the SBA considering “the receipts,
employees, or other measure of size of the concern whose size is at issue and all of its domestic
and foreign affiliates, regardless of whether the affiliates are organized for profit.”°? Businesses
can thus be determined to be other than small because of their involvement in joint ventures,
subcontracting arrangements, or franchise or license agreements, among other things, provided
that their income or personnel numbers, plus those of their affiliate(s), are over the pertinent size
threshold.

Unconditionally Owned and Controlled

8(a) firms must be “at least 51% unconditionally and directly owned by one or more socially and
economically disadvantaged individuals who are citizens of the United States” unless they are
owned by an ANC, CDC, NHO, or Indian tribe.°' Ownership is unconditional when it is not
subject to any conditions precedent or subsequent, executory agreements, voting trusts,
restrictions on or assignments of voting rights, or other arrangements that could cause the benefits
of ownership to go to another entity.©* Ownership is direct when the disadvantaged individuals
own the business in their own right and not through an intermediary (e.g., ownership by another
business entity or by a trust that is owned and controlled by one or more disadvantaged
individuals).°? Nondisadvantaged individuals and nonparticipant businesses that own at least 10%
of an 8(a) business may generally own no more than 10% to 20% of any other 8(a) firm.“
Nonparticipant businesses that earn the majority of their revenue in the same or similar line of
business are likewise barred from owning more than 10% (increasing to 20%-30% in certain
circumstances) of another 8(a) firm.®

In addition, 8(a) firms must be controlled by one or more disadvantaged individuals.® “Control is
not the same as ownership” and includes both strategic policy setting and day-to-day management
and administration of business operations.*’ Management and daily business operations must be
conducted by one or more disadvantaged individuals unless the 8(a) business is owned by an
ANC, CDC, NHO, or Indian tribe.®* These individuals must have managerial experience “of the
extent and complexity needed to run the concern” and generally must devote themselves full-time
to the business “during the normal working hours of firms in the same or similar line of
business.” A disadvantaged individual must hold the highest officer position within the
business.’”° Nondisadvantaged individuals may otherwise be involved in the management of an

59 13 CFR. §121.103(a)(6).
60 13 CER. §121.103(h); 13 CF.R. §121.103(h)(4); and 13 CF.R. §121.103(i).

61 13 C.F.R. §124.105 (defining unconditional ownership). See also 15 U.S.C. §637(a)(4)(A)()-(@4i) (requiring at least
51% unconditional ownership).

2 13 CER. §124.3.
8 13 CER. §124.105(a).

4 13 C.F.R. §124.105(h)(1). Ownership is limited to 10% when the 8(a) firm in is the developmental stage of the 8(a)
Program and 20% when it is in the transitional stage.

6 13 C.F.R. §124.105(h)(2).

66 15 U.S.C. §637(a)(4)(A)(i)-(ii) (requiring control of management and business operations); 13 C.F.R. §124.106.
6713 CER. §124.106.

6 13 CFR. §124.106.

13 CER. §124.106 & §124.106(a)(3).

7 13 C.F.R. §124.106(a)(2).The individual must also be physically located in the United States.

Case FSSA BUGLTBELC-CRW Document 105-2 Filed 09/27/24 Page 17 of 78
PagelD #: 3526
SBA’s “8(a) Program”: Overview, History, and Current Issues

8(a) business, or may be stockholders, partners, limited liability members, officers, or directors of
an 8(a) business.”! However, nondisadvantaged individuals may not exercise actual control or
have the power to control the firm or its disadvantaged owner(s), or receive compensation greater
than that of the highest-paid officer (usually the chief executive officer or president) without the
SBA’s approval.”

Socially Disadvantaged Individual

Socially disadvantaged individuals are “those who have been subjected to racial or ethnic
prejudice or cultural bias within American society because of their identities as members of
groups and without regard to their individual qualities.””’ Members of designated groups, listed in
Table 1, are entitled to a rebuttable presumption of social disadvantage for 8(a) Program
purposes, although this presumption can be overcome with “credible evidence to the contrary.””*
Individuals who are not designated-group members must prove they are socially disadvantaged
by a preponderance of the evidence.” Such individuals must show (1) at least one objective
distinguishing feature that has contributed to social disadvantage (e.g., race, ethnic origin, gender,
physical handicap, long-term residence in an environment isolated from mainstream American
society); (2) personal experiences of substantial and chronic social disadvantage in American
society; and (3) negative impact on entry into or advancement in the business world.”° In
assessing the third factor, the SBA will consider all relevant evidence the applicant produces, but
must consider the applicant’s education, employment, and business history to see if the totality of
the circumstances shows disadvantage.”” Groups not included in Table 1 may obtain eligibility by
demonstrating disadvantage by a preponderance of the evidence.”

Economically Disadvantaged Individual

Economically disadvantaged individuals are “socially disadvantaged individuals whose ability to
compete in the free enterprise system has been impaired due to diminished capital and credit
opportunities as compared to others in the same or similar line of business who are not socially
disadvantaged.” Individuals claiming economic disadvantage must submit financial
documentation for eligibility purposes.®° As mentioned, the SBA examines the individual’s
personal income for the past three years, their net worth, and the fair market value of their
assets.®! To be economically disadvantaged, an individual must have a net worth of less than
$750,000 (excluding ownership interest in the applicant’s business, equity in their primary
personal residence, and funds invested in an official retirement account), no more than $350,000

71 13 CFR. §124.106(e).

2 13 CER. §124.106(e)(1) & (3).

73 13 CER. §124.103(a). See also 15 U.S.C. §637(a)(5).
7 13 CFR. §124.103(b)(3).

75 13 CER. §124.103(c)(1).

76 13 CFR. §124.103(c)(2)(i)-(iii).

7713 CER. §124.103(c)(2)(iii).

78 13 C.F.R. §124.103(d)(4). Groups petitioning for recognition as socially disadvantaged do not always obtain it. Over
the years, the SBA has rejected petitions from Hasidic Jews, women, disabled veterans, and Iranian-Americans. See
supra note 34.

7 13 CER. §124.104(a). See also 15 U.S.C. §637(a)(6)(A).
80 13 CER. §124.104(b)(1).
81 13 CER. §124.104(c). See also 15 U.S.C. §637(a)(6)(E)(@)-(ii).

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PagelD #: 3527
SBA’s “8(a) Program”: Overview, History, and Current Issues

in average adjusted gross income over the preceding three years, and no more than $6 million in
assets (excluding funds invested in an official retirement account).

Good Character

In determining whether an applicant to, or participant in, the 8(a) Program possesses good
character, the SBA considers any criminal conduct, violations of SBA regulations, current
debarment or suspension from government contracting, managers or key employees who lack
business integrity, and the knowing submission of false information to the SBA.”

Demonstrated Potential for Success

For a firm to have demonstrated potential for success, it generally must have been in business in
its primary industry classification for at least two full years immediately prior to the date of its
application to the 8(a) Program.*? However, the SBA may grant a waiver allowing firms that have
been in business for less than two years to enter the program under specified circumstances.™

Set-Asides and Sole-Source Awards Under Section 8(a)

Section 8(a) of the Small Business Act authorizes agencies to award contracts for goods or
services, or to perform construction work, to the SBA for subcontracting to 8(a) firms. The act
also authorizes the SBA to delegate the function of executing contracts to the procuring agencies
and often does so.®°

A set-aside award is a contract awarded in which only certain contractors may compete, whereas
a sole-source award is a contract awarded, or proposed for award, without competition.** The
Competition in Contracting Act (CICA) generally requires federal agencies to allow full and open
competition through the use of competitive procedures when procuring goods or services.
However, set-aside and sole-source awards to 8(a) firms are permissible under CICA under
certain circumstances. In fact, an 8(a) set-aside is a recognized competitive procedure.*’ Agencies

82 13 CER. §124.108(a)(1)-(5).
83 13 CER. §124.107.

84 A waiver to the two-year requirement may be granted when (1) the disadvantaged individual(s) upon whom
eligibility is based have substantial business management experience; (2) the business has demonstrated the technical
experience necessary to carry out its business plan with a substantial likelihood of success; (3) the firm has adequate
capital to sustain its operations and carry out its business plan; (4) the firm has a record of successful performance on
contracts in its primary field of operations; and (5) the firm presently has, or can demonstrate its ability to timely
obtain, the personnel, facilities, equipment, and other resources necessary to perform 8(a) contracts. See 13 C.F.R.
§124.107(b)(1)(i)-(v).

85 13 CFR. §124.501 (a); Partnership Agreement Between the U.S. Small Business Administration and the U.S.
Department of Defense, January 7, 2013, at http://www.sba.gov/sites/default/files/files/
Department™%200f%20Defense.pdf.

86 Set-asides may be total or partial. See 48 C.F.R. §19.501(a).

87 10 U.S.C. §2304(b)(2), 41 U.S.C. §3303(b) (the Competition in Contracting Act (CICA) provisions authorizing set-
asides for small businesses); and 48 C.F.R. §§6.203-6.207 (set-asides for small business generally, 8(a) small
businesses, Historically Underutilized Business Zone [HUBZone] small businesses, service-disabled veteran-owned
small businesses, and women-owned small businesses). CICA authorizes competitions excluding all sources other than
small businesses when such competitions assure that a “fair proportion of the total purchases and contracts for property
and services for the Federal Government shall be placed with small business concerns.” 41 U.S.C. §3104. CICA also
permits sole-source awards when such awards are made pursuant to a procedure expressly authorized by statute, or
when special circumstances exist (e.g., urgent and compelling circumstances). See 10 U.S.C. §2304(c)(1) (defense
agency procurements) and 41 U.S.C. §§3301 and 3304(a) (civilian agency procurements).

Case SSR AV BGOATBELC-CRW Document 105-2 Filed 09/27/24 Page 19 of 78
PagelD #: 3528
SBA’s “8(a) Program”: Overview, History, and Current Issues

are effectively encouraged to subcontract through the 8(a) Program because there are
government-wide and agency-specific goals regarding the percentage of procurement dollars
awarded to small disadvantaged businesses, which include 8(a) firms (the current government-
wide goal is 5% of all small business eligible federal contracts).®*

Discretion to Subcontract Through the 8(a) Program

There are few limits on agency discretion to subcontract through the 8(a) Program.*” However,
the SBA is prohibited by regulation from accepting procurements for award under Section 8(a)
when

1. the procuring agency issued a solicitation for or otherwise expressed publicly a
clear intent to reserve the procurement as a set-aside for small businesses not
participating in the program prior to offering the requirement to the SBA for
award as an 8(a) contract;”°

2. the procuring agency competed the requirement among 8(a) firms prior to
offering the requirement to the SBA and receiving the SBA’s acceptance of it;”!
or

3. the SBA makes a written determination that “acceptance of the procurement for
8(a) award would have an adverse impact on an individual small business, a
group of small businesses located in a specific geographical location, or other
small business programs.”*”

88 13 C.F.R. §124.1002 (defining “small disadvantaged business”).

The federal government uses aspirational procurement goals instead of requiring federal agencies to award specific
percentages of federal contracts to various types of small businesses primarily to avoid legal challenges under the equal
protection component of the Fifth Amendment’s Due Process Clause. See, for example, City of Richmond v. J.A.
Croson Co., 488 U.S. 469 (1989) (finding unconstitutional a municipal ordinance that required the city’s prime
contractors to award at least 30% of the value of each contract to minority subcontractors) and Adarand Constructors,
Inc. v. Pena 515 U.S. 200 (1995) (finding that all racial classifications, whether imposed by federal, state, or local
authorities, must pass strict scrutiny review).

89 AHNTECH, Inc., B-401092 (April 22, 2009) (“The [Small Business] Act affords the SBA and contracting agencies
broad discretion in selecting procurements for the 8(a) program.’”).

90 Even in this situation, SBA may accept the requirement under “extraordinary circumstances.” 13 C.F.R. §124.504(a);
Madison Services, Inc., B-400615 (December 11, 2008) (finding that extraordinary circumstances existed when the
agency’s initial small business set-aside was erroneous and did not reflect its intentions).

°1 However, offers of requirements below the simplified acquisition threshold (generally $150,000) are assumed to
have been accepted if SBA does not reply within two days. 13 C.F.R. §124.503(a}(4)(i). See also Eagle Collaborative
Computing Services, Inc., B-401043.3 (January 28, 2011) (finding that an agency properly awarded a sole-source
contract valued below the simplified acquisition threshold even though the SBA never formally accepted the
requirements).

% 13 C.F.R. §124.504(a)-(c). The third provision applies only to preexisting requirements. It generally does not apply
to new contracts, follow-on or renewal contracts, or procurements conducted using simplified acquisition procedures.
Also, under its regulations, the SBA must presume an adverse impact when “(A) The small business concern has
performed the specific requirement for at least 24 months; (B) The small business is performing the requirement at the
time it is offered to the 8(a) ... program, or its performance of the requirement ended within 30 days of the procuring
activity’s offer of the requirement to the 8(a) ... program; and (C) The dollar value of the requirement that the small
business is or was performing is 25 percent or more of its most recent annual gross sales (including those of its
affiliates).” See 13 C.F.R. §124.504(c)(L)@(A)-(C).

CASAS FEBELC-CRW Document 105-2 Filed 09/27/24 Page 20 of 78
PagelD #: 3529
SBA‘’s "8(a) Program”: Overview, History, and Current Issues

In addition, the SBA is barred from awarding an 8(a) contract, either via a set-aside or on a sole-
source basis, “if the price of the contract results in a cost to the contracting agency which exceeds
a fair market price.”

Otherwise, agency officials may offer contracts to the SBA “in [their] discretion,” and the SBA
may accept requirements for the 8(a) Program “whenever it determines such action is necessary
or appropriate.”** The courts and the Government Accountability Office (GAO) will generally not
hear protests of agencies’ determinations regarding whether to procure specific requirements
through the 8(a) Program unless it can be shown that government officials acted in bad faith or
contrary to federal law.”

Monetary Thresholds and Subcontracting Mechanisms

Once the SBA has accepted a contract for the 8(a) Program, the contract is awarded through
either a set-aside or on a sole-source basis, with the contract amount generally determining the
acquisition method used. When the contract’s anticipated total value, including any options, is
less than $4.5 million ($7.5 million for manufacturing contracts), the contract is normally
awarded without competition.” In contrast, when the contract’s anticipated value exceeds these
thresholds, the contract generally must be awarded via a set-aside with competition limited to 8(a)
firms so long as there is a reasonable expectation that at least two eligible and responsible 8(a)
firms will submit offers and the award can be made at fair market price.”’ Sole-source awards of
contracts valued at $4.5 million ($7.5 million or more for manufacturing contracts) may be made
only when (1) there is not a reasonable expectation that at least two eligible and responsible 8(a)
firms will submit offers at a fair market price or (2) the SBA accepts the requirement on behalf of
an 8(a) firm owned by an Indian tribe, an ANC or, in the case of Department of Defense
contracts, an NHO.”® Requirements valued at more than $4.5 million ($7.5 million for

3 15 U.S.C. §637(a)(1)(A); 48 C.F.R. §19.806(b). Fair market price is estimated by looking at recent prices for similar
items or work, in the case of repeat purchases, or by considering commercial prices for similar products or services,
available in-house cost estimates, cost or pricing data submitted by the contractor, or data from other government
agencies, in the case of new purchases. 15 U.S.C. §637(a)(3)(B)(@)-{iii); 48 C-F.R. §19.807(b) & (c).

94 15 U.S.C, §637(a)(1)(A).
95 See Rothe Computer Solutions, LLC, B-299452 (May 9, 2007).

9 FAR §19.805-1; and 15 U.S.C. §637(a)(16)(A). A noncompetitive award may be made under this authority so long
as (1) the firm is determined to be a responsible contractor for performance of the contract; (2) the award of the
contract would be consistent with the firm’s business plan; and (3) award of the contract would not result in the firm
exceeding the percentage of revenue from 8(a) sources forecast in its annual business plan. 15 U.S.C.
§637(a)(16)(A)(i)-Git).

97 15 U.S.C. §637(a)(1)(D)(ii); 48 C.F.R. §19.805-1(a). However, competitive awards for contracts whose anticipated
value is less than $4.5 million ($7.5 million for manufacturing contracts) can be made with the approval of the SBA’s
Associate Administrator for 8(a) Business Development. 15 U.S.C. §637(a)(1)(D)@(D-(D; 48 C-F.R. §19.805-1(d).

% 48 C.F.R. §19.805-1(b)(1)-(2) (sole-source awards to tribally or ANC-owned firms); and 48 C.F.R. §219.805-
1(b)(2)(A)-(B) (sole-source awards to NHO-owned firms).

Prior to enactment of P.L. 111-84, the National Defense Authorization Act (NDAA) for FY2010, contracting officers
making sole-source awards in reliance on the second exception did not have to justify such awards or obtain approval
of them from higher-level agency officials. The NDAA changed this by requiring justifications, approvals, and notices
for sole-source contracts in excess of $20 million awarded under the authority of §8(a) analogous to those required for
sole-source contracts awarded under the general contracting authorities. The $20 million threshold was increased
through a regulatory update to $22 million, effective October 1, 2015, and to $25 million, effective October 1, 2020, to
account for inflation. P.L. 116-92, the National Defense Authorization Act for Fiscal Year 2020, increased this
threshold to $100 million for the Department of Defense. See Department of Defense, General Services Administration,
and National Aeronautics and Space Administration, “Federal Acquisition Regulation: Inflation Adjustment of
Acquisition-Related Thresholds,” 80 Federal Register 38296, July 2, 2015; and Department of Defense, General

CASO SMARGIOATBELC-CRW Document 105-2 Filed 09/27/24 Page 21'df 78
PagelD #: 3530
SBA’s “8(a) Program”: Overview, History, and Current Issues

manufacturing contracts) cannot be divided into several acquisitions at lesser amounts in order to
make sole-source awards.””

In addition, the Federal Acquisition Regulatory Council has the responsibility of adjusting each
acquisition-related dollar threshold (including those for the 8(a) Program), on October 1, of each
year that is evenly divisible by five.!” As a result, sole source thresholds may differ from those in
statute. The next adjustment for inflation will take place on October 1, 2025.

Other Requirements
Other key 8(a) Program requirements include the following:

e Inability to protest an 8(a) firm’s eligibility for an award. When the SBA
makes or proposes an award to an 8(a) firm, the firm’s eligibility cannot be
challenged or protested as part of the solicitation or proposed contract award.
Instead, information concerning a firm’s eligibility must be submitted to the SBA
in accordance with separate requirements contained in Section 124.517 of Title
13 of the Code of Federal Regulations.

e Nine-year maximum participation. Firms may participate in the program for no
more than nine years from the date of their admission, although they may be
terminated or graduate from the program before nine years have passed.‘

In an effort to assist small businesses adversely affected by the novel coronavirus
(COVID-19) pandemic, P.L. 116-260, the Economic Aid to Hard-Hit Small
Businesses, Nonprofits, and Venues Act (Division N, Title III of the Consolidated
Appropriations Act of 2021), provides businesses participating in the 8(a)
program on or before September 9, 2020, the option to extend their participation
in the program for one year.!™

Services Administration, and National Aeronautics and Space Administration, “Federal Acquisition Regulation:
Inflation Adjustment of Acquisition-Related Thresholds,” 85 Federal Register 62485, October 2, 2020.

9 48 CFR. §19.805-1(c).
100 13 CER. §124.506 (a); and 41 U.S.C. §1908(c)(2).
101 48 CER. §19.805-2(d).

102 15 U.S.C. §636(j)(15) (nine-year term); 15 U.S.C. §637(a)(9) (termination and early graduation); 13 C.F.R.
§124.301 (exiting the program); 13 C.F.R. §124.302 (early graduation); and 13 C.F.R. §124.303 (termination).

H.R. 6395, the National Defense Authorization Act for Fiscal Year 2021, which has been passed by the House and
Senate, would allow firms participating in the Ail Small Mentor-Protégé Program on or before September 9, 2020, to
elect to extend their nine-year participation for up to an additional year.

103 The SBA has determined by rule that this “extension authority does not extend to business concerns that graduated
from or otherwise left the 8(a) BD [Business Development] program prior to March 13, 2020, or to business concerns
that were admitted to the 8(a) BD program after September 9, 2020.” Any extension under the act will be added to the
participant’s transitional stage of participation in the program. The SBA selected March 13, 2020, as the beginning date
for the eligibility for an additional year in the program because the COVID-19 pandemic was declared a national
disaster on that date. The SBA indicated that “it is SBA’s understanding that Congress extended the term of
participation in the 8(a) BD program because it believed that the pandemic adversely affected 8(a) concerns and their
ability to participate in and receive the full benefits of the program. Thus, it is reasonable to conclude that any firms
participating in the program as of the date the national disaster was declared due to the pandemic (i.e. March 13, 2020)
should receive the program term extension authorized by Congress.” Also, the extension will not apply to businesses
that were participants in the 8(a) program at any point from March 13, 2020, through September 9, 2020, but were
terminated, early graduated, or voluntarily withdrew from the program in lieu of being terminated or early graduated.
See SBA, “Extension of Participation in 8(a) Business Development Program,” 86 Federal Register 2530, January 13,
2021.

CASSIS GGGALBELC-CRW Document 105-2 Filed 09/27/24 Page 22 of 78
PagelD #: 3531
SBA's "8(a) Program”: Overview, History, and Current Issues

e¢ One-time eligibility. Once a firm or a disadvantaged individual upon whom a
firm’s eligibility was based has exited the program after participating in it for any
length of time, neither the firm nor the individual is generally eligible to
participate in the program again.' Firms are considered identical for purposes of
program eligibility when at least 50% of the assets of one firm are the same as
those of another firm.’

¢ Ownership limitations on family members of current or former 8(a) firm
owners. Individuals generally may not use their disadvantaged status to qualify a
firm for the program if the individual has an immediate family member who is
using, or has used, the disadvantaged status to qualify a firm for the program.'”°

e Award Limitations. In general, 8(a) individually-owned firms may not receive
additional 8(a) sole-source awards once they have been awarded a combined total
of competitive and sole-source awards in excess of $100 million, in the case of
firms whose size is based on their number of employees, or in excess of an
amount equivalent to the lesser of (1) $100 million or (2) five times the size
standard for the industry, in the case of firms whose size is based on their
revenues.'”’ In addition, 8(a) firms in the transitional stage, or the last five years
of participation, must achieve annual targets for the amount of revenues they
receive from non-8(a) sources.'©’ These targets increase over time, with firms
required to attain 15% of their revenue from non-8(a) sources in the fifth year,
25% in the sixth year, 30% in the seventh year, 40% in the eight year, and 50% in
the ninth year.!° Firms that do not display the relevant percentages of revenue
from non-8(a) sources are ineligible for sole-source 8(a) contracts “unless and
until” they correct the situation.!’°

e Subcontracting Limitations. Federal subcontracting limitations require small
businesses receiving contracts under set-asides to perform work that equals
certain minimum percentages of the amount paid under the contract.'!!
Specifically, small businesses must generally perform at least 50% of the costs of
the contract incurred for personnel with its own employees, in the case of service

104 15 U.S.C. §636()(11)(B)-(C); and 13 C-F.R. §124.108(b).
105 13 C.F.R. §124.108(b)(4).

106 13 C.F.R. §124.105(g)(1). SBA may waive this prohibition if the firms have no connections in terms of ownership,
control, or contractual relationships and certain other conditions are met.

107 13 CER. §124.519(a)(1)-(2). Contracts less than $100,000 are not counted in determining whether a firm has
reached the applicable limit. 13 C.F.R. §124.519(a)(3). The SBA Administrator may waive this requirement if the
procuring agency’s head determines that a sole-source award to a firm is necessary “to achieve significant interests of
the Government.” 13 C.F.R. §124.519(e). Even after firms have received a combined total of competitive and sole-
source awards in excess of $100 million, or other applicable amount, they may still receive competitive contracts under
the 8(a) Program. 13 C.F.R. §124.519(b).

108 15 U.S.C, §636(j)(10)(D\(i)-(iii); 13 C.F.R. §124,509(b)(1).

109 13 CER. §124.509(b)(2); and SBA, “Extension of Participation in 8(a) Business Development Program,” 86
Federal Register 2533, January 13, 2021.

10 13 C.F.R. §124.509(d)(1). This prohibition may be waived if the Office of Business Development’s director
determines that denial of a sole-source contract would cause severe economic hardship for the firm, potentially

jeopardizing its survival, or if extenuating circumstances beyond the firm’s control caused it to miss its target. 13
C.F.R. §125.509(e).

11115 U.S.C. §637(a)(14)(A)-(B); 15 U.S.C. §644(0); 13 CFR. $125.6; and 48 C.F.R. §52.219-14.

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PagelD #: 3532
SBA’s "8(a) Program”: Overview, History, and Current Issues

contracts; and at least 50% of the cost of manufacturing supplies or products
(excluding the cost of materials), in the case of manufacturing contracts.'!”

Requirements for Tribally, ANC-, NHO-, and CDC-Owned Firms

Tribes, Alaska Native Corporations (ANCs), Native Hawaiian Organizations (NHOs) or
Community Development Corporations (CDCs) themselves generally do not participate in the
8(a) Program. Rather, businesses that are at least 51% owned by such entities participate in the
program,!!? although the rules governing their participation are somewhat different from those for
the program generally.'!*

Program Eligibility

Small

Firms owned by Indian tribes, ANCs, NHOs, and CDCs must be deemed small under the SBA’s
size standards.'!> However, certain affiliations with the owning entity or other business
enterprises of that entity are excluded in size determinations unless the SBA Administrator
determines that a small business owned by an ANC, CDC, NHO, or Indian tribe “[has] obtained,
or [is] likely to obtain, a substantial unfair competitive advantage within an industry category”
because of such exclusions.!!© Other affiliations of small businesses owned by ANCs, CDCs,
NHOs, and Indian tribes may be included in size determinations, and ANC-owned firms, in
particular, have been subjected to early graduation from the 8(a) Program because they exceeded
size standards.!"”

Business

Firms owned by ANCs, CDCs, NHOs, and Indian tribes must be “businesses” under the SBA’s
definition.'!® Although ANCs themselves may be for-profit or nonprofit, ANC-owned businesses
must be for-profit to participate in the program.'!?

1215 U.S.C. §657s(a)(1)&(2); and 13 C.F.R. §125.6(a)(1)-(2). There are separate provisions regarding the percentage
of work to be performed under construction contracts. See generally 13 C.F.R. §125.6(a)(3)-(4).

1313 CER. §124.109(c)(3)(i) (tribally and ANC-owned firms); 13 C-F.R. §124.110 (6) (NHO-owned firms); and 13
C.F.R. §124.111(c) (CDC-owned firms).

413 CER. §§124.109-124.111.

15 13 CER. §124.109(c)(2) (tribally and ANC-owned firms); 13 C.F.R. §124.110(b) (NHO-owned firms); and 13
C.F.R. §124.111(c) (CDC-owned firms).

116 13 CFR. §124.109(c)(2)(iii) (tribally and ANC-owned firms); 13 C.F.R. §124.110(b) (NHO-owned firms); and 13
C.E.R. §124.111(c) (CDC-owned firms).

17 See Valenzuela Eng’g, Inc. & Curry Contracting Co., Inc., SBA-4151 (1996) (rejecting a challenge to the size of an
ANC-owned firm because its subcontractor performed less than 25% of the work on the contract and was not its
affiliate); and U.S. Government Accountability Office (GAO), Increased Used of Alaska Native Corporations’ Special
8(a) Provisions Calls for Tailored Oversight, GAO-06-399, April 27, 2006, p. 29, at http://www.gao.gov/new.items/
d06399.pdf (describing “early graduation” of ANC-owned 8(a) firms).

18-13 C.F.R. §124,109(a) and (b) (requiring tribally and ANC-owned firms to comply with the general eligibility
requirements where they are not contrary to or inconsistent with the special requirements for these entities); 13 C-F.R.

§124.110(a) (similar provision for NHO-owned firms); and 13 C.F.R. §124.111(a) (similar provision for CDC-owned
firms).

119 13 CFR. §124.109(a)(3).

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PagelD #: 3533
SBA's “8(a) Program”: Overview, History, and Current Issues

Unconditionally Owned and Controlled

Firms owned by ANCs, CDCs, NHOs, or Indian tribes must be unconditionally owned and
substantially controlled by the ANC, CDC, NHO, or Indian tribe, respectively.!*° However, under
SBA regulations, tribally or ANC-owned firms may be managed by individuals who are not
members of the tribe or Alaska Natives if the firm can demonstrate:

that the Tribe [or ANC] can hire and fire those individuals, that it will retain control of all
management decisions common to boards of directors, including strategic planning, budget
approval, and the employment and compensation of officers, and that a written
management development plan exists which shows how Tribal members will develop

managerial skills sufficient to manage the concern or similar Tribally-owned concerns in
the future.!?!

NHO-owned firms must demonstrate that the NHO controls the board of directors.!2? However,
the individual who is responsible for the NHO-owned firm’s day-to-day management need not
establish personal social and economic disadvantage.'*? CDCs are to be managed and have their
daily operations conducted by individuals with “managerial experience of an extent and
complexity needed to run the [firm].”!**

Socially Disadvantaged
As owners of prospective or current 8(a) firms, Indian tribes, ANCs, NHOs, and CDCs are all
presumed to be socially disadvantaged.’*°

Economically Disadvantaged

By statute, ANCs are deemed to be economically disadvantaged, and CDCs are similarly treated
as economically disadvantaged.'”° In contrast, Indian tribes and NHOs must establish economic
disadvantage. Indian tribes must present data on, among other things, the number of tribe

120 13 C.F.R. §124.109(a) and (b) (requiring tribally and ANC-owned firms to comply with the general eligibility
requirements where they are not contrary to or inconsistent with the special requirements for these entities); 13 C.F.R.
§124.110(a) (similar provision for NHO-owned firms); and 13 C.F.R. §124.111(a) (similar provision for CDC-owned
firms).

12113 CFR. §124.109(c)(4)(B).
122 13 CFR. §124.110(d).
123 13 CFR. §124.110(d).
124 13 CER. §124.111(b).

125.13 C.F.R. §124.109(b)(1) (tribally and ANC-owned firms); 15 U.S.C. §637(a)(4)(A)@CD (NHO-owned firms); 13
C.F.R. §124.110(a) (same); 13 C.F.R. §124.111(a) (CDC-owned firms); and Small Disadvantaged Business
Certification Application: Community Development Corporation (CDC) Owned Concern, OMB Approval No. 3245-
0317 (“A Community Development Corporation (CDC) is considered to be a socially and economically disadvantaged
entity if the parent CDC is a nonprofit organization responsible to residents of the area it serves which has received
financial assistance under 42 U.S.C. 9805, et seq.”). The SBA’s authority to designate CDCs as socially and
economically disadvantaged derives from Section 9815(a)(2) of Title 42 of the United States Code, which required
SBA to “promulgate regulations to ensure the availability to community development corporations of such programs as
shall further the purposes of this subchapter, including programs under §637(a) of title 15.”

126 43 U.S.C. §1626(e)(1) (“For all purposes of Federal law, a Native Corporation shall be considered to be a
corporation owned and controlled by Natives and a minority and economically disadvantaged business enterprise if the
Settlement Common Stock of the corporation and other stock of the corporation held by holders of Settlement Common
Stock and by Natives and descendants of Natives, represents a majority of both the total equity of the corporation and
the total voting power of the corporation for the purposes of electing directors.”); 13 C.F.R. §124.109(a)(2) (similar);
and 13 C.F.R. §124.111(a).

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PagelD #: 3534
SBA’s "8(a) Program”: Overview, History, and Current Issues

members; the tribe members’ unemployment rate and per capita income; the percentage of the
local Indian population above the poverty level; the tribe’s access to capital and assets as
disclosed in current financial statements; and all businesses wholly or partially owned by tribal
enterprises or affiliates, as well as their primary industry classification.'”’ Effective August 24,
2016, NHOs establish economic disadvantage in the same manner as Indian tribes.'”8 Prior to this
revision, the SBA considered “the individual economic status of NHO’s members,” the majority
of whom had to qualify as economically disadvantaged, under the same standards as individual
applicants to the program.'°

Once a tribe or NHO has established that it is economically disadvantaged for purposes of one
8(a) business, it need not reestablish economic disadvantage in order to have other businesses

certified for the program unless the Director of the Office of Business Development requires it to
do so.'°

Good Character

The SBA’s regulations governing tribally and ANC-owned 8(a) firms explicitly state that the
good character requirement applies only to officers or directors of the firm, or shareholders
owning more than a 20% interest.'3! NHO-owned firms may be subject to the same requirements
in practice.!?? With CDC-owned firms, the firm itself and “all of its principals” must have good
character.!*

Demonstrated Potential for Success

Firms owned by ANCs, CDCs, NHOs, and Indian tribes may provide evidence of potential for
success in several ways:

1. The firm has been in business for at least two years, as shown by individual or
consolidated income tax returns for each of the two previous tax years showing
operating revenues in the primary industry in which the firm seeks certification.

2. The individuals who will manage and control the firm’s daily operations have
substantial technical and management experience; the firm has a record of
successful performance on government or other contracts in its primary industry
category; and the firm has adequate capital to sustain its operations and carry out
its business plan.

127 15 U.S.C. §637(a)(6)(A); and 13 C.F.R. §124.109(b)(2)(i)-(vii).

128 SBA, “Small Business Mentor Protégé Program,” 81 Federal Register 48571, July 25, 2016.

129 13 C.F.R. §124.110(c)(1). Specifically, for the first 8(a) applicant owned by a particular NHO, individual NHO
members had to meet the same initial eligibility economic disadvantage thresholds as individually-owned 8(a)
applicants. For any additional 8(a) applicant owned by the NHO, individual NHO members had to meet the economic

disadvantage thresholds for continued 8(a) eligibility. If the NHO had no members, then a majority of the members of
the board of directors had to qualify as economically disadvantaged.

130 13 CFR. §124.109(b).
131 13 CFR. §124.109(c)(7)(ii).

132 The regulations as to NHOs do not appear to address “good character.” However, in practice, when this has
happened in the past, NHO-owned firms have often been treated the same as firms owned by Indian tribes.

33.13 CER. §124.111(g).

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PagelD #: 3535
SBA’s “8(a) Program”: Overview, History, and Current Issues

3. The owner-group has made a firm written commitment to support the firm’s
operations and has the financial ability to do so.'*4

The first of these ways for demonstrating potential for success is the same for individually owned
firms, and the second arguably corresponds to the circumstances in which the SBA may waive the
requirement that individually owned firms have been in business for at least two years.’*° There is
no equivalent to the third way for individually owned firms, and some commentators have
suggested that this provision could “benefit ANCs [and other owner groups] by allowing more
expeditious and effortless access to 8(a) contracts for new concerns without having to staff new
subsidiaries with experienced management.”'**

Report of Benefits for Firms Owned By ANCs, Indian Tribes, NHOs, and CDCs

8(a) firms owned by ANCs, CDCs, NHOs, and Indian tribes must submit information with its
annual financial statement to the SBA showing

how the Tribe, ANC, NHO or CDC has provided benefits to the Tribal or native members
and/or the Tribal, native or other community due to the Tribe’s/ANC’s/NHO’s/CDC’s
participation in the 8(a) ... program through one or more firms. This data includes
information relating to funding cultural programs, employment assistance, jobs,
scholarships, internships, subsistence activities, and other services provided by the Tribe,
ANC, NHO or CDC to the affected community. 1°”

Set-Asides and Sole-Source Awards

Similar to other participants, firms owned by ANCs, CDCs, NHOs, and Indian tribes are eligible
for 8(a) set-asides and may receive sole-source awards valued at less than $4.5 million ($7.5
million for manufacturing contracts). However, firms owned by ANCs and Indian tribes can also

134 13 C.F.R. §124.109(c)(6)(i)-(iii) (ANC- and tribally-owned firms); 13 C.F.R. §124.110(g)(1)-) (NHO-owned
firms); and 13 CFR. §124.111(f\(1)-(3) (CDC-owned firms).

135 13 CF.R. §124.107; and 13 C.F.R. §124.107(b)(1)(i)-(v).

136 Daniel K. Oakes, “Inching Toward Balance: Reaching Proper Reform of the Alaska Native Corporations’ 8(a)
Contracting Preferences,” 40 Public Contract Law Journal 777 (2011).

137 13 C.F.R. §124.604. SBA regulations promulgated in February 2011 provided that this reporting requirement would
be effective “as of September 9, 2011, unless SBA further delays implementation through a Notice in the Federal
Register.” SBA, “Small Business Size Regulations; 8(a) Business Development/Small Disadvantaged Business Status
Determinations: Final Rule,” 76 Federal Register 8222-8264 (February 11, 2011). The SBA subsequently delayed the
reporting requirement through at least five such notices. See SBA, “8(a) Business Development Program Regulations;
Tribal Consultations,” 76 Federal Register 12273, 12274 (March 7, 2011); SBA, “8(a) Business Development Program
Regulations; Tribal Consultations,” 76 Federal Register 27859, 27860 (May 13, 2011); SBA, “Data Collection
Available for Public Comments and Recommendations: 60 Day Notice and Request for Comments,” 76 Federal
Register 63983, 63984 (October 14, 2011); SBA, “Data Collection Available for Public Comments and
Recommendations: 60 Day Notice and Request for Comments,” 77 Federal Register 73509, 73510 (December 10,
2012); and SBA, “Data Collection Available for Public Comments and Recommendations; Notice: Extension of
Comment Period for New 8(a) Business Development Program Reporting Requirements,” 78 Federal Register 9447
(February 8, 2013). GAO reports that until 2016 compliance with this reporting requirement varied because the SBA
did not have an OMB-approved standard form to collect the data. In 2011, the SBA developed a seven page form, but
after receiving comments that the form was too burdensome it was not adopted. After consultations with OMB, ANCs,
and other groups, in June 2015, the SBA proposed a new one-page form. OMB approved the form on March 3, 2016.
See SBA, “Data Collection Available for Public Comments: 60 Day Notice and Request for Comments,” 80 Federal
Register 31444, 31445 (June 2, 2015); SBA, “Reporting and Recordkeeping Requirements Under OMB Review: 30
Day Notice,” 80 Federal Register 73035, 73036 (November 23, 2015); and GAO, Alaska Native Corporations:
Oversight Weaknesses Continue to Limit SBA's Ability to Monitor Compliance with 8(a) Program Requirements,
GAO-16-113, March 21, 2016, p. 36, at http://www.gao.gov/assets/680/675905.pdf.

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PagelD #: 3536
SBA’s “8(a) Program”: Overview, History, and Current Issues

receive sole-source awards in excess of $4.5 million ($7.5 million for manufacturing contracts)
even when contracting officers reasonably expect that at least two eligible and responsible 8(a)
firms will submit offers and the award can be made at fair market price.°* NHO-owned firms

may receive sole-source awards from the Department of Defense under the same conditions. !*

Other Requirements

Firms owned by ANCs, CDCs, NHOs, and Indian tribes are governed by the same regulations as
other 8(a) firms in which certain of the “other requirements” are involved, including (1) inability
to protest an 8(a) firm’s eligibility for an award;'° (2) maximum of nine years in the program (for
individual firms);'*! and (3) limits on subcontracting.'*” However, requirements for such firms
differ somewhat from those for other 8(a) firms, including the one-time eligibility for the 8(a)
Program; limits on majority ownership of 8(a) firms; and limits on the amount of 8(a) contracts
that a firm may receive. Firms owned by ANCs, CDCs, NHOs, and Indian tribes may participate
in the 8(a) Program only one time.'*? However, unlike the disadvantaged individuals upon whom
other firms’ eligibility for the 8(a) Program is based, ANCs, CDCs, NHOs, and Indian tribes may
confer program eligibility upon firms on multiple occasions and for an indefinite period.'** In
addition, ANCs, CDCs, NHOs, and Indian tribes may not own 51% or more of another firm that
“either at the time of application or within the previous two years,” obtains the majority of its
revenue from the same “primary” industry as the applicant. However, there are no limits on the
number of firms they may own that operate in other primary industries.'*° Moreover, ANCs,

138 PL, 100-656, §602(a), 102 Stat. 3887-88 (November 15, 1988) (codified at 15 U.S.C. §637 note); and 48 C.F.R.
§19.805-1(b)(2).

As mentioned in footnote 98, P.L. 111-84 requires federal contracting officers to provide written justifications, obtain
higher-level agency approvals, and provide notices for sole-source contracts in excess of $20 million awarded under the
authority of §8(a) analogous to those required for sole-source contracts awarded under the general contracting
authorities. The $20 million threshold was increased through a regulatory update to $22 million, effective October 1,
2015, and to $25 million, effective October 1, 2020, to account for inflation. P.L. 116-92 increased this threshold to
$100 million for the Department of Defense.

139 DOD’s authority to make sole-source awards to NHO-owned firms of contracts valued at more than $4.5 million
($7.5 million for manufacturing contracts) even if contracting officers reasonably expect that offers will be received
from at least two responsible small businesses existed on a temporary basis in 2004-2006 and became permanent in
2006. See P.L. 109-148, Department of Defense, Emergency Supplemental Appropriations to Address Hurricanes in
the Gulf of Mexico, and Pandemic Influenza Act of 2006, §8020, 119 Stat. 2702-03 (December 30, 2005) (“[Provided]
[t]hat, during the current fiscal year and hereafter, businesses certified as 8(a) by the Small Business Administration
pursuant to section 8(a)(15) of Public Law 85-536, as amended, shall have the same status as other program
participants under section 602 of P.L. 100-656 ... for purposes of contracting with agencies of the Department of
Defense.”); 48 C.F.R. §219.805-1(b)(2)(A)-(B).

140 48 C.F.R. §19.805-2(d).

141 13 C.F.R. §124.109(a) & (b) (requiring tribally and ANC-owned firms to comply with the general eligibility
requirements where they are not contrary to or inconsistent with special requirements for these entities); 13 C.F.R.
§124.110(a) (similar provision for NHO-owned firms); and 13 C.F.R. §124.111(a) (similar provision for CDC-owned
firms).

14215 U.S.C. §644(0); 15 U.S.C. §657s; 13 C_F.R. §125.6; and 48 C.F.R. §52.219-14,

143 13 C.F.R. §124.109(a) & (b) (ANC- and tribally-owned firms); 13 C.F.R. §124.110(a) (NHO-owned firms); and 13
C.F.R. §124.111(a) (CDC-owned firms).

4415 U.S.C. §636(9)(1 1)(B)-(C).

145 13 CER. §124.109(c)(3)(ii) (tribally and ANC-owned firms); 13 C.F.R. §124.110(e) (NHO-owned firms); and 13
C.E.R. §124.111(d) (CDC-owned firms). These regulations also provide that an 8(a) firm owned by an ANC, CDC,
NHO, or Indian tribe may not, within its first two years in the 8(a) Program, receive a sole-source contract that is a
follow-on to an 8(a) contract currently performed by an 8(a) firm owned by that entity, or previously performed by an
8(a) firm owned by that entity that left the program within the past two years. In addition, there are restrictions on the

Caceres re ReeOLFDELC-CRW Document 105-2 Filed 09/27/24 Page 2&0f 78
PagelD #: 3537
SBA’s “8(a) Program”: Overview, History, and Current Issues

CDCs, NHOs, and Indian tribes may own multiple firms that earn less than 50% of their revenue
in the same “secondary” industries.'*° Finally, firms owned by ANCs, CDCs, NHOs, and Indian
tribes may continue to receive additional sole-source awards even after they have received a
combined total of competitive and sole-source 8(a) contracts in excess of the dollar amount set
forth in Section 124.519 of Title 13 of the Code of Federal Regulations. Individually owned firms
may not exceed this threshold.'4” However, firms owned by any of these four types of entities are
subject to the same requirements regarding the percentages of revenue received from non-8(a)
sources at various stages of their participation in the program as other 8(a) firms. '*®

Organizational Structure

The SBA’s Office of Business Development (BD), housed within the Office of Government
Contracts and Business Development, oversees the 8(a) Program. BD has three offices: the Office
of Certification and Eligibility (OCE), the Office of Management and Technical Assistance
(OMTA); and the Office of Program Review (OPR). Their functions are provided in the footnote
below.'”?

percentage of work that may be performed by any non-8(a) venturer(s) in joint ventures involving 8(a) firms. See
generally 13 C.F.R. §124.513.

146 13 C.F.R. §124.109(c)(3)(ii) (tribally and ANC-owned firms); 13 C.F.R. §124.110(e) (NHO-owned firms); 13
CFR. §124.111(d) (CDC-owned firms).

47 13 CER. §124.519(a).
148 13 CER. §124.509.

149 The Office of Certification and Eligibility (OCE) provides program participants recommendations concerning initial
and continuing program eligibility. OCE’s functions include, but are not limited to, analyzing and processing: (1)
applications for initial program participation, (2) requests for reconsideration of decisions declining initial program
applications; (3) requests to graduate early or to terminate, voluntarily withdraw, or suspend program participation; (4)
changes of ownership, business structure, business name, and/or management; (5) annual continuing eligibility review
issues; and (6) general questions concerning eligibility and application processes. OCE also provides technical
assistance and support to SBA district offices (DOs) regarding outreach to potential program participants, eligibility
issues, and waivers for outside employment.

The Office of Management and Technical Assistance (OMTA) administers most of the services that are not provided
by DOs and reviews certain actions recommended by DOs. These services include (1) servicing sole-source,
competitive, and multiple-award contracts; (2) analyzing and processing termination waivers, requests for competition
below the competitive thresholds, requests for sole source above the thresholds, requests for waivers of sole source
prohibition, bona fide office determinations, and mentor/protégé applications and reconsiderations; (3) subcontracting
assistance; (4) overseeing and coordinating 7(j) technical and management training assistance; (5) overseeing and
executing national and local seminars, conferences, and other similar activities; (6) outreach to prime contractors,
federal agencies, and the 8(a) program community; (7) reciprocating with other certification entities; and (8)
promoting, training, and assisting the DOs with their overall program objectives and initiatives.

The Office of Program Review (OPR) supports both 8(a) headquarters and field office staff by (1) evaluating and
responding to external program reviews that may be conducted by the SBA’s Office of Inspector General (OIG), Office
of Government Contracting (for agency surveillance reviews), Office of Field Operations (for SBA DO reviews), and
the U.S. Government Accountability Office (GAO); (2) responding to agency controlled correspondence from the
public and congressional offices, Freedom of Information Act requests from the public, and clearance requests from
other SBA offices; (3) gaining approval of agency partnership agreements and providing training for buying activities;
(4) creating marketing products and updating the 8(a) program web page; (5) managing all activities associated with the
surplus property program; (6) maintaining program data on firm participation; and (7) preparing the annual report to
Congress on program participation and contracting.

See SBA, Office of Business Development, “Standard Operating Procedure for the Office of Business Development,”
SOP 80 05 5, effective September 23, 2016, pp. 29-31, at https://www.sba.gov/sites/default/files/sops/
SOP_80_05_5_-pdf.

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PagelD #: 3538
SBA's “8(a) Program”: Overview, History, and Current Issues

Applications for the 8(a) Program are processed at one of two central office duty stations
(CODS), one located in San Francisco, CA, and the other in Philadelphia, PA.'*° Applicants apply
to the CODS that serve the territory where the applicant’s principal place of business is located.
Business Opportunity Specialists (BOSs) work directly with 8(a) firms in district offices under
the general supervision of the SBA’s Office of Field Operations (OFO). Although BOSs report to
the SBA’s OFO, they interact extensively with BD, which is located in the SBA’s headquarters
building in Washington, DC. As will be discussed, GAO and others have argued that this
overlapping organizational structure may “create programmatic challenges.”!°!

The Application Process

Prior to applying for certification, firms must complete all requirements for contracting with the
federal government (e.g., get a free D-U-N-S number—a unique nine-digit identification number
of each physical business location from Dun and Bradstreet; obtain a free tax identification
number or employer identification number from the Internal Revenue Service; create a profile in
the federal System for Award Management, and get a free SBA general login system user ID).!*?

The SBA’s district office staff generally encourage potential 8(a) Program applicants “to attend
an information session to obtain information regarding the program and its eligibility criteria
prior to filing an application ... [and] also refer the applicant to SBA’s website for forms, specific
eligibility criteria, pertinent regulatory sections in the Code of Federal Regulations, and overall
information on the program.”!°?

In an attempt to encourage more applicants, the SBA revised and streamlined the 8(a) Program’s
application process in 2016 by accepting online applications only (hard copy applications are no
longer accepted) and eliminating the requirement for a wet signature application; a completed
IRS Form 4506T, Request for Copy or Transcript of Tax Form, in every case; and narrative
statements in support of the applicants’ claims of economic disadvantage. That determination is
now based solely on an analysis of objective financial data relating to the individual’s net worth,
income and total assets.’*4 In addition, to prevent what it viewed as unnecessary delays for minor
infractions that may have “occurred many years ago” and may have “nothing to do with the
individual’s business integrity,” the SBA made optional the automatic suspension of consideration
and referral to the SBA OIG of all applications with adverse information regarding the applicant’s
or any of its principals’ possible criminal conduct.!°°

Despite these changes, applicants still have a relatively long list of supporting documents (and
required SBA Forms)!'* that they must submit, including the following:

150 The San Francisco, California CODS screens and processes all applications submitted by Alaska Native
Corporations (ANCs), regardless of where the concern is located.

151 GAO, Small Business Administration: Leadership Attention Needed to Overcome Management Challenges, GAO-
15-347, September 22, 2015, p. 59, at http://www.gao.gov/assets/680/672648 pdf.

152 SBA, “Steps to Applying to the 8(a) Program,” at https://www.sba. gov/contracting/government-contracting-
programs/8a-business-development-program/how-apply. D-U-N-S is the data universal number system that businesses
are required to register with the federal government when competing for contracts or grants.

153 SBA, Office of Business Development, “Standard Operating Procedure for the Office of Business Development,”
SOP 80 05 5, effective September 23, 2016, p. 35, at https://www.sba.gov/sites/default/files/sops/SOP_80_05_5_.pdf.

154 SBA, “Small Business Mentor Protégé Program,” 81 Federal Register 48569, July 25, 2016.
155 SBA, “Small Business Mentor Protégé Program,” p. 48570.

156 Firms must submit SBA Form 1010, 8(a) Business Development (BD) Program Application along with supporting
documentation. Individuals must submit SBA Form 1010-IND, Individual Information; SBA Form 912, Statement of

Caer SOLE RGSOLEDELC-CRW Document 105-2 Filed 09/27/24 Page 30°df 78
PagelD #: 3539
SBA’s “8(a) Program”: Overview, History, and Current Issues

e Signed and dated federal income tax returns for the firm and all individuals that
either own more than 10% of the firm or have a key position in the firm for the
past three years preceding the date of application (including all forms,
statements, schedules and attachments).

e The firm’s financial statements, balance sheet, and profit and loss statements for
the past three years (including the most recent balance sheet, current within 90
days of application).

e Acompleted personal financial statement form (from all principals and their
spouses), including a list of all assets, liabilities, real estate and other personal
property, including transferred assets, information on delinquent federal
obligations, past due taxes or liens, bankruptcy filings and pending civil lawsuits,
and a list of any SBA loans for the firm and other businesses owned by the
principal(s).

eA list or chart of the firm’s current and past federal and nonfederal contracts
within the most recently completed fiscal year.

e Alist of any lease agreements.

e Proof of signature authority on the firm’s bank account(s) (i.e., signature card(s)
for firm bank account(s) or letter from the bank).

e Documented proof of contributions: (1) used to acquire ownership (for each
owner), (2) of any transfer of assets to or from the firm, and (3) of any transfer of
assets to or from any of the firm’s owners over the past two years.

e State filings (signed, dated and stamped by the state where the firm does
business) and certificate of good standing.'*’

e List of any foreign corporation filings.

e Articles of incorporation, articles of organization, any DBA (“doing business as”)
filings, governing documents signed by the principals, bylaws, operating
agreements, partnership agreements, and meeting minutes.

e Any stock certificates and ledgers.
e Proof of social disadvantage from majority owners and firm managers.

e Background information and personal information from all principals, including
a resume, a completed Statement of Personal History form, proof of U.S.
citizenship or naturalization, duties within the firm and time devotion, a list of
other business interests and time devotion, and the nature of outside employment
and time devotion.'*

e Documentation addressing how the firm meets specified objectives, if it is
applying for a two-year waiver.’

Personal History; any individual who responds ‘Yes’ to questions 7, 8 or 9 on the SBA Form 912 must submit a
completed SBA Fingerprint Card (FD 258, Fingerprint Card); and SBA Form 413, Personal Financial Statement. See
SBA, Office of Business Development, “Standard Operating Procedure for the Office of Business Development,” SOP
80 05 5, effective September 23, 2016, pp. 37-39, at https://www.sba.gov/sites/default/files/sops/SOP_80_05_5_-pdf.

157 A certificate of good standing is issued by the Secretary of State’s Office evidencing that a business has complied
with the applicable provisions of the laws of the state, is in good standing, and authorized to transact business or to
conduct affairs within the state.

158 Principals include owner(s) of more than 10%, officers, directors, members, partners, and key employees.

159 The specified objectives are “substantial demonstration of business management experience; demonstrated technical

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PagelD #: 3540
SBA’s “8(a) Program”: Overview, History, and Current Issues

As mentioned, applications are processed at the San Francisco or Philadelphia CODS. In general,
the SBA processes an application and issues a decision letter within 90 days of the receipt of an
application package. The processing time will be suspended only if an applicant is referred to the
SBA OIG, for a formal size determination, or both.!©

Applicants are notified within 15 days of receipt whether the application package is complete or
incomplete. The SBA will not process an incomplete application.'*' Complete means that the
application is ready to be processed.

A BOS, at one of the CODS, initially reviews the application. If, during the eligibility review
process, it is determined that an application is incomplete, the BOS may request additional
information or clarification “via a delivery method that tracks delivery and provides return receipt
capability.”! The applicant must provide the requested information within five calendar days of
receipt of the request. Failure to meet the deadline may result in the applicant’s ineligibility to
participate in the program. However, a request for additional information does not stop the 90-day
processing clock. “Once the requested information is provided, the case may require priority
handling in order for the CODS to complete the eligibility review within the required
timeframe.”!®

After the initial review, the BOS submits the case file, the BOS analysis, and a decision letter to
the CODS’ chief for review. The chief examines the BOS analysis and decision letter to verify
that all required steps and regulations have been properly applied. Upon completing the
examination, the chief returns the case file and attachments to the BOS along with any applicable
comments and recommendations.!*

The BOS then makes any changes or corrections to the analysis or decision letter as requested by
the chief. The chief then signs and returns the case file to the processing BOS. The chief makes
his or her recommendation in the electronic application system (which is equivalent to

transmitting it to the OCE’s director, who approves or declines the application largely based on
the CODS’ review).'©

After the OCE review, the associate administrator for Business Development (AA/BD) ultimately
approves or declines the application in writing.'® The electronic application system notifies the

expertise to carry out its business plan; adequate capital; record of successful performance on contracts (including
copies of contracts that will reflect the different sizes the firm can handle); and ability to obtain the personnel, facilities,
equipment, and any other requirements to perform on contracts. Applicants seeking this waiver must also provide a list
of the different services/products provided by the firm; billing invoices and bank statements reflecting deposit of
receipts; and letters of reference from the firm’s clients.” See SBA, “8(a) Application Checklist,” at
https://sbaone.atlassian net/wiki/spaces/CKB/pages/96370728/8+a+Initial+A pplication+Document+Checklist.

160 SBA, Office of Business Development, “Standard Operating Procedure for the Office of Business Development,”
SOP 80 05 5, effective September 23, 2016, p. 73, at https://www.sba.gov/sites/default/files/sops/SOP_80_05_5_-pdf;
and 13 C.F.R. §124.204(a).

161 13 CFR. §124.204(a).

162 SRA, Office of Business Development, “Standard Operating Procedure for the Office of Business Development,”
SOP 80 05 5, effective September 23, 2016, p. 73, at https://www.sba.gov/sites/default/files/sops/SOP_80_05_5_.pdf.

1683 SBA, Office of Business Development, “Standard Operating Procedure for the Office of Business Development,”
SOP 80 05 5, p. 73.

164 SBA, Office of Business Development, “Standard Operating Procedure for the Office of Business Development,”
SOP 80 05 5, p. 75.

165 SBA, Office of Business Development, “Standard Operating Procedure for the Office of Business Development,”
SOP 80 05 5, p. 75.

166 13 CER. §124.204(f).

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Case SST CVSSOATBELC-CRW Document 105-2 Filed 09/27/24 Page 32 of 78
PagelD #: 3541
SBA’s “8&(a) Program”: Overview, History, and Current Issues

firm by issuing an approval or declination letter. All declination letters must clearly explain the
reason(s) why the firm was found to be ineligible, including a direct reference to regulatory
provisions that the applicant failed to satisfy. The letter must also include the applicant’s right to
request reconsideration and, if applicable, to appeal the decision to the SBA’s Office of Hearings
and Appeals.'©’

As discussed below in the “Current Issues” section, the SBA and others have identified the
application process, and its relatively high rate of rejection, as an impediment to the 8(a)
Program’s growth.

Business Opportunity Specialists and Reporting
Requirements

The SBA’s 117 BOSs assist both prospective and existing 8(a) firms with questions related to the
application process, required forms, and the program’s various eligibility, reporting, and.
performance requirements.'** BOSs also provide general business development assistance, assist
with the firm’s planning and establishment of goals, work with the firm as it develops and
submits its required business plan, and ensure that the firm is on track regarding anticipated
business growth.!® BOSs “on-going responsibility is to assist the Participant in developing its
business to the fullest extent possible so that it attains competitive viability during its program
participation term, and maintains viability thereafter.”!’° As directed, BOSs accomplish this by (1)
helping the firm identify its strengths and weaknesses; (2) providing advice, counsel, and
guidance in the areas of marketing to the federal government, prime contracting, and contract
administration; (3) referring the firm to appropriate internal and external resources for assistance
in technical, management, and financial matters; and (4) monitoring the firm’s progress in the
program and its compliance with program requirements.'7!

8(a) firms must demonstrate program compliance by reporting specific information to the SBA on
an as needed, periodic, or requested basis. Much of the reporting is accomplished through the
required annual review, which focuses on the firm and its business development, and the
continuing eligibility review.!”

167 SBA, Office of Business Development, “Standard Operating Procedure for the Office of Business Development,”
SOP 80 05 5, effective September 23, 2016, p. 74, at https://www.sba.gov/sites/default/files/sops/SOP_80_05_5_.pdf;
SBA, Office of Inspector General, “SBA’s 8(a) Business Development Program Eligibility,” Audit Report, Number 16-
13, April 7, 2016, p. 2, at https:/Awww.sba.gov/sites/default/files/oig/16-

13_SBAs 8a Business Development_Program_Eligibility.pdf; 13 C.F.R. §124.205; and 13 C.F.R. §124.206.

168 SBA, OIG, SBA Business Development Assistance to 8(a) Program Participants, Report No. 22-08, February 14,
2022, pp. 21-22, at https:/(www.sba.gov/document/report-22-08-sbas-business-development-assistance-8a-program-
participants.

169 SBA, Office of Government Contracting and Business Development, “Supplemental Workbook, May 2013, Module
3 Winning Contracts Pre-8(a) Business Development Program Training Series,” at https://www.sba.gov/content/pre-8a-
business-development-program-training-series.

70 SBA, Office of Business Development, “Standard Operating Procedure for the Office of Business Development,”
SOP 80 05 5, effective September 23, 2016, pp. 131, 132, at https://;www.sba.gov/sites/default/files/sops/
SOP_80_05_5 -pdf.

17. SBA, Office of Business Development, “Standard Operating Procedure for the Office of Business Development,”
SOP 80 05 5, p. 132.

12 SBA, Office of Government Contracting and Business Development, “Pre-8(a) Business Development Program
Module 4—-Business Planning and Operational Management, transcript,” February 2015, p. 9, at https://(www.sba.gov/

C i Servi . 2t
Cases 38cv-00047-DELC-CRW Document 105-2 Filed 09/27/24 Page 33 of 78

PagelD #: 3542
SBA’s “8(a) Program”: Overview, History, and Current Issues

The annual review requires numerous forms and documentation, including the following:

e Form 1450—8(a) Annual Update Review (information about the firm, including
its tenure in the program, current financial data, business development targets,
loans and other sources of capital, and applicable bonding information);

e Form 1623—Certification Regarding Debarment, Suspension, and Other
Responsibility Matters Primary Covered Transactions (detailed information
regarding any debarments, suspensions, or other potentially adverse matters);

e Form 1790—Representatives Used and Compensation Paid for Services in
Connection with Obtaining Federal Contracts (required semiannually, includes a
list of any agents, representatives, accountants, consultants, etc. that receive fees,
commissions, or compensation of any kind to assist the firm in obtaining or
seeking federal contracts);

e Form 912-——Statement of Personal History (information related to claiming
disadvantaged status for all officers, directors, general partners, managing
members, and holders of more than 10% ownership in the firm); and

e Form 413—Personal Financial Statement (information concerning the owner’s
and their spouse’s personal net worth).!”

8(a) firms are also required to provide any updates or modifications to their business plan.'”* If
the firm participates in the All Small Mentor-Protégé Program (see below) it must provide “a
narrative report detailing the contracts it has had with its mentor and benefits it has received from
the mentor/protégé relationship.”!” In addition, the firm must provide a report for each 8(a)
contract performed during the year “explaining how the performance of work requirements are
being met for the contract, including any 8(a) contracts performed as a joint venture.”!”°

In 2010, GAO reported that the district staff’s “dual role of advocacy for and monitoring of the
firms may have contributed in part to the retention of ineligible firms.”!”’ In response, in 2012,
the SBA shifted responsibility for processing the continued eligibility portion of the required
annual review from BOSs located in the SBA district offices to its Washington, DC, office. While
BOSs continue to perform other components of the annual review, “shifting the responsibility for

sites/default/files/Pre8a_module4_transcript.pdf; and SBA, Office of Business Development, Standard Operating
Procedure for the Office of Business Development,” SOP 80 05 5, effective September 23, 2016, p. 212, at
https://www.sba.gov/sites/default/files/sops/SOP_80_05_5_ pdf. ...Continuing eligibility reviews are conducted by the
District Office and OCE. ...OCE conducts continuing eligibility review on 8(a) Participant firms that are considered
high risk/complex and those that are requested from the field staff. See SBA, Office of Business Development,
“Standard Operating Procedure for the Office of Business Development,” SOP 80 05 5, effective September 23, 2016,
p. 212, at https:/Avww.sba.gov/sites/default/files/sops/SOP_80_05_5 pdf.

13 SBA, Office of Government Contracting and Business Development, “Pre-8(a) Business Development Program
Module 4—Business Planning and Operational Management, transcript,” February 2015, pp. 9, 10, at
https://www.sba.gov/sites/default/files/Pre8a_module4_transcript.pdf.

174 SBA, Office of Government Contracting and Business Development, “Pre-8(a) Business Development Program
Module 4---Business Planning and Operational Management, transcript,” p. 10.

™ 13 CER. §124.112(b)(6).

1% 13 C.E.R. §124.112(b)(8).

177 GAO, Small Business Administration: Steps Have Been Taken to Improve Administration of the 8(a) Program, but

Key Controls for Continued Eligibility Need Strengthening, GAO-10-353, March 30, 2010, pp. 9, 10, 26, at
http://www.gao.gov/assets/3 10/302582.pdf.

Case SERV OUOALBELC-CRW Document 105-2 Filed 09/27/24 Page 34 of 78
PagelD #: 3543
SBA's "8(a) Program”: Overview, History, and Current Issues

processing continued eligibility to headquarters was designed to eliminate conflict of interest for
district offices associated with performing both assistance and oversight roles.”!”8

8(a) firms may leave the program by any of the following means:

e voluntary withdrawal;

e voluntary early graduation (where the firm voluntarily decides to leave the
program after the SBA has determined that the firm has substantially achieved its
business plan’s targets, objectives, and goals and has demonstrated the ability to
compete in the marketplace without program assistance);

e involuntary early graduation (where the SBA requires a firm to leave the program
because it has determined that the firm has substantially achieved its business
plan’s targets, objectives, and goals and has demonstrated the ability to compete
in the marketplace without program assistance; or one or more of the
disadvantaged owners upon whom the firm’s eligibility is based are no longer

economically disadvantaged);'”

e termination for good cause;'*°

18 GAO, Small Business Administration: Leadership Attention Needed to Overcome Management Challenges, GAO-
15-347, September 22, 2015, p. 63, at http:/Avww.gao.gov/assets/680/672648 pdf. ...a. Upon completion of the
analysis, the District Office BOS will forward the completed annual review to the District Director through the
Assistant District Director for final disposition; b. After the review of the District Office BOS recommendation, the
District Director must then enter his/her recommendation in the 8(a) electronic tracking system to complete the Annual
Review reporting. ... The District Office will send a letter to the 8(a) Participant notifying the firm that their annual
review is complete and that the Participant continues to be eligible to participate in the 8(a) BD Program. See SBA,
Office of Business Development, Standard Operating Procedure for the Office of Business Development,” SOP 80 05
5, effective September 23, 2016, p. 200, at https:/;www.sba.gov/sites/default/files/sops/SOP_80_05_5_-pdf.

19 13 C.F. R. §124.302. “In determining whether a Participant has substantially achieved the targets, objectives and
goals of its business plan and in assessing the overall competitive strength and viability of a Participant, SBA considers
the totality of circumstances, including the following factors: (1) Degree of sustained profitability; (2) Sales trends,
including improved ratio of non-8(a) sales to 8(a) sales since program entry; (3) Business net worth, financial ratios,
working capital, capitalization, and access to credit and capital; (4) Current ability to obtain bonding; (5) A comparison
of the Participant’s business and financial profiles with profiles of non-8(a) BD businesses having the same primary
four-digit SIC code as the Participant; (6) Strength of management experience, capability, and expertise; and (7) Ability
to operate successfully without 8(a) contracts.” See 13 C.F. R. §124.302(b).

180 Examples of termination for good cause include submission of false information in the firm’s application materials;
failure to maintain eligibility for program participation; failure, for any reason, to maintain ownership, full-time day-to-
day management, and control by disadvantaged individuals; failure to obtain prior written approval from the SBA for
any changes in ownership or business structure, management or control; failure to disclose the extent to which
nondisadvantaged persons or firms participate in the firm’s management; failure by the concern or one or more of the
concern’s principals to maintain good character; failure to provide required financial statements, requested tax returns,
reports, updated business plans, information requested by the SBA’s Office of Inspector General, or other requested
information or data within 30 days of the request; cessation of business operations; failure to pursue competitive and
commercial business in accordance with its business plan, or failure in other ways to make reasonable efforts to
develop and achieve competitive viability; a pattern of inadequate performance of awarded Section 8(a) contracts;
failure to pay or repay significant financial obligations owed to the federal government; failure to obtain and keep
current any and all required permits, licenses, and charters needed to operate the business; excessive withdrawals that
are detrimental to the achievement of the targets, objectives, and goals contained in the participant’s business plan;
unauthorized use of SBA direct or guaranteed loan proceeds or violation of an SBA loan agreement; submission by or
on behalf of a participant of false information to the SBA; debarment, suspension, voluntary exclusion, or ineligibility
of the concern or its principals pursuant to 2 C.F.R. parts 180 and 2700 or FAR subpart 9.4 (48 C.F.R. part 9, subpart
9.4); conduct by the concern, or any of its principals, indicating a lack of business integrity; willful failure to comply
with applicable labor standards and obligations; material breach of any terms and conditions of the 8(a) participation
agreement; willful violation by a concern, or any of its principals, of any SBA regulation pertaining to material issues.
See 13 C.F.R. 124.303(a)(1-20) and (b).

Case SSR WI BUGLEBELC-CRW Document 105-2 Filed 09/27/24 Page 35 of 78
PagelD #: 3544
SBA's “8(a) Program”: Overview, History, and Current Issues

e expiration of the program term (maximum of nine years) without meeting the
SBA’s graduation requirements;'*! or

e graduation at the expiration of the program term.

7(j) Management and Technical Assistance Program

The SBA’s 7(j) Management and Technical Assistance Program assists 8(a) firms by providing
management and technical assistance training. The program’s origin dates back to 1970 when the
SBA issued regulations creating the 8(a) contracting program to “assist small concerns owned by
disadvantaged persons to become self-sufficient, viable businesses capable of competing
effectively in the market place.”!** Using its statutory authority under Section 7(j) of the Small
Business Act to provide management and technical assistance through contracts, grants, and
cooperative agreements to qualified service providers, the regulations specified that “the SBA
may provide technical and management assistance to assist in the performance of the
subcontracts.”!*

On October 24, 1978, P.L. 95-507, To amend the Small Business Act and the Small Business
Investment Act of 1958, provided the SBA explicit statutory authority to extend financial,
management, technical, and other services to socially and economically disadvantaged small
businesses. The SBA’s current regulations indicate that the 7(j) Management and Technical
Assistance Program will, “through its private sector service providers [deliver] a wide variety of
management and technical assistance to eligible individuals or concerns to meet their specific
needs, including: (a) counseling and training in the areas of financing, management, accounting,
bookkeeping, marketing, and operation of small business concerns; and (b) the identification and
development of new business opportunities.”'™* Eligible individuals and businesses include “8(a)
certified firms, small disadvantaged businesses, businesses operating in areas of high
unemployment or low income, or small businesses owned by low income individuals.”!*°

As shown in Table 2, 11,900 small businesses received 7(j) program assistance in FY2021. The
SBA has been marketing the 7(j) program to 8(a) firms in an effort increase awareness of the
program, to help those small businesses better prepare themselves for federal contracting
opportunities, and to retain 8(a) firms in the 8(a) program.'*¢

Table 2 also shows the amount of total administrative resources the SBA provides the 7(j)
program each year.

8113 CFR. §124.2.

182 13 C.F.R. §124.8-1(b) (1970); and Notes, “Minority Enterprise, Federal Contracting, and the SBA’s 8(a) Program:
A New Approach to an Old Problem,” Michigan Law Review, vol. 71, no. 2 (December 1972), pp. 377, 378.

183 13 CER. §124.8-1(d) (1970).

18413 C.F.R. §124.702.

185 SBA, FY2017 Congressional Budget Justification and FY2015 Annual Performance Report, p. 50, at
https://www.sba.gov/sites/default/files/FY 17-CBJ_FY15-APR.pdf, and SBA, F'Y2019 Congressional Budget
Justification and FY2017 Annual Performance Report, pp. 73, 74, at https://www.sba.gov/sites/default/files/
aboutsbaarticle/SBA_FY_19_508Final5_1-pdf.

186 SBA, FY¥2023 Congressional Budget Justification and FY2021 Annual Performance Report, p. 71, at

https://www.sba.gov/sites/default/files/2022-04/FY %202023%20SBA %20Congressional%20Budget%20Justification-
508-2022-0413%20updated pdf.

Case SSR CV SOOATBELC-CRW Document 105-2 Filed 09/27/24 Page 36 of 78
PagelD #: 3545
SBA’s “8(a) Program”; Overview, History, and Current Issues

Table 2. 7(j) Management and Technical Assistance Program Statistics,

FY2010-FY2021
Fiscal Year Number of Small Businesses Assisted Actual Total Administrative Resources
(Program Cost; $ in millions)
2021 11,900 $3.894
2020 9,941 $5.139
2019 8,032 $4.59]
2018 6,483 $4.098
2017 4,100 $3.08!
2016 5,245 $2.422
2015 5,360 $4.444
2014 4,104 $5.614
2013 3,913 $5.793
2012 3,272 $5.356
2011 3,550 $6.502
2010 3,480 $5.478

Source: U.S. Small Business Administration, FY2023 Congressional Budget Justification and FY2021 Annual
Performance Report, p. 21, https:/Avww.sba.gov/document/report-congressional-budget-justification-annual-
performance-report.

Note: The 7(j) program is funded through a combination of directed appropriations, typically in the language
accompanying annual appropriations measures, and the SBA’s salaries and expenses (operating) budget account.

All Small Mentor-Protégé Program’*’

On July 30, 1998, the SBA established the 8(a) Mentor-Protégé Program to “enhance the
capabilities” of 8(a) firms and “improve [their] ability to successfully compete for contracts.”!*
The program, which was merged into the SBA’s All Smal! Mentor-Protégé Program on
November 16, 2020, provided various forms of assistance, including technical or management
training, financial assistance in the form of equity investments or loans, subcontracts, trade
education, and assistance in performing prime contracts with the federal government through
joint venture agreements.!* The All Small Mentor-Protégé Program’s requirements and benefits
are essentially identical to those that were in place for the 8(a) Mentor-Protégé Program. The only
major difference is that the All Small Mentor-Protégé Program is available to all small businesses,
whereas the 8(a) Mentor-Protégé Program was limited to firms participating in the 8(a) program.
The SBA merged the programs in an effort to “eliminate confusion regarding perceived

187 For additional information and analysis of federal Mentor-Protégé Programs, see CRS Report R41722, Small
Business Mentor-Protégé Programs, by Robert Jay Dilger.

188 SBA, “Small Business Size Regulations; 8(a) Business Development/Small Disadvantaged Business Status
Determinations; Rules of Procedure Governing Cases Before the Office of Hearings and Appeals: Final Rule,” 63
Federal Register 35739, June 30, 1998.

189 13 C.F.R. §124.520(a). See also GAO, Small Business: SBA Could Better Focus Its 8(a) Program to Help Firms
Obtain Contracts, GAO/RCED-00-196, July 20, 2000, p. 14, at http://www.gao.gov/new.items/rc00196.pdf; and SBA,
“Consolidation of Mentor-Protégé Programs and Other Government Contracting Amendments,” 85 Federal Register
66146-66199, October 16, 2020.

Case FSW BGCLTBELC-CRW Document 105-2 Filed 09/27/24 Page 37 of 78
PagelD #: 3546
SBA‘s “8(a) Program”: Overview, History, and Current Issues

differences between the two programs, remove unnecessary duplication of functions within SBA,
and establish one, unified staff to better coordinate and process mentor-protégé applications.”!”°

The SBA’s Office of Business Development (BD) administers the All Small Mentor-Protégé
Program. This makes it somewhat different from agency-specific mentor-protégé programs,
which are generally administered by the agency’s Office of Small and Disadvantaged Business
Utilization (OSDBU) and may involve coordination with agency contracting offices.!”!

SBA regulations govern various aspects of the All Small Mentor-Protégé Program, including who
may qualify as a mentor or protégé, the content of written agreements between mentors and
protégés, and the SBA’s evaluation of the mentor-protégé relationship. For example, a protégé
must

e beasmall business with industry experience,

e have a proposed mentor prior to applying for the program,

e be organized for profit or as an agricultural cooperative, and

e have no more than two mentors in the business’s lifetime. !%”
A mentor must

e be organized for profit or as an agricultural cooperative,

e demonstrate that it is capable of carrying out its responsibilities to assist the
protégé,
e possess good character and a favorable financial position,

e not be on the federal list of debarred or suspended contractors or affiliated with
the protégé at the time of application or for any reason other than the mentor-
protégé agreement, and

e have no more than three protégés at a time.’”

The SBA must determine that the mentor-provided assistance will promote real developmental
gains for the protégé and not be merely a vehicle to receive federal small business set-asides and
sole source contracts.'™4

Protégé benefits include

e guidance on internal business management systems, accounting, marketing,
manufacturing, and strategic planning;

e financial assistance in the form of equity investments (of up to 40% of the
protégé’s business), loans, and bonding;

199 SBA, “Consolidation of Mentor-Protégé Programs and Other Government Contracting Amendments,” 84 Federal
Register 60846, November 8, 2019; and SBA, “Consolidation of Mentor-Protégé Programs and Other Government
Contracting Amendments,” 85 Federal Register 66146-66199, October 16, 2020.

191 GAO, Mentor-Protégé Programs Have Policies That Aim to Benefit Participants But Do Not Require
Postagreement Tracking, GAO-11-548R, June 15, 2011, p. 3, at http://www.gao.gov/new.items/d1 1548r.pdf. GAO
identified mentor-protégé programs in 13 federal agencies.

192 SBA, “All Small Mentor-Protégé program,” at https://www.sba.gov/federal-contracting/contracting-assistance-
programs/all-small-mentor-protege-program. For additional information concerning the All Small Mentor-Protégé
Program’s requirements, see 13 C.F.R. §125.9.

193 13 C.F.R. §125.9; and SBA, “All Small Mentor-Protégé program.”
194 SBA, “ATl Small Mentor-Protégé program.”

Case SST SUOATBELC-CRW Document 105-2 Filed 09/27/24 Page 38 of 78
PagelD #: 3547
SBA’s "8(a) Program”: Overview, History, and Current Issues

e assistance navigating federal contract bidding, acquisition, and performance
process;

e education about international trade, strategic planning, and finding markets;

e business development, including strategy and identifying contracting and
partnership opportunities; and

e general and administrative assistance, such as human resource sharing or security
clearance support.”

Mentor-protégé agreements may last for no more than six years, and any changes to the
agreement must be approved by the SBA in advance.

The primary benefit for mentors is that they may form joint ventures with their protégés that
qualify for small business set-aside contracts for which the small business is eligible, including
contracts set aside for 8(a) program participants, service-disabled veteran-owned small
businesses, women-owned small businesses, and HUBZone small businesses.'”°

As of March 1, 2022, there were 1,501 active All Small Mentor-Protégé Program mentor-protégé
agreements, including 733 agreements with 8(a) firms.!*’

Program Statistics

As shown in Table 3, the number of 8(a) firms assisted by SBA Business Opportunity Specialists
(BOS) generally declined from FY2005 through FY2014 and has generally increased in recent
years, reaching a high of 11,150 in FY2020. The number of federal contracts awarded to 8(a)
firms has also increased in recent years, as has the amount of federal contracts awarded with an
8(a) preference. The 8(a) program’s administrative costs have varied somewhat, with increases in
some years and decreases in others.

Table 3. 8(a) Program Statistics, Selected Years

Number of 8(a) Amount of

Small Businesses Federal SBA

Assisted by SBA Number of 8(a) Contracts Administrative

Business Firms Awarded Awarded with an Costs for 8(a)
Opportunity Federal 8(a) Preference program (§ in
Fiscal Year Specialists Contracts ($ in billions) millions)

2021 9,322 NA $19.964 $48.595
2020 11,150 NA $20.47 $50.002
2019 7,958 3,871 $18.558 $63.117
2018 6,789 3,709 $18.514 $71.456
2017 6,655 3,421 $17.369 $54.099
2016 8,010 NA $17.432 $47.28 |
2015 6,948 NA $16.747 $55.600
2014 6,660 NA $17.151 $53.824

195 13 C.F.R. §125.9; and SBA, “All Small Mentor-Protégé program.”
196 13 C.F.R. §125.9; and SBA, “All Small Mentor-Protégé program.”

197 SBA, “Active mentor-protégé agreements,” November 1, 2021, at https://www.sba.gov/document/support-active-
mentor-protege-agreements.

Case SSP GOOATBELC-CRW Document 105-2 Filed 09/27/24 Page 39 of 78
PagelD #: 3548
SBA’s "8(a) Program”: Overview, History, and Current Issues

Number of 8(a) Amount of
Smal! Businesses Federal SBA
Assisted by SBA Number of 8(a) Contracts Administrative
Business Firms Awarded Awarded with an Costs for 8(a)
Opportunity Federal 8(a) Preference program (§ in
Fiscal Year Specialists Contracts ($ in billions) millions)
2013 6,661 NA $14.689 $5 1.649
2012 7,388 NA $16.570 $60.855
2011 7,814 NA $17.397 — $58.274
2010 8,442 NA $18.718 $56.817
2005 9,458 NA $11.790 $31.387
2000 6,383 NA $5.780 $31.741
1995 6,002 2,755 $5.820 $32.668
1990 3,645 2,054 $3.830 $25.656
1987 2,938 1,743 $3.014 $20.788
1980 2,138 1,39) $1.600 $6.008
1977 1,482 1,044 $0.533 $3.916

Source: U.S. Congress, Senate Committee on Appropriations, Subcommittee on State, Justice, Commerce, the
Judiciary, and Related Agencies, Departments of State, Justice, and Commerce, the Judiciary, and Related Agencies
Appropriations for Fiscal Year 1978, Part 3-Justifications, hearing, 95*" Cong., [st sess., January 1, 1977 (Washington:
GPO, 1977), p. 889; U.S. Congress, Senate Committee on Appropriations, Subcommittee on State, Justice,
Commerce, the Judiciary, and Related Agencies, Departments of State, Justice, Commerce, the Judiciary, and Related
Agencies Appropriations for Fiscal Year 1979, Part 3-Justifications, hearing, 95t Cong., 2"4 sess., January I, 1978
(Washington: GPO, 1978), pp. 1154, 1155; U.S. Congress, House Committee on Appropriations, Subcommittee
on the Departments of State, Justice, and Commerce, the Judiciary, and Related Agencies, Departments of State,
Justice, and Commerce, the Judiciary, and Related Agencies Appropriations for 1980, Part 6, hearing, 96% Cong., Ist
sess., March 27, 1979 (Washington: GPO, 1979), pp. 606, 629; U.S. General Accounting Office, The SBA 8(a)
Procurement Program—A Promise Unfulfilled, CED-81-55, April 8, 1981, pp. 7, 28, at https://www.gao.gov/products/
ced-81-55; U.S. Congress, House Committee on Appropriations, Subcommittee on Commerce, Justice, State,
and the Judiciary, Departments of Commerce, Justice, and State, the Judiciary, and Related Agencies Appropriations for
1982, Part 7, hearing, 97 Cong,, Ist sess., March 16, 1981 (Washington: GPO, 1981), p. 74; U.S. General
Accounting Office, Small Business Administration: Status, Operations, and Views on the 8(a) Procurement Program,
GAO/RCED-88-{48BR, May 24, 1988, pp. 2, 11, 12, at https://www.gao.gov/products/rced-88- 1 48br; U.S.
Congress, House Committee on Appropriations, Subcommittee on the Departments of Commerce, Justice, and
State, the Judiciary, and Related Agencies, Departments of Commerce, Justice, and State, the Judiciary, and Related
Agencies Appropriations for Fiscal Year 1992, Part 6-Related Agencies, hearing, |02°¢ Cong., Ist sess., March 14,
1991 (Washington: GPO, 1991), p. 283; U.S. General Accounting Office, Small Business: Problems in Restructuring
SBA’s Minority Business Development Program, GAO/RCED-92-68, January 31, 1992, p. 30, at https://www.gao.gov/
products/rced-92-68; U.S. General Accounting Office, Small Business: Status of SBA’s 8(a) Minority Business
Development Program, GAOQ/RCED-96-259, September 18, 1996, pp. 2, 4, at https://www.gao.gow/products/t-
rced-96-259; U.S. Congress, House Committee on Appropriations, Subcommittee on the Departments of
Commerce, Justice, and State, the Judiciary, and Related Agencies, Departments of Commerce, Justice, and State, the
Judiciary, and Related Agencies Appropriations for Fiscal Year 1997, Part 4-Justification of the Budget Estimates, hearing,
104th Cong, 2"4 sess., January 1, 1996 (Washington: GPO, ! 996), p. 770; U.S. Congress, House Committee on
Small Business, Small Business: Opportunity Denied, Scorecard Ill, Democratic Committee Staff Report, 107 Cong.,
2nd sess. May 15, 2002, pp. 7, 11; U.S. Small Business Administration, FY2005 Congressional Performance Budget
Request, pp. 91, 95; U.S. General Services Administration, Sam.Gov, Data Bank, “FY2005 Small Business Goaling
Report,” at https://sam.gov/reports/awards/static; U.S. Small Business Administration, FY2017 Congressional Budget
Justification and FY2015 Annual Performance Report, pp. 47, 101, at https://www.sba.gov/sites/default/files/FY | 7-
CBI_FY15-APR.pdf; U.S. Smali Business Administration, FY2022 Congressional Budget Justification and FY2020
Annual Performance Report, p. 73; U.S. Small Business Administration, FY2023 Congressional Budget Justification and
FY2021 Annual Performance Report, pp. 21, 69, at https://www.sba.gov/document/report-congressional-budget-
justification-annual-performance-report; and U.S. General Services Administration, “Sam.Gov data bank: ad hoc

Case SSO OOSATBELC-CRW Document 105-2 Filed 09/27/24 Page 40 of 78
PagelD #: 3549
SBA's "8(a) Program”: Overview, History, and Current Issues

report,” July 26, 2021, at https://sam.gov/reports/awards/adhoc (contract award data with an 8(a) preference
generated for FY2010-FY2021).

As shown in Table 4, in FY2021, 8(a) firms were awarded $34.364 billion in federal contracts
(5.4% of all federal contracts awarded). Of that amount, these firms received $8.693 billion
through an 8(a) set-aside award, $11.271 billion through an 8(a) sole-source award, and $14.400
billion through either open competition or with another small business preference applied (e.g.,
small business set-aside and HUBZone set-aside or sole-source award) ($7.756 billion).

From FY2010 through FY2021, 8(a) firms were awarded, on average, approximately 5.46% of
the total amount of federal contracts awarded, ranging from a low of 5.09% of all federal
contracts in FY2011 to a high of 6.16% in FY2014.

During this period, 8(a) firms received about $348.326 billion in federal contracts: $97.335
billion through an 8(a) set-aside (27.9% of all 8(a) contracts), $116.242 billion through an 8(a)
sole-source award (33.4% of all 8(a) contracts), and $134.747 billion through either open
competition or with another small business preference applied (38.7% of all 8(a) contracts).

Table 4. Federal Contract Amount Awarded to 8(a) Firms,
by Award Type, FY2010-FY2021

($ in billions)

8(a) Total as a % of
Fiscal 8(a)Set- 8(a) Sole- Other 8(a) All Federal
Year Aside Source Awards 8(a) Total Contracts Awarded
2021 $8.693 $11.271 $14.400 $34.364 5.40% of $636.105
2020 $9.335 $11.136 $13.574 $34.045 5.11% of $665.733
2019 $8.625 $9.932 $11.859 $30.418 5.15% of $590.162
2018 $9.208 $9.306 $1 1.633 $30.147 5.43% of $555.402
2017 $8.67 $8.697 $10.623 $27.992 5.48% of $510.668
2016 $8.60! $8.832 $10.290 $27.722 5.83% of $475.286
2015 $8.174 $8.573 $9.74 $26.488 6.02% of $440.205
2014 $8.002 $9.149 $10.358 $27.509 6.16% of $446.220
2013 $6.875 $7.813 $9.897 $24.585 5.31% of $463.425
2012 $7.158 $9.41] $12.055 $28.625 5.50% of $520.787
2011 $6.892 $10.505 $10.09 1 $27.487 5.09% of $539.775
2010 $7.10] $11.617 $10.226 $28.944 5.36% of $540.12
Total $97.335 $116.242 $134.747 $348.326 5.46% of $6,383.889

Source: Data generated using U.S. General Services Administration, “Sam.Gov data bank: ad hoc report,” July
26, 2021, at https://sam.gov/reports/awards/adhoc (for FY2021).

Notes: Other 8(a) awards include contracts awarded through open competition or with other small business
preferences applied (e.g., small business set-aside and HUBZone set-aside or sole-source award). The Federal
Procurement Data Systenr(FPDS), which is accessed through Sam.Gov, is the most comprehensive data system
available for federal contract awards and is updated continuously.

Case FSC CSOSA TEBELC-CRW Document 105-2 Filed 09/27/24 Page 41 of 78

PagelD #: 3550
SBA’s "8(a) Program”: Overview, History, and Current Issues

Current Issues

The SBA faces several challenges concerning the 8(a) Program, including oversight of 8(a)
participant’s continuing eligibility, disagreements related to the program’s financial thresholds
used to determine economic disadvantage, and concerns related to the performance measures
used to evaluate the program’s success.

Oversight of 8(a) Program Participant’s Continuing Eligibility

Two SBA offices, the Office of Government Contracting and Business Development (GCBD) and
the Office of Field Operations (OFO), share responsibility for overseeing the 8(a) Program.
Within GCBD, BOSs assigned to the Office of Certification and Eligibility (OCE) evaluate all
8(a) program applications and conduct continuing eligibility reviews of “high-risk” or “complex”
8(a) firms, including those firms with total 8(a) revenue exceeding $10 million, are part of a joint
venture, are party to a mentor-protégé agreement, or are an entity-owned firm such as an Alaska
Native Corporation, and those that are requested from district office field staff.!°* However, an
SBA OIG audit found that the OCE reviewed the continuing eligibility of less than half of the
firms identified as high risk in FY2016 (352 of 859 firms, or 41%) and in FY2017 (350 of 798
firms, or 44%).!%

Within OFO, BOSs in each of the SBA’s 68 district offices work directly with their assigned 8(a)
firms and, among other duties, conduct annual reviews of those firms’ progress toward achieving
the targets, objectives, and goals set forth in their business development plan. According to the
8(a) Program’s Standard Operating Procedures (SOP) manual, BOSs in each of the SBA’s 68
district offices conduct continuing eligibility reviews for all 8(a) firms not reviewed by the GCBD
to ensure their compliance with all continuing eligibility requirements during the annual review
process.”°° However, in practice, the SBA OIG’s audit found that district office BOSs assess
continuing eligibility as part of the annual review process for all 8(a) firms, including those
deemed to be high risk or complex.”°!

The SBA is also required to review the participant’s continuing eligibility “upon receipt of
specific and credible information alleging that a participant no longer meets the eligibility
requirements.””°? Generally, the SBA receives this information from the SBA OIG’s Hotline.”
However, the SBA OIG’s audit found that the OCE did not conduct continuing eligibility reviews
for any of the 44 OIG Hotline complaints that were referred to the GCBD from October 1, 2015,
through May 4, 2017. In addition, GCBD did not inform district office BOSs of complaints filed

198 SBA OIG, Improvements Needed in SBA’s Oversight of 8(a) Continuing Eligibility Processes, Report Number 18-
22, September 7, 2018, pp. 1, 2, at https://www.sba.gov/sites/default/files/oig/SBA-OIG-Report_18-22.pdf; and SBA,
Office of Business Development, “Standard Operating Procedure for the Office of Business Development,” SOP 80 05
5, effective September 23, 2016, p. 212, at https://www.sba.gov/sites/default/files/sops/SOP_80_05_5_.pdf.

199 SBA OIG, Improvements Needed in SBA's Oversight of 8(a) Continuing Eligibility Processes, Report Number 18-
22, September 7, 2018, p. 4, at https://www.sba.gov/sites/default/files/oig/SBA-OIG-Report_18-22.pdf.

200 SBA, Office of Business Development, “Standard Operating Procedure for the Office of Business Development,”
SOP 80 05 5, effective September 23, 2016, p. 212, at https://www.sba.gov/sites/default/files/sops/SOP_80_05_5_.pdf.

201 SBA OIG, Improvements Needed in SBA’s Oversight of 8(a) Continuing Eligibility Processes, Report Number 18-
22, September 7, 2018, p. 2, at https://www.sba.govw/sites/default/files/oig/SBA-OIG-Report_18-22.pdf.
202 SBA OIG, Improvements Needed in SBA’s Oversight of 8(a) Continuing Eligibility Processes, p. 2.

203 The SBA OIG’s Hotline is a web page that provides visitors the option of filing a written complaint by clicking on a
link on the web page or by sending the complaint to the SBA OIG by mail or courier. The Hotline also provides a toll-
free telephone number (800) 767-0385. See SBA, OIG, “Hotline,” at https://www.sba.gov/oig/hotline

Case SSR AV SGGATBELC-CRW Document 105-2 Filed 09/27/24 Page 42 of 78
PagelD #: 3551
SBA's “8(a) Program”: Overview, History, and Current Issues

against firms within their purview. As a result, district office BOSs took no action regarding the
complaints.“

The SBA OIG’s audit reviewed the continuing eligibility of two samples of 8(a) firms to
determine whether the SBA’s continuing eligibility review process “consistently identify
ineligible firms enrolled in the program”: the 15 individually owned 8(a) firms with the highest
set-aside dollars in FY2016 that were scheduled to have continuing eligibility reviews within the
first half of FY2017 and 10 individually owned 8(a) firms that were identified as being ineligible
in Hotline complaints received between October 1, 2015, and May 4, 2017.7

The SBA OIG found that “despite OCE and district offices having shared responsibility for
assessing 8(a) firms’ continuing eligibility, they did not detect that 4 of the 15 individually-owned
8(a) firms we reviewed were ineligible for the 8(a) Program,” and “our review of the 10 firms
referred by the OIG Hotline revealed that they were all ineligible for the 8(a) program, based on
issues such as excessive income and lack of good character.” In addition, the SBA OIG found
that the SBA had identified eligibility concerns through its annual reviews and continuing
eligibility reviews for 6 of the 15 individually owned 8(a) firms the OIG had reviewed, but “did
not take timely action to remove these firms from the 8(a) Program or document resolution of
eligibility issues.”

The SBA OIG concluded that 20 of the 25 firms it reviewed should have been removed from the
8(a) Program and made 11 recommendations “to improve the overall management and
effectiveness” of the 8(a) Program’s continuing eligibility review process.2°? SBA management
agreed with seven of the recommendations, partially agreed to the other four recommendations,

204 SBA OIG, Improvements Needed in SBA’s Oversight of 8(a) Continuing Eligibility Processes, Report Number 18-
22, September 7, 2018, p. 9, at https://www.sba.gov/sites/default/files/oig/SBA-OIG-Report_18-22.pdf.

205 SBA OIG, Improvements Needed in SBA’s Oversight of 8(a) Continuing Eligibility Processes, p. 14.
206 SBA OIG, Improvements Needed in SBA’s Oversight of 8(a) Continuing Eligibility Processes, pp. 4, 9.
207 SBA OIG, Improvements Needed in SBA’s Oversight of 8(a) Continuing Eligibility Processes, p.7.

208 The recommendations are (1) Coordinate with the Associate Administrator for the Office of Field Operations to
improve the transfer of continuing eligibility review documents for high risk firms from the district offices to the Office
of Certification and Eligibility; (2) Revise its current process to ensure that it accurately identifies all high risk firms to
receive continuing eligibility reviews from the Office of Certification and Eligibility; (3) Establish and implement clear
policies and procedures for evaluating 8(a) continuing eligibility, including ensuring that district offices use
standardized analysis tools that conform with 8(a) continuing eligibility requirements found in 13 C.F.R. 124, and train
employees on these procedures; (4) Develop and implement a comprehensive oversight plan to ensure completion of
continuing eligibility reviews of all 8(a) firms, monitor the quality of continuing eligibility reviews, and eliminate
duplication between the Office of Certification and Eligibility and the district offices; (5) Conduct continuing eligibility
reviews for the firms that we identified as ineligible that are still active in the 8(a) program, and take timely action to
remove firms found to be ineligible; (6) Develop and implement a centralized process to track and document all
adverse actions and voluntary withdrawals from the 8(a) program, from recommendation through resolution; (7)
Establish and implement clear policies and procedures that include timelines for sending Notices of Intent to Terminate
and to Graduate Early firms after eligibility issues are first identified; (8) Conduct continuing eligibility reviews for the
firms we identified as ineligible that are still active in the 8(a) program, and take timely action to remove firms found to
be ineligible; (9) Establish and implement clear policies and detailed procedures, consistent with 13 C.F.R. 124.112(c),
to timely and effectively review and address complaints regarding 8(a) continuing eligibility, including communicating
the content of the complaint to the district office, and train employees implementing the 8(a) program on the updated
procedures; (10) Develop a robust system for tracking complaints that are received regarding firms’ continuing
eligibility for the 8(a) program, and tracking the actions taken to address the complaints; and (11) Conduct continuing
eligibility reviews, including assessing the allegations in the 77 OIG Hotline complaints, for the firms that were the
subject of the complaints that are still active in the 8(a) program, and for which the complainant provided specific and
credible information, and, if necessary, take appropriate action to remove ineligible firms from the 8(a) program. See
SBA OIG, Improvements Needed in SBA’s Oversight of 8(a) Continuing Eligibility Processes, pp. 5, 6, 8, 11-13.

Cass POST EBELC-CRW Document 105-2 Filed 09/27/24 Page 43 of 78
PagelD #: 3552
SBA's “8(a) Program”: Overview, History, and Current Issues

and indicated that it would conduct continuing eligibility reviews for the firms identified in the
SBA OIG’s audit as ineligible and take appropriate action.”

Financial Thresholds for Economically Disadvantaged Status

Section 8(a)(6)(A) of the Small Business Act defines economically disadvantaged individuals as
“socially disadvantaged individuals whose ability to compete in the free enterprise system has
been impaired due to diminished capital and credit opportunities as compared to others in the
same business area who are not socially disadvantaged.” In determining the degree of diminished
credit and capital opportunities, Section 8(a)(6)(A) authorizes the SBA to “consider, but not be
limited to, the assets and net worth of such socially disadvantaged individual.”

The SBA uses a three-part test for determining economic disadvantage relating to the degree of
applicant’s diminished credit and capital opportunities: the applicant’s net worth, personal
income, and total assets. As mentioned, the SBA began transitioning to the use of objective
monetary thresholds to assess these personal financial characteristics in 1989. At that time, the
SBA established by regulation that the applicant’s personal net worth had to be less than
$250,000 at the time of entry into the program and less than $750,000 for continuing eligibility.?!°

In 2011, the SBA added monetary thresholds for the applicant’s personal income (generally
camnot exceed $250,000, averaged over the previous three years, at the time of application, and
$350,000, averaged over the previous three years, for continuing eligibility) and total assets
(cannot exceed $4 million at entry and $6 million for continued eligibility).?"

On May 11, 2020, the SBA set the following monetary thresholds, which are currently in effect:

e net worth of less than $750,000 (excluding ownership interest in the applicant’s
business, equity in their primary personal residence, and funds invested in an
official retirement account);

e generally no more than $350,000 in average adjusted gross income over the
preceding three years; and

e nomore than $6 million in assets (excluding funds invested in an official
retirement account).”!*

Prior to the SBA’s decision to eliminate the $250,000 personal net worth threshold at the time of
entry into the 8(a) program and increase the thresholds for personal income and total assets, some
Members of Congress had argued that the 8(a) program’s financial thresholds should be increased
or periodically adjusted for inflation. During the 112" Congress, H.R. 3754, the Not Too Small to
Succeed in Business Act of 2011, would have increased the net worth thresholds to $750,000 for
8(a) Program admission and $2.25 million for continued participation after admission. H.R. 2424,
the Expanding Opportunities for Main Street Act of 2011, would have amended Section
8(a)(6)(A) by inserting after “disadvantaged individual” the following: “For purposes of this

209 SBA OIG, Improvements Needed in SBA’s Oversight of 8(a) Continuing Eligibility Processes, pp. 11-13. SBA
management concurred with recommendations (2), (3), (6), (7), (9), (10), and (11) and partially concurred with
recommendations (1), (4), (5), and (8) listed above.

210 SBA, “Minority Small Business and Capital Ownership Development Program: Final Rule,” 54 Federal Register
34692, August 21, 1989 (codified, as amended, at 13 C.F.R. §124.104(c)).

211 SBA, “Small Business Size Regulations; 8(a) Business Development/Small Disadvantaged Business Status
Determinations,” 76 Federal Register 8229-8231, February 11, 2011.

212 SBA, “Women-Owned Small Business and Economically Disadvantaged Women-Owned Small Business
Certification,” 85 Federal Register 27650-27665, May 11, 2020.

Case PSB LAV GISATSBELC-CRW Document 105-2 Filed 09/27/24 Page 44 of 78
PagelD #: 3553
SBA’s "8(a) Program”: Overview, History, and Current Issues

section, an individual having a net worth of more than $1,500,000 is not economically
disadvantaged.” Legislation with provisions similar to those in H.R. 2424 was also introduced
during the 113" Congress (H.R. 2550, the Minority Small Business Enhancement Act of 2013,
and H.R. 2551, the Expanding Opportunities for Main Street Act of 2013).

Advocates for increasing the program’s personal net worth threshold noted that the Department of
Transportation (DOT) increased the personal net worth threshold for determining eligibility for
the Disadvantaged Business Enterprise (DBE) program in 2011 to account for inflation. The DBE
threshold was increased from $750,000 (which was set by DOT in 1999, and was based on the
8(a) Program’s $750,000 threshold) to $1.32 million.”/? DBE firms, which are provided special
consideration in the awarding of federal transportation contracts, argued that the limit penalized
success and imposed “a glass ceiling on the growth and competitiveness of DBE firms.”!*
Opponents argued that the $1.32 million limit was too high and would include business owners
who were not truly disadvantaged and that raising the limit would favor larger, established, and
richer DBEs at the expense of smaller, start-up firms because the larger companies would be able
to stay in the program longer.”

More recently, the SBA’s OIG has argued that the SBA’s decision to exclude equity in a primary
residence from an individual’s net worth calculation “serves as a loophole allowing affluent
business owners to shelter wealth in personal real estate, while taking advantage of a program
designed to help the socially and economically disadvantaged.””'*

Measuring Program Success

Pursuant to P.L. 100-656, the Business Opportunity Development Reform Act of 1988, the SBA
is required to “develop and implement a process for the systematic collection of data on the
operations of the [8(a)] Program” and to report this data, not later than April 30 of each year, to
Congress.”!’ The act requires the report to include the following:

213 UJ.S, Department of Transportation (DOT), Office of the Secretary, “Disadvantaged Business Enterprise: Program
Improvements,” 75 Federal Register 25817, May 10, 2010; and DOT, Office of the Secretary, “Disadvantaged
Business Enterprise: Program Improvements,” 76 Federal Register 5085, January 8, 2011 (codified at 49 C.F.R.
§26.67(a)(2)(i)).

The DBE program’s personal net worth inflation adjustment in 2011 used 1989 as the base year, even though DOT
adopted the personal net worth limit in 1999. DOT argued that it was appropriate to use 1989 as the base year because
the SBA’s standard, which DOT used, was adopted in 1989 and had not been adjusted for inflation at any time. See
DOT, Office of the Secretary, “Disadvantaged Business Enterprise: Program Improvements,” 76 Federal Register
5086, January 8, 2011.

214 U.S. Department of Transportation, Office of the Secretary, “Disadvantaged Business Enterprise: Program
Improvements,” 75 Federal Register 25817, May 10, 2010.... DBE regulations require state and local transportation
agencies that receive DOT financial assistance, to establish goals for the participation of DBEs. Each DOT-assisted
State and local transportation agency is required to establish annual DBE goals, and review the scopes of anticipated
large prime contracts throughout the year and establish contract-specific DBE subcontracting goais.... There has been,
since 1983, a statutory provision requiring DOT to ensure that at least 10% of the funds authorized for the highway and
transit financial assistance programs be expended with DBEs. DOT has established a single DBE goal, encompassing
both firms owned by women and minority group members. See U.S. Department of Transportation, “Disadvantaged
Business Enterprise (DBE) Program,” at https://www.transportation. gov/civil-rights/disadvantaged-business-enterprise.

215 U.S. Department of Transportation, Office of the Secretary, “Disadvantaged Business Enterprise: Program
Improvements,” 76 Federal Register 5085, January 8, 2011.

216 SBA, Office of Inspector General (SBA OIG), Report on the Most Serious Management and Performance
Challenges in Fiscal Year 2017, Report Number 17-02, October 14, 2016, p. 12, at https://www.sba. gov/sites/default/
files/oig/FY_2017_- Management Challenges - 10 14 16 _7.pdf.

217 PL. 100-656, the Business Opportunity Development Reform Act of 1988, §408. Data Collection, 102 Stat. 3877,
15 U.S.C. §636(j)16(A)(BXC).

Case SAI GGSATEBELC-CRW Document 105-2 Filed 09/27/24 Page 45 of 78
PagelD #: 3554
SBA’s "8(a) Program”: Overview, History, and Current Issues

e The average personal net worth of individuals who own and control concerns that
were initially certified for program participation during the immediately
preceding fiscal year and the dollar distribution of each of these individual’s net
worth, at $50,000 increments.

e A description and estimate of the benefits and costs that have accrued to the
economy and the federal government in the immediately preceding fiscal year
due to the operations of those business concerns that were performing 8(a)
contracts.

e Acompilation and evaluation of those business concerns that have exited the
program during the immediately preceding three fiscal years, including the
number of concerns actively engaged in business operations, those that have
ceased or substantially curtailed operations, including the reasons for such
actions, and those concerns that have been acquired by other firms or
organizations owned and controlled by other than socially and economically
disadvantaged individuals. For those businesses that have continued operations
after they exited from the program, the SBA Administrator is required to
separately detail the benefits and costs that have accrued to the economy during
the immediately preceding fiscal year due to their operations.

e A listing of all program participants during the preceding fiscal year identifying,
by state and region, for each firm: the concern’s name, the race or ethnicity, and
gender of the disadvantaged owners, the dollar value of all contracts received in
the preceding year, the dollar amount of advance payments received by each
concern pursuant to contracts awarded under Section 8(a), and a description
including (if appropriate) an estimate of the dollar value of all benefits and loans
received during such year.

e The total dollar value of 8(a) contracts and options awarded during the preceding
fiscal year and such amount expressed as a percentage of total sales of all firms
participating in the program during such year; and of firms in each of the nine
years of program participation.

e A description of additional resources or program authorities required to provide
the types of services needed over the next two-year period to service the expected
portfolio of 8(a) certified firms.

e The total dollar value of 8(a) contracts and options, at such dollar increments as
the SBA Administrator deems appropriate, for each four digit standard industrial
classification code under which such contracts and options were classified.

The SBA’s FY2015 report (the latest one available) indicated that 5,399 businesses participated
in the 8(a) program in FY2015 and “contributed an estimated 116,006 jobs to the Nation’s
economy,” and that 2,381 of the 2,453 firms that had exited and completed the program during
the three preceding fiscal years (October 1, 2011 through September 30, 2014) were still active,
48 had ceased operations, and 24 did not have data available for determining their status as
reported by Dun and Bradstreet. Of the active firms, “two were acquired by another firm or
organization owned and controlled by other than socially and economically disadvantage[d]
individuals and 34 firms were substantially curtailed.”?!* In addition, the 2,381 still active firms

218 SBA, Office of Business Development, “FY2015 408 Report to the Congress,” p. 4, at https://www.sba.gov/
document/report-408-report-us-congress-minority-small-business-capital-ownership-development.

Case PSA GISAEBELC-CRW Document 105-2 Filed 09/27/24 Page 46 of 78
PagelD #: 3555
SBA’s "8(a) Program”: Overview, History, and Current Issues

reported FY2015 revenue of approximately $5.21 billion and provided jobs for approximately
77,753 persons.?”?

In 2000, GAO recommended that the SBA augment its data collection activities by periodically
surveying a nationwide sample of 8(a) firms. GAO argued that a survey would improve the
SBA’s ability to determine how well the program is working, further arguing that “at a minimum,
the survey should assess whether SBA assistance is meeting the firms’ expectations and needs.”?”°

Previously, the SBA contracted with a third party to conduct an annual client satisfaction survey
of small businesses that received management training and technical assistance from Small
Business Development Centers, SCORE, and Women Business Centers. The survey’s objective
was to measure these programs’ impact “on the creation, financial development and survival of
client firms.””?! The wording of many of that survey’s questions, which focused on client
satisfaction and the programs’ impact on client behavior and economic success, is available on

the SBA’s website and could prove useful should the SBA decide to conduct a nationwide survey
of 8(a) firms.”

In arelated development, on February 22, 2022, the SBA OIG issued an audit of the 8(a) Program
focusing on the SBA’s measurement and monitoring of 8(a) participants’ progress in achieving
their individual business development goals and on the SBA’s efforts to ensure that 8(a)
participants receive business assistance necessary to meet their individual goals.

The OIG found that the SBA “did not consistently monitor 8(a) firms’ progress in achieving their
individual business development goals,” “did not establish outcome-based performance measures
for the program or its leaders to determine the success of the program,” and that 15 of the 40
firms that the OIG reviewed “did not have approved business plans that identified the firms’
goals.””3 For example, instead of relying on “performance measures that reflected the program’s
business development objectives and intended outcomes in order to understand program effects
on small businesses,” the SBA “reported only on the 1) percentage of annual reviews completed
and 2) the number of small businesses assisted by the 8(a) program.”***

The OIG provided eight recommendations for improving SBA’s oversight of 8(a) participants and
for measuring the program’s success. The SBA agreed with five of the recommendations,
including the recommendation “to establish outcome-based performance goals and measurements
to assess whether the program achieved business development objectives.””° The SBA partially

219 SBA, Office of Business Development, “FY2015 408 Report to the Congress,” p. 4.

220 GAO, Small Business: SBA Could Better Focus Its 8(a) Program to Help Firms Obtain Contracts, GAO-RCED-00-
196, July 20, 2000, p. 23, at http://www.gao.gov/assets/240/230496.pdf.

221 SBA, “Impact Study of Entrepreneurial Dynamics: Office of Entrepreneurial Development Resource Partners’ Face-
to-Face Counseling,” Concentrance Consulting Group, Inc., September 2013, p. 1, at https://www.sba.gov/sites/default/
files/files/OED_ImpactReport_09302013_Final pdf.

222 Concentrance Consulting Group, Inc, “Impact Study of Entrepreneurial Dynamics: Office of Entrepreneurial
Development Resource Partners; Face-to-Face Counseling,” September 2013, at https://www.sba.gov/sites/default/
files/2020-11/Impact_Study_of Entrepreneurial Development_Resources_2013_09.pdf. Previous reports can be found
at SBA, “Entrepreneurial Development Impact Report,” at https://www.sba.gov/document/report—-entrepreneurial-
development-impact-report.

223 SBA, OIG, SBA Business Development Assistance to 8(a) Program Participants, Report No. 22-08, February 14,
2022, p. 5, at https://www.sba.gov/document/report-22-08-sbas-business-development-assistance-8a-program-
participants.

224 SBA, OIG, SBA Business Development Assistance to 8(a) Program Participants, Report No. 22-08, February 14,
2022, p. 9.

225 SBA, OIG, SBA Business Development Assistance to 8(a) Program Participants, Report No. 22-08, February 14,

Case SSSA SGGATELC-CRW Document 105-2 Filed 09/27/24 Page 47 of 78
PagelD #: 3556
SBA's “8(a) Program”: Overview, History, and Current Issues

agreed with two of the recommendations, and disagree with a recommendation to use outcome-
based, data-driven reviews of program leaders’ personal performance plans.””°

2022, p. 10.

226 SBA, OIG, SBA Business Development Assistance to 8(a) Program Participants, Report No. 22-08, February 14,
2022, pp. 9-13.

Case SSSI SGOATBELC-CRW Document 105-2 Filed 09/27/24 Page 48 of 78
PagelD #: 3557
SBA’s “8(a) Program”; Overview, History, and Current Issues

Appendix. Comparison of the Requirements
Pertaining to Different Types of 8(a) Firms

Table A-!. Requirements for Different Types of 8(a) Firms

8(a) Firms
Category Generally Tribally Owned ANC-Owned NHO-Owned CDC-Owned
“Small” Independently —_ Independently Independently Independently Independently
owned and owned and owned and owned and owned and
operated; not operated; not operated; not operated; not operated; not
dominant in dominant in field of | dominantin field of | dominant in dominant in
field of operation; meets operation; meets field of field of
operation; size standards (15 size standards (15 operation; operation;
meets size U.S.C. §631 (a)) U.S.C. §631 (a)) meets size meets size
standards (15 Affiliations based on _—Affiliations based on —_—Standards (15 standards (15
U.S.C. §631(a)) the tribe or tribal the ANC or U.S.C. §631(a)) U.S.C. §63 1 (a))
All affiliations ownership, among ownership by the Affiliations Affiliations
count (13 others, do not count ANC, among others, based on the based on the
CAFR. (5 US.C. do not count (15 NHO or CDC or
§121.103) §636()(10)q)(id); 13 U.S.C. ownership by ownership by
C.F.R. §636(j)(10)q)(i); 13. = the NHO, the CDC,
§124.109(c)(2)) CAFR. among others, among others,
§124.109(c)(2)) do not count do not count
(15 U.S.C. (15 U.S.C.
§636())(1O)Q){ii); §636()(10) 9) (ii);
13 C.F.R. 13 CFR.
§124.1 10(c)) §124.111(c))
“Business” For-profit For-profit entity For-profit entity For-profit entity For-profit entity
entity with its with its place of with its place of with its place of | with its place of
place of business in the business in the business in the business in the

“Unconditionally

business in the
United States;
operates
primarily
within the
United States
or makes a
significant
contribution
to the US.
economy (13
CFR.
§121.105(a)

(1))

At least 51%

United States;
operates primarily
within the United
States or makes a
significant
contribution to the
US. economy (13
C.F.R.

§121.105(a)(1))

At least 51% tribally

United States;
operates primarily
within the United
States or makes a
significant
contribution to the
U.S. economy (13
C.F.R.
§121.105(a)(1))
Although ANC may
be nonprofit, ANC-
owned firms must
be for-profit to be
eligible for 8(a)
Program (13 C.F.R.
§124.109(a)(3))

At least 51% ANC-

United States;
operates
primarily within
the United
States or makes
a significant
contribution to
the US.
economy (13
C.F.R.

§121.105(a)(1))

At least 51%

United States;
operates
primarily within
the United
States or makes
a significant
contribution to
the US.
economy (13
CER.

§121.105(a)(1))

At least 51%

owned and unconditionally owned (13 CFR. owned (13 C.F.R. NHO-owned CDC-owned
controlled” and directly  §124.109(b)) §124.109(a)(3)) (13 CER. (13 CER.
owned by one = Management may be Management may be §124.110(a)) §124.1 1 I(a))
or more conducted by conducted by NHO must Management
disadvantaged individuals who are _individuals who are ~—_—control the and daily
individuals not members of the _ not Alaska Natives board of business
who are U.S. tribe provided that provided that the directors, but operations to
citizens (13 the SBA determines | SBA determines that _ individual who be conducted
Congressiagnal Re; ch Servi . 43
Case FSOAVGHOATDELC-CRW Document 105-2 Filed 09/27/24 Page 49 of 78

PagelD #: 3558
SBA’s "8(a) Program”: Overview, History, and Current Issues

PagelD #: 3559

8(a) Firms
Category Generally Tribally Owned ANC-Owned NHO-Owned CDC-Owned
CER. that such such management is _is responsible by individuals
§124.105) management is necessary to assist for day-to-day having
Management necessary to assist the business’s management managerial
and daily the business’s development, among need not experience of
business development, among _ other things (13 establish an extent and
operations other things (13 CARR. personal social complexity
must be CFR. §124.109(c)(4)(B)) and economic needed to run
conducted by §124.109(c)(4)(B)) disadvantage the firm (13
one or more (13 CFR. CFR.
disadvantaged §124.110(d)) §124.111(b))
individuals (13
CFR.
§124.106)
“Socially Members of Indian tribes ANCs presumed to NHOs CDCs
disadvantaged designated presumed to be be socially presumed to be — presumed to be
individual” groups socially disadvantaged (43 socially socially
presumed to disadvantaged (43 U.S.C. §1626(e); 15 disadvantaged disadvantaged
be socially U.S.C. §1626(e); 15 U.S.C. (43 U.S.C. (42 U.S.C.
disadvantaged; U.S.C. §637(a)(4)(A)-(B); §1626(e); 15 §9815(a)(2))
other §637(a)(4)(A)-(B); 13 C.FR. U.S.C.
individuals may 13 C.F.R. §124.109(b)(1)) §637(a)(4)(A)-
prove personal §124.109(b)(1)) (B); [3 C.F.R.
disadvantage §124.109(b)
bya ()
preponderance
of the
evidence (13
CFR.
§124.103)
“Economically Financial Tribe must prove Deemed to be NHO must CDCs
disadvantaged information economic economically prove economic —_ presumed to be
individual” (e.g., personal —_ disadvantage the disadvantaged (43 disadvantage economically
income, first time a tribally U.S.C. §1626(e); 13 the first time a disadvantaged
personal net owned firm applies C.F.R. NHO owned (42 U.S.C.
worth, fair to the 8(a) Program; §12.4.109(a)(2)) firm applies to §98 1 5(a)(2))
market value thereafter, a tribe the 8(a)
of assets) must need only prove Program;
show economic thereafter, a
diminished disadvantage at the NHO need only
financial capital request of the SBA prove economic
and credit (13 CFR. disadvantage at
opportunities §124.109(b)(2)) the request of
(13 CFR. the SBA
§124.104) (13 CFR.
§124.1 10(c)
Congressiqnal Re envi . 44
Case FSO CVGOSATDELC-CRW Document 105-2 Filed 09/27/24 Page 50 of 78
SBA’s “8(a) Program”: Overview, History, and Current Issues

8(a) Firms
Category Generally Tribally Owned ANC-Owned NHO-Owned CDC-Owned
“Good Criminal Criminal conduct or Criminal conduct or — Criminal Criminal
character” conduct or violations of SBA violations of SBA conduct or conduct or
violations of regulations may regulations may violations of violations of
SBA result in denial of result in denial of SBA regulations SBA regulations
regulations participation; cannot participation; cannot — may result in may result in
may result in be debarred or be debarred or denial of denial of
denial of suspended from suspended from participation; participation;
participation; government government cannot be cannot be
cannot be contracting (13 contracting (13 debarred or debarred or
debarred or C.F.R. §124.108(a)) C.F.R. §124.108(a)) suspended from suspended from
suspended Requirement applies Requirement applies | 8Overnment government
from only to officers, only to officers, contracting (13 contracting (13
government directors, and directors, and CFR. CFR.
contracting shareholders owning shareholders owning §!24.108(a)) §124.108(a))
(13 CER. more than a 20% more than a 20% Regulations do Requirements
§124. 108(a)) interest in the interest in the not address to apply to the
business, not to all business, not to all whom firm and “all its
members of the ANC shareholders requirements principals” (13
tribe (13 C.F.R. (13 C.F.R. apply? C.F.R.
§124.109(c)(7)(B)(ii))  §12.4.109(c)(7)(B) (ii) §124.1 1 1(g))
“Demonstrated — Firm must Firm must have Firm must have Firm must have — Firm must have
potential for generally have _— been in business in been in business in been in business _ been in business
success” been in primary industry for primary industry for —_in primary in primary
business in at least two full at least two full industry for at industry for at
primary years prior to date years prior to date least two full least two fuil
industry for at of application to 8(a) of application to 8(a) _-years prior to years prior to
least two full Program; individuals Program; individuals date of date of
years prior to} who will manage the who will manage the —_ application to application to
date of firm must have firm must have 8(a) Program; 8(a) Program;
application to substantial substantial individuals who _ individuals who
8(a) Program experience, and firm experience, and firm will manage the _ will manage the
unless SBA must have had must have had firm must have _firm must have
grants a successful successful substantial substantial
waiver; waiver —_ performance and performance and experience, and experience, and
based on 5 adequate capital; or adequate capital; or — firm musthave _ firm must have
conditions > Tribe must have ANC must have had successful had successful
(13 C-F.R. made written made written performance performance
§124.107) commitment to commitment to and adequate and adequate
support the firm and support the firm and capital; or NHO capital; or CDC
have the financial have the financial must have made must have made
ability to do so ability to do so written written
(13 CFR. (13 CR. commitment to commitment to
§124.109(c)(6)(i)-(iii)  §124.109(c)(6)(i)-(iii)_ SUPPort the support the
firm and have firm and have
the financial the financial
ability to do so _ ability to do so
(13 CFR. (13 C.F.R.
§124.110 (g)(1)-  § 124.111 ((1)-
@) (3)
Sole-source With Can be made with Can be made with Can be made With contracts
awards contracts contracts valued at contracts valued at with valued at over
valued at over — over $4.5 million over $4.5 million Department of — $4.5 million
$4.5 million ($7.5 million for ($7.5 million for Defense ($7.5 million for
($7.5 million manufacturing manufacturing contracts manufacturing
for contracts) even if contracts) even if valued at over contracts), sole-
manufacturing there isa reasonable there isareasonable $4.5 million source awards
Congressianal Re end . 45
Case FSREVCEGATBELC-CRW Document 105-2 Filed 09/27/24 Page 51 of 78

PagelD #: 3560
SBA's “8(a) Program”: Overview, History, and Current Issues

8(a) Firms
Category Generally Tribally Owned ANC-Owned NHO-Owned CDC-Owned
contracts), expectation that at expectation that at ($7.5 million for permissible only
sole-source least two eligible least two eligible manufacturing if there is nota
awards 8(a) firms will 8(a) firms will contracts) even _ reasonable
permissible submit offers and submit offers and if there is a expectation that
only if there is | the award can be the award can be reasonable at least two
nota made at fair market = made at fair market expectation that eligible 8(a)
reasonable price (15 U.S.C. price (15 U.S.C. at least two firms will
expectation §637(a)(1)(D)(i)-(ii);_- §637(a)(1)(D){i)-(i);_—eeligible 8(a) submit offers
that at least 48 CFR. §19.805- 48 C.F.R. §19.805- firms will and the award
two eligible 1 (b)(1)-(2)) I (b)(1)-(2)) submit offers can be made at
8(a) firms will and the award fair market
submit offers can be made at _ price (48 C.FR.
and the award fair market §19.805-1(b)(1)-
can be made at price (48 C.F.R. = (2))
fair market §219.805-
price (48 1 (b)(2)(A)-(B)).
CFR. Otherwise
§19.805- cannot be made
1(b)(1)-(2)) unless there is
nota
reasonable
expectation that
at least two
eligible 8(a)
firms will
submit offers
and the award
can be made at
fair market
price (48 C.F.R.
§19.805- 1 (b)(1)-
(2))
Inability to Firm’s Firm’s eligibility for Firm’s eligibility for Firm’s eligibility Firm’s eligibility
protest eligibility __ eligibility for award cannot be award cannot be for award for award
for award award cannot challenged or challenged or cannot be cannot be
be challenged protested as part of protested as partof challenged or challenged or
or protested the solicitation or the solicitation or protested as protested as
as part of the proposed contract proposed contract part of the part of the
solicitation or = award (48 CFR. award (48 C.F.R. solicitation or solicitation or
proposed §19.805-2(d)) §19.805-2(d)) proposed proposed
contract contract award — contract award
award (48 (48 CFR. (48 CFR.
CFR. §19.805-2(d)) §19.805-2(d))
§19.805-2(d))
Maximum of Firm receives Firm receives “a Firm receives “a Firm receives “a Firm receives “a

nine years in the
8(a) Program

“a program
term of nine
years” but
could be
terminated or
graduated
early (13
C.F.R. §124.2)

One year
extension
available for

program term of
nine years” but
could be terminated
or graduated early
(13 C.F.R. §124.2)

One year extension
available for firms
participating in the
program from
March 13, 2020,

program term of
nine years” but
could be terminated
or graduated early
(13 CAFR. §124.2)

One year extension
available for firms
participating in the
program from
March 13, 2020,

program term
of nine years”
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graduated early
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§124.2)

One year
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available for
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program term
of nine years”
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terminated or
graduated early
(13 CFR.
§124.2)

One year
extension
available for
firms

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PagelD #: 3561

Filed 09/27/24

46
Page 52 of 78
SBA's "8&(a) Program”: Overview, History, and Current Issues

8(a) Firms
Category Generally Tribally Owned ANC-Owned NHO-Owned CDC-Owned
firms through September — through September participating in participating in
participating in 9, 2020 9, 2020 the program the program
the program from March 13, from March 13,
from March 2020, through 2020, through
13, 2020, September 9, September 9,
through 2020 2020
September 9,
2020
One-time Applies to Applies only to Applies only to Applies only to — Applies only to
eligibility for both tribally owned firms, © ANC-owned firms, NHO-owned CDC-owned
8(a) Program disadvantaged not tribes (IS U.S.C. not ANCs (15 firms, not firms, not
owners and §636(j)(1 1)(B)-(C)) U.S.C. NHOs (15 CDCs (15
firms (13 §636()(1 1)(B)-(C)) U.S.C. US.C.
C.F.R. §636(j)(11)(B)- §636())(1 1)(B)-
§124.108(b)) (C)) (C))
Limits on the No sole- Can make sole- Can make sole- Can make sole- | Combined total
amount of 8(a) source awards source awards even = source awards even _— source awards of competitive

contracts that a
firm may receive

possible once
the firm has
received
combined total
of competitive
and sole-
source 8(a)
contracts in
excess of the
dollar amount
set forth in 13
C.F.R.
§124.519 (13
C.F.R.
§124.519(a))

Firms must
receive an
increasing
percentage of
revenue from
non-8(a)
sources
throughout
their
participation in
the 8(a)
Program (13
CFR.
§124.509(b))

when a firm has
received combined
total of competitive
and sole-source 8(a)
contracts in excess
of the dollar amount
set forth in 13
CFR. §124.519 (13
C.F.R. §124.519(a))

Firms must receive
an increasing
percentage of
revenue from non-
8(a) sources
throughout their
participation in the
8(a) Program (13
C.F.R. §124.509(b))

when a firm has
combined total of
competitive and
sole-source 8(a)
contracts in excess
of the dollar amount
set forth in 13
CAPR. §124.519 (13
C.F.R. §124.5 1 9(a))

Firms must receive
an increasing
percentage of
revenue from non-
8(a) sources
throughout their
participation in the
8(a) Program (13
C.F.R. §124.509(b))

even when a
firm has
combined total
of competitive
and sole-source
8(a) contracts
in excess of the
doilar amount
set forth in 13
CAFR. §124.519
(13 CFR.
§124.519(a))

Firms must
receive an
increasing
percentage of
revenue from
non-8(a)
sources
throughout
their
participation in
the 8(a)
Program (13
C.F.R.
§124.509(b))

and sole-source
8(a) contracts
in excess of the
dollar amount
set forth in 13
CLF.R. §124.519
not explicitly
addressed in
regulation

Firms must
receive an
increasing
percentage of
revenue from
non-8(a)
sources
throughout
their
participation in
the 8(a)
Program (13
CR.
§124.509(b))

Source: Congressional Research Service, based on 8(a) Program statutory and regulatory requirements.

a. The rules governing NHO- or CDC-owned firms do not address this issue, and although the general rules
apply where no “special rules” exist, it seems unlikely that NHO- or CDC-owned firms are treated
differently than tribally or ANC-owned firms in this regard.

b. These criteria include (1) the management experience of the disadvantaged individual(s) upon whom
eligibility is based; (2) the business’s technical experience; (3) the firm’s capital; (4) the firm’s performance
record on prior federal or other contracts in its primary field of operations; and (5) whether the firm
presently has, or can demonstrate its ability to timely obtain, the personnel, facilities, equipment, and other
resources necessary to perform contracts under Section 8(a).

Case FSV BUSATDELC-CRW Document 105-2

PagelD #: 3562

Filed 09/27/24

47
Page 53 of 78
SBA's “8(a) Program”: Overview, History, and Current Issues

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Development Policy

Acknowledgments

Kate Manuel, who has left CRS, authored a previous version of this report.

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Case SSO O8OATBELC-CRW “Boctiment 105-2 Filed 09/27/24 Page 54 of 78

PagelD #: 3563
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Congressional Research Service

Updated May 29, 2024

The SBA’s 8(a) Business Development Program

Background

Through the 8(a) Business Development Program,
Congress aims to help small “socially and economically
disadvantaged” business owners overcome barriers to
participating in federal contracting. The program,
established under Section 8(a) of the Small Business Act in
1978, gives explicit statutory authority for program
activities previously implemented through regulations. For
eligible businesses, the 8(a) program creates federal
contracting preferences such as contract set-asides and sole-
source contracts. Set-asides limit contract competition to
businesses in the 8(a) program. Sole-source awards are
made to selected 8(a) program participants without
competition.

Agency purchasing officials may choose to award contracts
under this program in order to reach annual goals for
contracting with small disadvantaged businesses (SDBs; see
CRS Insight IN12018, Federal Small Business Contracting
Goals). Under the authority of the Small Business Act, the
Small Business Administration (SBA) accepts
procurements from other federal agencies and may then
award contracts to program participants through either a
set-aside or a sole-source award, typically depending on the
value of the contract award.

In addition to contracting preferences, the program provides
participants with business development support, including
mentorship, training, and counseling. These services are
intended to enhance participants’ competitiveness and their
long-term viability as businesses. Statutory authority for the
program is contained in Sections 7(j), 8(a), and 8(d) of the
Small Business Act. This In Focus provides an overview of
the program’s requirements as well as issues for Congress.

Definition of Economically Disadvantaged

Economically disadvantaged individuals are those whose ability
to compete in the free enterprise system has been impaired
due to diminished ‘capital and credit opportunities (15 U.S.C.
§637(a)(6)). They must have a net worth of less than $850,000 —
and an adjusted gross income averaged over the three
preceding years of $400,000 or less. Funds invested in an
Individual Retirement Account (IRA) or other official
retirement account will not be considered in determining an
individual's net worth. Ownership interest in the applicant

firm andthe equity in the individual's primary personal:
residence is.excluded from net worth calculations as well. In
addition, the fair market value of all his or her assets (including
his or-her primary residence and the value of the applicant
firm) must not exceed: $6.5 million.

Case 2:20-cv-00041-DCLC-CRM,s.RosumentlQS-2.

Definition of Socially Disadvantaged

Socially disadvantaged individuals have been subjected to racial
or ethnic prejudice or cultural bias within American society.
because of their identities as members of groups and without
regard to their individual qualities (15 U.S.C. §637(a)(5)). Prior
to a July 2023 ruling in a federal district court case (Ultima
Servs. Corp. v. U.S. Department of Agriculture), the SBA applied a

“presumption of social disadvantage” to individuals applying
for its 8(a) program from the following groups: Asian Pacific
Americans, Black Americans, Hispanic Americans, :
Subcontinent Asian Americans, and Native Americans. Due to -
the district court ruling that the SBA cannot presume social
disadvantage based on ethnic or racial group. membership; the
SBA: stopped presuming social disadvantage. All program
applicants must now submit a personal narrative to the SBA
that demonstrates their social disadvantage, a procedure that
had already been required of individuals who were not: -
members of one of the racial groups listed above. For more
information on the SBA’s response to the legal challenge, see
CRS Insight INI 2245, SBA’s 8(a) Business Development Peee, :
Responds to District Court Ruling.

Program Details

Eligibility Requirements

Businesses that meet eligibility criteria and obtain 8(a)
program certification may participate in the program for
nine years, at which point they are no longer eligible for
contracting preferences. Eligible firms must meet all of the
following criteria, described at 13 C.F.R. §124:

1. Are small in size, according to size
standards established by the SBA;

2. Are of good character, which relates to an
applicant’s criminal conduct, their
incarceration, parole, or probation
pursuant to crimes involving business
integrity, their violations of any SBA
regulations, and their submission of false
information to the SBA;

3. Demonstrate potential for success, which
a firm can generally do by operating and
receiving contracts in the private or
public sectors, in its primary industry, for
at least two full years immediately prior
to applying for the program (although the
SBA may waive this two-year
requirement under certain conditions);

4. Are at least 51% unconditionally and
directly owned by one or more socially
and economically disadvantaged
individuals who are citizens of the United
States (or owned by an Alaska Native

Filed 09/27/24 Page 55 of 78

PagelD #: 3564
Corporation [ANC], Native Hawaiian
Organization [NHO], Community
Development Corporation [CDC], or
Indian tribe).

Selected Program Features

The SBA also provides various forms of business assistance
to program participants. To enhance their ability to manage
federal contracts, firms may receive training, individual
counseling, and management assistance and executive
development—all provided through SBA District Office
staff and SBA partners such as Smali Business
Development Centers (SBDCs), trade and professional
associations, local service providers, and SCORE—a
nonprofit business mentor network. The Small Business Act
also authorizes the SBA to provide direct or guaranteed
loans to program participants, on its own or with lenders.

During their nine years in the program, participants
complete a developmental stage in the first four years and a
transitional stage over the last five years. In the transitional
stage, program participants must actively pursue non-8(a)
contracts in order to reach required annual targets for non-
&(a) revenue. These targets increase over time, as described
at 13 C.F.R. §124.509(b): 15% of their revenue from non-
8(a) sources in the fifth year, 25% in the sixth year, 30% in
the seventh year, 40% in the eighth year, and 50% in the
ninth year. The goal is for firms to successfully compete for
federal contracts without 8(a) program assistance after
completing the program by the ninth year. If the SBA
determines that a participant did not make good faith efforts
to meet these targets, the participant becomes ineligible for
sole-source awards.

A participating business may “graduate” from the program
by reaching its business development goals or may exit the
program after nine or fewer years. Once a participant has
left the program, neither the firm nor the owner of that firm
is eligible to participate in the program again. However, if
ANCs, CDCs, NHOs, and Indian tribes own multiple
businesses, these groups may participate more than once via
a firm that has not previously participated in the program.

é(a} Contract Award Limitations

The SBA is barred from awarding an 8(a) contract, either
via a set-aside or on a sole-source basis, if the cost to the
contracting agency exceeds “a fair market price” (15 U.S.C.
§637(a)(1)(A)). Additional prohibitions on the SBA
accepting 8(a) contracts exist, although agencies can offer
contracts to the SBA “in [their] discretion,” and the SBA
may accept them “whenever it determines such action is
necessary or appropriate” (15 U.S.C. §637(a)(1)(A)).

When an 8(a) contract’s anticipated value, including
options, is less than $4.5 million (or $7 million for
manufacturing contracts), the contract is typically awarded
on a sole-source basis without competition. When the
anticipated value exceeds these thresholds, it generally must
be awarded via a set-aside.

Sole-source awards in excess of the above thresholds may
be made only when (1) there is not a reasonable expectation
that at least two eligible and responsible 8(a) firms will

Case 2:20-cv-00041-DCLC-CRW)y¢. Ro

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The SBA’s &{a}) Business Developmeni Program

submit offers at a fair market price, or (2) the SBA accepts
the contract on behalf of certain group-owned firms, such as
those owned by Indian tribes. Participant firms owned by
ANCs and Indian tribes may receive sole-source awards in
excess of the thresholds from any agency, and NHO-owned
firms may receive such sole-source awards from the
Department of Defense.

Once they have been awarded more than $168,500,000 in
8(a) contract awards, participant firms owned by
individuals may not receive any additional 8(a) sole-source
awards, though they can still receive set-asides. This
amount is set forth at 13 C.F.R. §124.519. The SBA will
not count awards less than $250,000 toward this limit.
Firms owned by ANCs, CDCs, NHOs, and Indian tribes are
not subject to this maximum total award amount and may
continue to receive sole-source awards beyond it.

issues for Congress

Since program eligibility and application changes occurred
following the district court ruling in Ultima Servs. Corp. v.
U.S. Department of Agriculture, Congress may be
interested in program application processing issues as well
as whether agency contracting with SDBs has been affected
by 8(a) program changes. The government seeks to award a
percentage of contracting dollars to SDBs each fiscal year,
and while all 8(a) participants meet the definition of SDB,
not all SDBs are in the 8(a) program; 8(a) program changes
may impact contracting not just with program participants
but with SDBs overall.

Additional issues of potential congressional concern for the
8(a) program include performance measurement and
program reporting and oversight. The SBA may require
technical support or additional resources to fully implement
recommended solutions.

The SBA’s Office of Inspector General (OIG) identified the
“management and monitoring” of the 8(a) Business
Development Program as a top management and
performance challenge for the agency in FY2023. The OIG
highlighted the lack of an effective information technology
(IT) system to monitor program participants’ progress as a
key issue. It also noted the need for consistent procedures
for measuring business development. In 2022, the OIG
found, “There was no mechanism in place to ensure that
SBA consistently reviewed business plans and goals and
then objectively monitored business development
progress.” According to the OIG, the SBA has begun to
build a system to track participant progress but would need
to complete this effort for the agency to effectively evaluate
firm progress and program outcomes.

In addition to measuring participant and program outcomes,
issues with reporting those outcomes present an oversight
challenge for Congress. The Government Accountability
Office (GAO) has reported a pattern of multiyear delays in
8(a) program reporting.

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Page 56 of 78

PagelD #: 3565
The SBA’s &{a} Business Developmen! Program

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Case 2:20-cv-0004LDCLGoGRWoreshacumentd Orso Hed Oa/AH24 Page 57 of 78
~ PagelD #: 3566
19.804-3 SBA acceptance.

(a) Upon receipt of the contracting office's offering letter, SBA will determine whether to accept the requirement
for the 8(a) program. SBA’s decision whether to accept the requirement will be transmitted to the contracting
office in writing within 10 working days of receipt of the offer if the contract is likely to exceed the simplified
acquisition threshold and within two working days of receipt if the contract is at or below the simplified
acquisition threshold. The contracting office may grant an extension of these time periods, if requested by SBA.

(1) For acquisitions exceeding the simplified acquisition threshold, if SBA does not respond to an offering letter
within ten working days, the contracting office may seek SBA’s acceptance through the Associate Administrator
for Business Development. The contracting office may assume that SBA has accepted the requirement into the
8(a) program if it does not receive a reply from the Associate Administrator for Business Development within
five calendar days of receipt of the contracting office's request.

(2) For acquisitions not exceeding the simplified acquisition threshold, when the contracting office makes an
offer to the 8(a) program on behalf of a specific 8(a) participant and does not receive a reply to its offering letter
within two working days, the contracting office may assume the offer is accepted and proceed with award of an
8(a) contract.

(b) As part of the acceptance process, SBA will review the appropriateness of the NAICS code designation
assigned to the requirement by the contracting officer.

(1) SBA will not challenge the NAICS code assigned to the requirement by the contracting officer if it is
reasonable, even though other NAICS codes may also be reasonable.

(2) If SBA and the contracting officer are unable to agree on a NAICS code designation for the requirement,
SBA may refuse to accept the requirement for the 8(a) program, appeal the contracting officer's determination to
the head of the agency pursuant to 19.810, or appeal the NAICS code designation to the SBA Office of Hearings
and Appeals under subpart C of 13 CFR part 134.

(c) Sole source 8(a) awards. If an appropriate match exists, SBA will advise the contracting officer whether it
will participate in contract negotiations or whether SBA will authorize the contracting officer to negotiate
directly with the identified 8(a) participant. Where SBA has delegated its contract execution functions to a
contracting agency, SBA will also identify that delegation in its acceptance letter. For a joint venture, SBA will
determine eligibility as part of its acceptance of a sole-source requirement and will approve the joint venture
agreement prior to award in accordance with 13 CFR 124.513(e).

(1) Sole source award where the contracting officer nominates a specific 8(a) participant. SBA will determine
whether an appropriate match exists where the contracting officer identifies a particular participant for a sole
source award.

(i) Once SBA determines that a procurement is suitable to be accepted as an 8(a) sole source contract, SBA will
normally accept it on behalf of the 8(a) participant recommended by the contracting officer, provided that the
8(a) participant complies with the requirements of 13 CFR 124.503(c)(1).

(ii) If an appropriate match does not exist, SBA will notify the 8(a) participant and the contracting officer, and
may then nominate an alternate 8(a) participant.

(2) Sole source award where the contracting officer does not nominate a specific 8(a) participant. When a
contracting officer does not nominate an 8(a) participant for performance of a sole source 8(a) contract, SBA
will select an 8(a) participant for possible award from among two or more eligible and qualified 8(a)
participants. The selection will be based upon relevant factors, including business development needs,
compliance with competitive business mix requirements (if applicable), financial condition, management ability,

Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 58 of 78
PagelD #: 3567
technical capability, and whether award will promote the equitable distribution of 8(a) contracts. (For
construction requirements see 13 CFR 124.503(d)(1)).
Parent topic: 19.804 Evaluation, offering, and acceptance.

Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 59 of 78
PagelD #: 3568
19.803 Selecting acquisitions for the 8(a) Program.

Through their cooperative efforts, the SBA and an agency match the agency's requirements with the capabilities
of 8(a) participants to establish a basis for the agency to contract with the SBA under the program. Selection is
initiated in one of three ways:

(a) The SBA advises the contracting activity of an 8(a) participant's capabilities through a search letter and
requests the contracting activity to identify acquisitions to support the participant's business plans. In these
instances, the SBA will provide at a minimum the following information in order to enable the contracting
activity to match an acquisition to the participant's capabilities:

(1) Identification of the participant and its owners.

(2) Background information on the participant, including any and all information pertaining to the participant's
technical ability and capacity to perform.

(3) The participant's present production capacity and related facilities.

(4) The extent to which contracting assistance is needed in the present and the future, described in terms that will
enable the agency to relate the participant's plans to present and future agency requirements.

(5) If construction is involved, the request shall also include the following:

(i) A participant's capabilities in and qualifications for accomplishing various categories of construction work
typically found in North American Industrial Category System subsector 236 (construction of buildings),
subsector 237 (heavy and civil engineering construction), or subsector 238 (specialty trade contractors).

(ii) The participant’s capacity in each construction category in terms of estimated dollar value (e.g., electrical, up
to $100,000).

(b) The SBA identifies a specific requirement for one or more 8(a) participant(s) and sends a requirements letter
to the agency's Office of Small and Disadvantaged Business Utilization, or for the Department of Defense,
Office of Small Business Programs, requesting the contracting office offer the acquisition to the 8(a) program. In
these instances, in addition to the information in paragraph (a) of this section, the SBA will provide-

(1) A clear identification of the acquisition sought; e.g., project name or number;

(2) A statement as to how the required equipment and real property will be provided in order to ensure that the
participant will be fully capable of satisfying the agency's requirements;

(3) If construction, information as to the bonding capability of the participant(s); and
(4) Either-
(i) Ifa sole source request-

(A) The reasons why the participant is considered suitable for this particular acquisition; e.g., previous contracts
for the same or similar supply or service; and

(B) A statement that the participant is eligible in terms of its small business size status relative to the assigned
NAICS code, business support levels, and business activity targets; or

(ii) If competitive, a statement that at least two 8(a) participants are considered capable of satisfying the agency's
requirements and a statement that the participants are also eligible in terms of their small business size status

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PagelD #: 3569
contracting office, SBA will identify at least two such participants and provide information concerning the
participants’ capabilities.

(c) Agencies may also review other proposed acquisitions for the purpose of identifying requirements which may
be offered to the SBA. Where agencies independently, or through the self marketing efforts of an 8(a)
participant, identify a requirement for the 8(a) program, they may offer on behalf of a specific 8(a) participant,
for the 8(a) program in general, or for 8(a) competition.

Parent topic: Subpart 19.8 - Contracting with the Small Business Administration (The 8(a) Program)

Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 61 of 78
PagelD #: 3570
19.804-1 Agency evaluation.

In determining the extent to which a requirement should be offered in support of the 8(a) program, the agency
Should evaluate-

(a) Current and future plans to acquire the specific items or work that 8(a) participants are seeking to provide,
identified in terms of-

(1) Estimated quantities of the supplies or services required or the estimated number of construction projects
planned;

(2) Length of contract, including option periods (see 19.812(d)); and

(3) Performance or delivery requirements, including—

(1) Required monthly production rates, when applicable; and

(ii) For construction, the geographical location where work is to be performed;
(b) The impact of any delay in delivery;

(c) Whether the items or work have previously been acquired using small business set-asides, and the date the
items or work were acquired;

(d) Problems encountered in previous acquisitions of the items or work from the 8(a) participants or other
contractors; and

(e) Any other pertinent information about known 8(a) participants, the items, or the work. This includes any
information concerning the participants' products or capabilities. When necessary, the contracting agency shall
make an independent review of the factors in 19.803(a) and other aspects of the participants’ capabilities which
would ensure the satisfactory performance of the requirement being considered for commitment to the 8(a)
program.

Parent topic: 19.804 Evaluation, offering, and acceptance.

Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 62 of 78
PagelD #: 3571
19.804-3 SBA acceptance.

(a) Upon receipt of the contracting office's offering letter, SBA will determine whether to accept the requirement
for the 8(a) program. SBA’s decision whether to accept the requirement will be transmitted to the contracting
office in writing within 10 working days of receipt of the offer if the contract is likely to exceed the simplified
acquisition threshold and within two working days of receipt if the contract is at or below the simplified
acquisition threshold. The contracting office may grant an extension of these time periods, if requested by SBA.

(1) For acquisitions exceeding the simplified acquisition threshold, if SBA does not respond to an offering letter
within ten working days, the contracting office may seek SBA’s acceptance through the Associate Administrator
for Business Development. The contracting office may assume that SBA has accepted the requirement into the
8(a) program if it does not receive a reply from the Associate Administrator for Business Development within
five calendar days of receipt of the contracting office's request.

(2) For acquisitions not exceeding the simplified acquisition threshold, when the contracting office makes an
offer to the 8(a) program on behalf of a specific 8(a) participant and does not receive a reply to its offering letter
within two working days, the contracting office may assume the offer is accepted and proceed with award of an
8(a) contract.

(b) As part of the acceptance process, SBA will review the appropriateness of the NAICS code designation
assigned to the requirement by the contracting officer.

(1) SBA will not challenge the NAICS code assigned to the requirement by the contracting officer if it is
reasonable, even though other NAICS codes may also be reasonable.

(2) If SBA and the contracting officer are unable to agree on a NAICS code designation for the requirement,
SBA may refuse to accept the requirement for the 8(a) program, appeal the contracting officer's determination to
the head of the agency pursuant to 19.810, or appeal the NAICS code designation to the SBA Office of Hearings
and Appeals under subpart C of 13 CFR part 134.

(c) Sole source 8(a) awards. \f an appropriate match exists, SBA will advise the contracting officer whether it
will participate in contract negotiations or whether SBA will authorize the contracting officer to negotiate
directly with the identified 8(a) participant. Where SBA has delegated its contract execution functions to a
contracting agency, SBA will also identify that delegation in its acceptance letter. For a joint venture, SBA will
determine eligibility as part of its acceptance of a sole-source requirement and will approve the joint venture
agreement prior to award in accordance with 13 CFR 124.513(e).

(1) Sole source award where the contracting officer nominates a specific 8(a) participant. SBA will determine
whether an appropriate match exists where the contracting officer identifies a particular participant for a sole
source award.

(i) Once SBA determines that a procurement is suitable to be accepted as an 8(a) sole source contract, SBA will
normally accept it on behalf of the 8(a) participant recommended by the contracting officer, provided that the
8(a) participant complies with the requirements of 13 CFR 124.503(c)(1).

(ii) If an appropriate match does not exist, SBA will notify the 8(a) participant and the contracting officer, and
may then nominate an alternate 8(a) participant.

(2) Sole source award where the contracting officer does not nominate a specific 8(a) participant. When a
contracting officer does not nominate an 8(a) participant for performance of a sole source 8(a) contract, SBA
will select an 8(a) participant for possible award from among two or more eligible and qualified 8(a)
participants. The selection will be based upon relevant factors, including business development needs,
compliance with competitive business mix requirements (if applicable), financial condition, management ability,

Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 63 of 78
PagelD #: 3572
technical capability, and whether award will promote the equitable distribution of 8(a) contracts. (For
construction requirements see 13 CFR 124.503(d)(1)).
Parent topic: 19.804 Evaluation, offering, and acceptance.

Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 64 of 78
PagelD #: 3573
DEPARTMENT OF THE TREASURY
WASHINGTON, 6.c.

Acquisition Bulletin No. 23-03
Deviation No. 2023-00003

Date: August 29, 2023

MEMORANDUM FOR TREASURY ACQUISITION PERSONNEL

FROM: NICOLE EVANS /V. gp ANON
DEPUTY ASSISTANT SECRETARY FOR ACQUISITION
SENIOR PROCUREMENT EXECUTIVE

SUBJECT: Class Deviation No. 2023-00003 from the Federal Acquisition Regulation
(FAR) Verification of Eligibility for the 8(a) Program

1. PURPOSE: To implement a court injunction issued by the United States District Court
for the Eastern District of Tennessee on July 19, 2023, enjoining the use of the
rebuttable presumption of social disadvantage in administering the Small Business
Administration’s (SBA) business development program (8(a) Program), and SBA’s
memorandum issued on August 18, 2023. Accordingly, this policy memorandum
establishes deviations from FAR 19.804-3 and 52.219-18 and makes necessary policy
changes to the guidance in the Treasury-SBA Partnership Agreement.

2. EFFECTIVE DATE: Upon issuance.

3. EXPIRATION DATE: Until superseded or otherwise rescinded.

4. POLICY:

a. Effective immediately, Contracting Officers shall:

i. Use the procedures in this class deviation to verify a concern’s
eligibility for the 8(a) Program in lieu of using the System for Award
Management or presuming acceptance of a requirement by the Smail
Business Administration (SBA) prior to making an award under the
8(a) Program; and

ii. Use the attached deviation clause 52.219-18, Notification of
Competition Limited to Eligible 8(a) Participants (Class Deviation

2023-00003), in lieu of the clause at FAR 52.219-18, Notification of
Competition Limited to Eligible 8(a) Participants.

Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 65 of 78
PagelD #: 3574
b. Notwithstanding FAR 19.804-3 and the SBA and Treasury 8(a) Partnership
Agreement, Contracting Officers shall not make an award to an 8(a) participant

unless:

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iil.

They receive from SBA an eligibility determination for the 8(a)
participant including an 8(a) partner to a joint venture;

The apparently successful offeror provides a copy of the SBA
qualification letter for the 8(a) participant including an 8(a) partner to a
joint venture; or

They document that the 8(a) participant (including an 8(a) partner to a
joint venture) appears on the SBA’s “8(a) Social Disadvantage
Qualification List!” which is updated daily and available for
government-only review on the OMBMAX platform at SBA OPPL
Collaboration Page - Small Business Administration - MAX Federal

Community.

c. This restriction applies to the following actions:

i.

il.

ill.

iv.

Competitive or sole-source 8(a) contract

8(a) sole-source orders placed against existing or new 8(a) set-aside
multiple-award contracts, including Governmentwide acquisition
contracts (GWACS) and Federal Supply Schedule (FSS) contracts.

8(a) orders placed against existing or new non-8(a) set-aside multiple-
award contracts, including GWACS and FSS contracts.

8(a) orders under blanket purchase agreements or basic ordering
agreements.

Out-of-scope modifications and unpriced options under existing 8(a)
contracts.

d. Except as noted above, existing 8(a) contracts are not impacted by this class
deviation, and Contracting Officers may award in-scope modifications and
exercise priced options without obtaining SBA acceptance or requiring the
contractor to provide a copy of the SBA qualification letter, unless verification of
eligibility would otherwise be required (see FAR 19.812(d)). In addition,
Contracting Officers may place competitive 8(a) orders against existing 8(a) set-
aside multiple-award contracts, GWACS, and FSS contracts without obtaining
SBA acceptance or requiring the contractor to provide a copy of the SBA

1 SBA is maintaining an “8(a) Social Disadvantage Qualification List” of participants that are eligible for award for one of
three reasons: (1) SBA has made an affirmative determination that the individual-owned small business participant is socially
disadvantaged; (2) The small business participant did not use the rebuttable presumption of social disadvantage and does not
require affirmation; or (3) The participant is an entity-owned business and therefore affirmation is not required.

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Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 66 of 78

PagelD #: 3575
qualification letter.

e. The restrictions in this class deviation do not apply to 8(a) entity-owned
businesses owned by Indian tribes, Alaska Native Corporations, Native Hawaiian
Organizations, or Community Development Corporations.

5. BACKGROUND: This memorandum and the FAR class deviation are in response to
the recent court decision in Ultima Services Corporation vs. USDA et al.” and SBA
guidance issued Friday, August 18, 2023, and supplemented on Friday, August 25, 2023.

The SBA Memorandum requires that, before an award can be made to an individual-
owned small business participant that previously relied on a presumption of social
disadvantage to support its eligibility, SBA must make an affirmative determination that
the individual upon whom eligibility is based has established personal social
disadvantage without the presumption. When required, SBA will make their affirmative
determination of eligibility as a part of the offer and acceptance process.

6. DEVIATION: See attached

7. ADDITIONAL INFORMATION: The primary point of contact for this Acquisition
Bulletin is Steve Kvalevog who can be reached at Steven.Kvalevog@treasury.gov.

Attachments:
e FAR 19.804-3(a) Deviation
e FAR 52.219-18 Deviation
e SBA Memorandum, “Impact of Recent Court Decision (Ultima Servs. Corp. v.
Dep’t of Ag. (E.D. Tenn.)) on the use of the 8(a) Program,” August 18, 2023
¢ SBA Memorandum, “Continued Use of the 8(a) Program During the Ultima
Injunction: Frequently Asked Questions,” August 25, 2023

2 SBA regulations allow applicants to be admitted to the 8(a) program using a “rebuttable presumption” that certain groups are
socially disadvantaged, while other entities could submit a narrative demonstrating social disadvantage which SBA would review
to determine if they were also socially disadvantaged. Social disadvantage and economic disadvantage are components of 8(a)
program participant eligibility. In response to a challenge that the “rebuttable presumption” violated constitutional rights to equal
protection, the Court enjoined SBA from using the “rebuttable presumption” in administering the 8(a) program.

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Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 67 of 78
PagelD #: 3576
Attachment 1 - Deviation to FAR Text

Baseline is accurate through FAC 2023-05, to be effective September 22, 2023.
Changes to baseline shown as [bolded, bracketed additions] and struck threugh deletions.
FAR text unchanged shown as asterisks.

Part 19 - Small Business Programs

OK ok ok OK

Subpart 19.8 - Contracting with the Small Business Administration (The 8(a) Program)

% ok OK OK Ok

19.804 Evaluation, offering, and acceptance.

2K ok Ok

19.804-3 SBA acceptance.

(a) Upon receipt of the contracting office's offering letter, SBA will determine whether to accept
the requirement for the 8(a) program. SBA’s decision whether to accept the requirement will be
transmitted to the contracting office in writing within 10 working days of receipt of the offer if
the contract is likely to exceed the simplified acquisition threshold and within two working days
of receipt if the contract is at or below the simplified acquisition threshold. The contracting
office may grant an extension of these time periods, if requested by SBA.

(1) For acquisitions exceeding the simplified acquisition threshold, if SBA does not
respond to an offering letter within ten working days, the contracting office may seek SBA’s
acceptance through the Associate Administrator for Business Development. The contracting
office [must receive SBA’s decision of acceptance before re proceeding with award of an 8a)
contract] Aad pte-th F epte A 5 A

(2) For acquisitions not exceeding the simplified acquisition threshold, [the contracting
office must receive SBA’s decision of acceptance before proceeding with award of an  8(a)

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Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 68 of 78
PagelD #: 3577
Attachment 2

Class Deviation 2023-00003 Verification of Eligibility for the 8(a) Program
Changes are indicated by a change bar in the right-hand margin.

52.219-18 Notification of Competition Limited to Eligible 8(a) Participants
(DEVIATION 2023-00003).

The contracting officer shall insert the following clause in competitive solicitations and
contracts when the acquisition is accomplished using the procedures of FAR 19.805. This
deviation incorporates the guidance in Department of the Treasury Acquisition Regulation
(DTAR) 1019.811-3(d)(3) to use substitute language for the paragraph (c) in FAR 52.219-
18. Use the following clause with its Alternate I when competition is to be limited to 8(a)
participants within one or more specific SBA districts pursuant to FAR 19.804-2.

NOTIFICATION OF COMPETITION LIMITED TO ELIGIBLE 8(A) PARTICIPANTS
(AUG 2023) (DEVIATION 2023-00003)

(a) Awards will only be made to—

(1) Small business concerns that are expressly certified by the Small Business
Administration (SBA) for participation in SBA's 8(a) program and which meet the
following criteria at the time of submission of offer—
(i) The Offeror is in conformance with the 8(a) support limitation set forth in its
approved business plan; and
(ii) The Offeror is in conformance with the Business Activity Targets set forth in
its approved business plan or any remedial action directed by SBA;

(2) A joint venture, in which at least one of the 8(a) program participants that is a
party to the joint venture complies with the criteria set forth in paragraph (a)(1) of
this clause, that complies with 13 CFR 124.513(c); or

(3) A joint venture—
(i) That is comprised of a mentor and an 8(a) protégé with an approved mentor-
protégé agreement under the 8(a) program;
(ii) In which at least one of the 8(a) program participants that is a party to the joint
venture complies with the criteria set forth in paragraph (a)(1) of this clause; and
(11) That complies with 13 CFR 124.513(c).
(b) By submission of its offer, the Offeror represents that it meets the applicable criteria
set forth in paragraph (a) of this clause.

(c) Any award resulting from this solicitation will be made directly by the contracting
officer to the successful 8(a) offeror selected through the evaluation criteria set forth in
this solicitation.

(End of clause)

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Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 69 of 78
PagelD #: 3578
Alternate I (MAR 2023). If the competition is to be limited to 8(a) participants within
one or more specific SBA regions or districts, add the following paragraph (a)(1)(iii)
to paragraph (a) of the clause:

(iii) The offeror's approved business plan is on the file and serviced by
__ [Contracting Officer completes by inserting the appropriate SBA District
and/or Area Office(s) as identified by the SBA]

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Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 70 of 78
PagelD #: 3579
Attachment 3
Class Deviation 2023-00003 Verification of Eligibility for the 8(a) Program

U.S, Small Business
Administration

Memorandum
Date: August 18, 2023

To: Federal Chief Acquisition Officers & Senior Procurement Executives
From: Dr. Donna Peebles

Associate Administrator, Office of Business Development

Small Business Administration

Subject: Impact of Recent Court Decision (U/tima Servs. Corp. v. Dep’t of Ag. (E.D. Tenn.)) on
the use of the 8(a) Program

Background

On July 19, 2023, a district judge enjoined the Small Business Administration (SBA) “from
using the rebuttable presumption of social disadvantage in administering” the 8(a) Business
Development Program (8(a) Program). Ultima Servs. Corp. v. Dep’t of Ag., No. 20-cv-0041 (E.D.
Tenn.). The rebuttable presumption assumes, unless there is evidence to the contrary, that
members of certain racial and ethnic groups qualify as socially disadvantaged within the
meaning of the 8(a) Program requirements. See 13 C.F.R. § 124.103(b). The Court held that the
SBA’s use of the rebuttable presumption violated the plaintiff's Fifth Amendment right to
equal protection of the law.

On August 31, the Court will hold a hearing on its ruling and may provide additional direction
to SBA. SBA, in conjunction with the Department of Justice (DOJ), has prepared the following
interim guidance for agencies to follow. This guidance may be updated as necessary based on
any further developments at or after the August 31 hearing.

Guidance for Federal Agencies

This guidance is intended to address:

1. Which 8(a) Program participants are impacted by this decision;
How federal agencies may continue to issue 8(a) contract awards during this critical
period of the end of the fiscal year; and

3. The impact on existing contracts with 8(a) Program participants.

We note that SBA and DO) are not interpreting the injunction to limit contract awards to 8(a)
participants executed outside the 8(a) Program authority; 8(a) participants remain eligible for

Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 71 of 78
PagelD #: 3580
other types of prime contracts, including unrestricted, small business set-aside, and other
socio-economic procurements.

Categories of 8(a) Participant Impacted by this Injunction

There are three categories of 8(a) Program participants:

1. Individual-owned small businesses which used the rebuttable presumption of
social disadvantage to establish eligibility;

2. Individual-owned small businesses which did not use the rebuttable presumption
of social disadvantage and therefore have already provided SBA with
documentation to establish social disadvantage; and

3. Entity-owned small businesses which do not have to establish social disadvantage
to participate in the program (these businesses must only establish economic
disadvantage at the Entity level). These entity-owned businesses are owned by
Indian tribes, Alaska Native Corporations, Native Hawaiian Organizations, or
Community Development Corporations.

SBA and DOJ do not interpret the injunction to apply either to individual-owned small
businesses that previously established social disadvantage without the use of the
presumption (Group 2) or to small businesses that are entity-owned (Group 3). The
processing of 8(a) awards made to these two groups of 8(a) participants will not be affected.

Submission of New Requirements to the 8(a) Program

e Agencies can and should continue to submit new requirements for acceptance into
the 8(a) Program. Before an award can be made to an individual-owned participant
that previously relied on the presumption of social disadvantage to support its
eligibility, SBA must make an affirmative determination that the individual upon
whom eligibility is based has established personal social disadvantage without the
presumption.

e Agencies can immediately continue to send offering letters to SBA. Until the new
process outlined below is in place, SBA will process individual claims of social
disadvantage under the existing (narrative) process. SBA has already done that in
several instances and turned those cases around within only a few days.

e For sole source 8(a) awards, the procuring agency typically offers the procurement on
behalf of a specific 8(a) nominee. SBA will verify the nominee’s eligibility for award as
part of its acceptance of the procurement into the 8(a) Program. SBA will verify that
the nominee meets the social disadvantage requirement in connection with its
acceptance.

e For competitive 8(a) awards, the procuring agency will request an eligibility
determination of the identified apparent successful offeror or offerors. SBA will verify

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PagelD #: 3581

that the nominee(s) meets the social disadvantage requirement in connection with
the contract eligibility determination.

e SBA anticipates that it should be able to complete this process and, if social
disadvantage is established, to authorize the award in 5 business days.

e ifthe business owner cannot establish social disadvantage as part of this new process,
SBA will not be able to reconsider the business owner’s eligibility for this specific
proposed award due to operational constraints. The requesting agency will be
required to award the requirement to a different 8(a) firm that has established social
disadvantage without reliance on the presumption or award the contract through an
alternative means.

e We understand that some agencies have partnership agreements with SBA that
authorize the agency to deem procurement requirements offered to the 8(a) Program
as accepted based on SBA’s inaction. As a result of the injunction, agencies may not
rely on SBA inaction as approval. For individual-owned participants, agencies may not
proceed to finalizing a contract with the participant until SBA has affirmatively
indicated that the individual-owned participant has demonstrated its social
disadvantage.

e Asreferenced above, awards to individual-owned participants which did not rely on
the rebuttable presumption to establish social disadvantage and awards to entity-
owned participants may proceed as usual.

e SBA will communicate directly to existing 8(a) participants the method and
procedures for establishing social disadvantage. This communication will take place
on Monday, August 21, 2023.

e Acquisition personnel should expect to see a letter from SBA which indicates the
identified 8(a) participant meets the social disadvantage requirements. This letter will
minimally contain the 8(a) participant business name, Unique Entity ID (UEI), Program
entrance date, and anticipated Program exit date.

e Consistent with existing regulations, SBA’s initial determination of social disadvantage
will continue to form the basis of continued eligibility determinations. In other words,
once a firm has demonstrated social disadvantage via the new process, SBA will not
ask firms to complete the new process again with respect to a different contract
award.

Existing Contracts and Options/Modifications with 8(a) Participants

Contracts that were placed into the 8(a) Program prior to July 19, 2023, are not affected by
the injunction. Performance on such contracts, as well as most future actions such as issuing
priced options and in-scope modifications, may continue as usual.

As explained above, however, if an eligibility determination is required in connection with an
8(a) contract to an individual-owned participant, SBA must make an affirmative finding of

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PagelD #: 3582

social disadvantage. Agencies cannot deem SBA to have made that determination through
inaction and instead should await affirmative confirmation from SBA.

Where a contracting action under a previously awarded 8(a) contract or agreement requires
SBA acceptance, including an 8(a) sole source order awarded against an 8(a) Multiple Award
Contract (MAC) or Governmentwide Acquisition Contract (e.g., STARS Ill), a discretionary 8(a)
task order competed against a non-8(a) MAC, or call orders placed against Blanket Purchase
Agreements or Basic Ordering Agreements, SBA will determine the qualifying individual’s
social disadvantage in accordance with the procedures above.

Conversely, the injunction does not affect contracting actions under previously awarded 8(a)
contracts or agreements which do not require SBA acceptance, including in-scope
modifications and competitively awarded task orders under 8(a) MACs and GWACs. For these
actions, SBA will not make an eligibility determination and agencies should continue to
execute these as normal.

Replacing one 8(a) participant with another 8(a) participant (novating) on an 8(a) contract is
considered a new contracting action to the firm receiving the award. As such, SBA will assess
whether the receiving firm meets the social disadvantage requirement in connection with the
novation.

Further Information Regarding SBA Activities

SBA has temporarily suspended the initiation of new applications into the 8(a) Program and
suspended the final evaluation of all pending applications that sought to rely on the
rebuttable presumption. SBA is currently updating its new applicant process and system to
comply with the Court’s order. SBA anticipates that the new application process and system
changes will be completed soon. At that time, the agency will reopen the new application
process and resume making final evaluation determinations.

Questions

Questions from the acquisition community regarding this guidance should be directed to
Saquestions @sba.gov. Please use “Memo on Recent Court Decision Question” as the subject
to assist with routing.

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PagelD #: 3583
Attachment 4
Class Deviation 2023-00003 Verification of Eligibility for the 8(a) Program

Pa/25/23)

Continued Use of the 8(a) Program During the Ultima Injunction
Frequently Asked Questions

The questions and answers in this document are intended to help the federal workforce as
it implements SBA’s guidance on the impact of the district court’s July 19, 2023 decision
in Ultima Servs. Corp. v. Dep’t of Ag. (E.D. Tenn.) on the 8(a) Program. These FAQs
may be updated based on further developments. Additional questions may be sent to
Saquestions@sba.gov, with “8.25 FAQs” as the subject line.

A. New requirements

1. Does the guidance require agencies to pause or otherwise slow their submission of
new requirements for acceptance into the 8(a) Program?

No. Under the guidance, agencies can and should continue to submit new requirements
for acceptance into the 8(a) Program.

2. Are all new 8(a) requirements subject to an affirmative determination by SBA
prior to award that social disadvantage has been established without the
presumption?

No. The Ultima injunction does not apply either to individual-owned small businesses
that previously established social disadvantage without the use of the presumption or to
small businesses that are entity-owned, which do not have to establish social
disadvantage to participate in the program. Entity-owned small businesses include
business concerns owned by Alaska Native Corporations, Indian tribes, Native Hawaiian
Organizations, or Community Development Corporations (CDCs). SBA is publishing and
updating a MAX. gov list of the 8(a) participants that fall into these categories. The
processing of 8(a) awards made to these businesses will not be affected.

3. Is there a list of small businesses in the 8(a) program that have established social
disadvantage without the use of the presumption which currently qualify for awards
under 8(a) authorities?

SBA is making a list available for government-only review within OMB’s MAX.gov
platform. The MAX.gov list includes both individual-owned 8(a) participants and entity-
owned participants. SBA also will send a letter to every current Program Participant that
it has identified as having established its individual social disadvantage and entity-owned
businesses which do not have to establish social disadvantage in response to this
injunction. This will include Participants that established their individual social

Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 75 of 78
PagelD #: 3584
disadvantage at the time of their application to the program and those that have
established their individual social disadvantage in response to the Ultima decision. All
Participants will be able to share that letter with procuring agencies before an 8(a) award
occurs.

4, Are competitive 8(a) set-aside orders conducted under an existing 8(a) multiple
award contract or government-wide acquisition contract with individual-owned
small businesses subject to an affirmative determination of eligibility by SBA prior
to award?

No. Eligibility for a competitive 8(a) order under an existing 8(a) multiple award
contract or an 8(a) government-wide acquisition contract flows down from the underlying
contract. Agencies do not offer and SBA does not accept individual orders into the 8(a)
program. SBA does not make a new eligibility determination with respect to such orders.

Agencies may compete orders amongst 8(a) contractors, at any dollar level, when using
the 8(a) MAS Pool on the GSA Federal Supply Schedule and when using GSA’s
government-wide IDIQs for 8(a) firms, including GSA’s 8(a) STARS Ill GWAC,
without affirmation of eligibility from SBA prior to award. More than 1,100 8(a)
contractors are qualified to compete on the STARS GWAC and provide a wide range of
IT services. These order awards do not require eligibility determinations by SBA.

Note that for competitive 8(a) awards outside of 8(a) ordering vehicles (e.g., an 8(a)
competitive order under a multiple award contract that is not itself an 8(a) contract), the
procuring agency must request an eligibility determination of the identified apparent
successful offeror or offerors. SBA will verify that the nominee(s) meets the social
disadvantage requirement in connection with the contract eligibility determination. This
does not apply to awards that are made to 8(a) participants after full and open
competition.

5. If an agency seeks to place a directed (sole source) award with an individual-
owned small business — either on the open market or on an existing government-
wide or agency contract — must SBA first verify the nominee’s eligibility for award
as part of its acceptance of the procurement into the 8(a) program?

Yes. For every sole source 8(a) award, SBA must verify that the nominee meets the
social disadvantage requirement in connection with its acceptance. This includes the
award of any 8(a) sole-source order, regardless of whether the underlying contract is an
8(a) contract.

B. Existing requirements

6. Must SBA make an affirmative determination of eligibility regarding ongoing
contracts with individual-owned small businesses?

Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 76 of 78
PagelD #: 3585
For any contract placed into the 8(a) Program prior to July 19, 2023 (the date of the
Ultima injunction), agencies may allow continued performance under the existing
contract period, exercise priced options, and execute in-scope modifications without
consulting with SBA.

7. If a contract was placed in the program after July 19, 2023, may an agency
exercise a priced option or execute an in-scope modification without first receiving
affirmation from SBA regarding the business’ eligibility?

If a contract was placed into the program after July 19, 2023, it must either be awarded to
a firm that doesn’t need a social disadvantage determination (i.e., entity-owned
Participants, or individual-owned Participants that previously established their personal
social disadvantage in their application to participate in the program) or to one whose
social disadvantage has been affirmatively determined by SBA prior to award. In either
case, as with 8(a) contracts existing prior to July 19, 2023, agencies may allow continued
performance under the existing contract period, exercise priced options, and execute in-
scope modifications without consulting with SBA.

C. Contracting with Small Disadvantaged Businesses (SDBs) outside of the 8(a)
Program

8. Are there any restrictions on contracting with SDBs outside of the 8(a) program
as a result of the injunction?

No. The injunction does not limit contract awards to 8(a) participants executed outside
the 8(a) Program authority; 8(a) participants remain eligible for other types of prime
contracts, including unrestricted, small business set-aside, and other socio-economic
procurements without additional verifications.

9. How can contracting officers maximize opportunities for SDBs outside the 8(a)
Program?

Agencies should consider set-asides with WOSBs (see FAR 19.1505), HUBZone small
business contractors (FAR 19.1305), and SDVOSBs (see FAR 19.1405). Approximately
65 percent of certified WOSBs, HUBZone, and certified SDVOSB small business
contractors also self-represent as SDBs. Small business set-asides should also be
considered — historically, about 30 percent of small business set-asides are won by SDBs.

Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 77 of 78
PagelD #: 3586
D. Reducing procurement lead-time and barriers to entry for small businesses

10. What strategies might be used when conducting competitive small business set-
asides to reduce procurement lead-times and improve accessibility to the
marketplace for small businesses?

FAR 1.102-4 provides authority to use flexible business strategies in procurements unless
noted otherwise. Sample use cases and examples of tested innovative acquisition
techniques can be found in the Periodic Table of Acquisition Innovations (PTAI):
https://fai.gov/periodic-table. More than half of the listed strategies have been
demonstrated to reduce burden and facilitate access for small businesses. Agency
designated Acquisition Innovation Advocates can provide additional resources.

Case 2:20-cv-00041-DCLC-CRW Document 105-2 Filed 09/27/24 Page 78 of 78
PagelD #: 3587
